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16                                UNITED STATES DISTRICT COURT

17                              NORTHERN DISTRICT OF CALIFORNIA

18 MARGARET PEGGI LOUISE GARVEY
   on behalf of herself and all others similarly
19 situated,                                        CLASS ACTION COMPLAINT

20                 Plaintiff,
                                                    JURY TRIAL DEMANDED
21          v.

22 ULTA SALON, COSMETICS &
   FRAGRANCE, INC.
23
             Defendant.
24

25

26
27

28

                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 1
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 1          Plaintiff Margaret Peggi Louise Garvey (“Plaintiff” or “Plaintiff Garvey”) brings this action

 2 on behalf of herself and all others similarly situated against Ulta Salon, Cosmetics & Fragrance, Inc.

 3
     (otherwise referred to as “Defendant” or “Ulta”). Plaintiff makes the following allegations based
 4
     upon information and belief, except as to the allegations specifically pertaining to herself, which are
 5
     based on personal knowledge.
 6
                                              INTRODUCTION
 7

 8          1.      This is a class action lawsuit against Defendant for misleading consumers through

 9 its marketing and sale of products as part of the “Conscious Beauty® at Ulta Beauty®” program

10 and claims that certain products are made with “Clean Ingredients” that excludes ingredients on Ulta

11
     Beauty’s “Made Without List™,” which is Ulta’s set of standards that considers the human and
12
     environmental impact of ingredients.
13
            2.      Ulta claims that its “Made Without List™” is designed to provide transparency to
14

15 help consumers make informed beauty and personal care product choices. Ulta requires brands

16 participating in the “Clean Ingredients” pillar of the “Conscious Beauty® at Ulta Beauty®” program

17 to all formulate their hair, skin, makeup, body and fragrance products to the “Made Without List™”

18 standards which prohibit the use of certain categories of ingredients.

19
          3.      Ulta has, intentionally and on its own, marketed products as part of the “Conscious
20
   Beauty® at Ulta Beauty®” program and claims that certain products are made with “Clean
21
   Ingredients” that “excludes” ingredients on Ulta Beauty’s “Made Without List™” which prohibits
22

23 the use of categories of ingredients that Ulta has determined are commonly associated with adverse

24 health and/or environmental impacts. In many cases, the manufacturers of these products and other

25 retailers selling the products do not label, advertise, or market the products as “conscious beauty”

26
     or “clean” or “made without” ingredients commonly associated with adverse health and/or
27
     environmental impacts.” Ulta created and utilized the “Conscious Beauty” and “Clean” marketing
28

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 1 for its own profit, marketing the “Conscious Beauty® at Ulta Beauty®” program with claims that

 2 the Products are made with “Clean Ingredients” that comply with Ulta Beauty’s “Made Without

 3
     List™” as an easy way for consumers to identity purportedly cleaner products, without having to do
 4
     any of their own analysis, and thereby creating an easier buying experience for consumers and
 5
     increasing the likelihood that consumers would choose to shop at Ulta, over other retailers, for their
 6

 7 beauty products.

 8             4.   Ulta launched its “Conscious Beauty” program in October 2020.1 Ulta claimed that

 9 it was “[t]he first-of-its-kind, holistic initiative [which] focuses on delivering transparency to inspire

10 more informed, conscious product choices for guests, their loved ones and the environment.”2 The

11
     program aims to provide transparency and empower consumers to make more informed choices
12
     about their beauty purchases by focusing on five key pillars: clean ingredients, cruelty-free practices,
13
     vegan options, sustainable packaging, and positive impact.3
14

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   1
        https://www.ulta.com/investor/news-events/press-releases/detail/14/conscious-beauty-at-ulta-
27 beauty-educates-guides (last accessed July 9, 2025).
   2
28 Id.
     3
         Id.
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13 https://www.ulta.com/discover/conscious-beauty (last visited July 11, 2025).

14          5.     Ulta defines “Conscious Beauty® at Ulta Beauty®” on its website as “our way of

15 empowering you with transparency and choices. You'll be able to identify Clean Ingredients, Cruelty

16 Free, Vegan, and Sustainable Packaging brands and products. It also highlights brands that Give

17
     Back to our communities and planet. Conscious Beauty at Ulta Beauty® includes brands across
18
     Makeup, Skin Care, Hair Care, Body Care, Fragrance and Nail product categories in order to give
19
     our guests even more choices.”
20

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 1 Id.

 2          6.      Ulta defines “Clean” at Ulta Beauty as “[b]rands within the Clean Ingredients pillar
 3
     certify with Conscious Beauty at Ulta Beauty that they comply with the Ulta Beauty ‘Made Without
 4
     List’, Ulta Beauty's set of standards that considers the human and environmental health impact of
 5
     ingredients.
 6

 7

 8

 9

10 Id.

11
            7.      Ulta represents that that every brand certified as having Clean Ingredients complies
12
     with its “Made Without List™,” which excludes certain ingredients.
13
            8.      Ulta now sells thousands of products that are marketed as part of the “clean
14

15 ingredients” pillar of the “Conscious Beauty” program.

16          9.      Ulta has participated in the marketing and sale of the products identified in Exhibit

17 A attached hereto. (collectively, the “Products” or “Ulta Products”). In an effort to increase profits,

18 Ulta markets the Products as part of the “Conscious Beauty® at Ulta Beauty®” program and claims

19
     that the Products are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s
20
     “Made Without List™.” However, these representations are false and misleading because the
21
     Products contain numerous ingredients that are excluded by Ulta Beauty’s “Made Without List™.”
22

23          10.     This action seeks to remedy the unlawful, unfair, deceptive, and misleading business

24 practices of Defendant with respect to the labeling, marketing, advertising, and sale of its household

25 and personal care products, which are sold throughout the State of California and throughout the

26
     country.
27

28

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 1           11.    Conscious of consumers increased demand for products that are made from safe

 2 ingredients and are environmentally sound, including products that do not harm the environment

 3
     through the product’s ingredients, manufacture, use, or disposal, and willingness to pay more for
 4
     products that meet this preference, Ulta misleadingly, illegally, and deceptively seeks to capitalize
 5
     on these consumer “green” trends. Consumers have poured billions of dollars into the “clean,”
 6

 7 “ecofriendly,” and “natural” products market. In fact, in a recent report, researchers found that Gen

 8 Z (people born roughly between 1996 and 2010) are more likely to spend money on companies and

 9 brands seen to be ethical.4

10           12.    Indeed, Ulta’s own propriety research that led to the launch of the “Conscious
11
     Beauty® at Ulta Beauty®” program shows an overwhelming 75% of consumers wish it were easier
12
     to know which products are truly clean while 63% of clean buyers state “safer for the planet” options
13
     are somewhat or very important.5
14

15           13.    By Ulta’s own admission, the “Conscious Beauty at Ulta Beauty” program directly

16 addresses these needs with established criteria to certify brands across five pillars, making it the

17 most comprehensive program of its kind in the beauty industry.”6 According to Dave Kimbell,

18 president of Ulta at the time of Conscious Beauty’s launch:

19
          The introduction of Conscious Beauty at Ulta Beauty reflects the incredible value
20        we place on listening to our guests. We consistently work to answer their evolving
          desires and with this holistic effort, we’re aligning beauty choices with their
21        personal values. The nationwide launch of this platform delivers a unique and
22

23

24   4
       Deena Robinson, “What is Greenwashing?”, EARTH.ORG, Nov. 13, 2022, https://earth.org/what-
25   is-greenwashing/ (last accessed July 9, 2025).
     5
            Ulta    Beauty       Clean      Beauty  quantitative      research,    April     2019
26   https://www.businesswire.com/news/home/20201014005128/en/Conscious-Beauty-at-Ulta-
     Beauty-Educates-Guides-Simplifies-Product-Choices (last accesed July 9, 2025) (source version
27   https://www.businesswire.com/news/home/20201014005128/en/Conscious-Beauty-at-Ulta-
28   Beauty-Educates-Guides-Simplifies-Product-Choices)
     6
       Id.
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                                                  6
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 1           holistic way to empower guests on their respective wellbeing and consciousness
             journeys.7
 2
             14.    The launch marked the official release of Ulta Beauty’s Made Without List, the
 3

 4 ingredient standard used to certify brands under the Clean Ingredients pillar, which Ulta claims was

 5 developed with consideration for the human and environmental health impact of ingredients.8

 6 Beginning in 2021, guests could find in-store and online guidance to easily identify clean products

 7 that comply with the list.9

 8
          15.    Seeking to take advantage of consumers’ demands for such products, Ulta’s
 9
   marketing materials and its website are replete with representations that its “Conscious Beauty
10
   Products” are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made
11

12 Without List™” which prohibits the use of specific ingredients that Ulta has determined are

13 commonly associated with adverse health and/or environmental impacts.

14           16.    Plaintiff purchased the Products in reliance on Defendant’s representations that these
15
     Products are part of the “Conscious Beauty® at Ulta Beauty®” program and are made with “Clean
16
     Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™” which prohibits the
17
     use of specific ingredients that Ulta has determined are commonly associated with adverse health
18

19 and/or environmental impacts. If Plaintiff had known that the Products contained ingredients that

20 are prohibited by Ulta Beauty’s “Made Without List™ and are commonly associated with adverse

21 health and/or environmental impacts, she would not have purchased the Products and would have

22 instead sought out other comparable products that are otherwise clean and do not contain ingredients

23
     that have adverse health consequences and/or negatively impact the environment.
24

25

26
27   7
     Id.
     8
28 9 Id.
     Id.
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 1          17.     Plaintiff and the Class reasonably believed Defendant’s false and misleading

 2 representations.    Defendant knew or reasonably should have known that its representations
 3
     regarding the Products were false, deceptive, misleading, and unlawful under California law.
 4
            18.     Plaintiff and the Class Members paid a premium for the Products over comparable
 5
     products that did not purport to have “Clean Ingredients” which exclude the use of ingredients that
 6

 7 are commonly associated with adverse health and/or environmental impact. Given that Plaintiff and

 8 Class Members paid a premium for the Products based on Defendants’ representations that they

 9 have “Clean Ingredients” and are free from ingredients that are commonly associated with adverse

10 health and/or environmental impact, Plaintiff and Class Members suffered an injury in the amount

11
     of the purchase price and/or the premium paid.
12
            19.     Plaintiff brings claims against Defendant individually and on behalf the Class
13
     Members who purchased the Products during the applicable statute of limitations period (the “Class
14

15 Period”) for (1) violation of California’s Consumer Legal Remedies Act (“CLRA”), Civil Code §

16 1750, et. seq.; (2) violation of California’s False Advertising Law (“FAL”), California Business &

17 Professions Code § 17500 et seq.; (3) fraud; (4) negligent misrepresentation; (5) violation of

18 California’s Unfair Competition Law (“UCL”), California Business & Professions Code § 17200,

19
   et seq.; (6) violation of the Environmental Marketing Claims Act (“EMCA”), California Business
20
   & Professions Code §§ 17580.5 and 17580(a); and (7) unjust enrichment.
21
                                               PARTIES
22

23          20.     Plaintiff Margaret Peggi Louise Garvey is a California citizen who resides in Novato,

24 California.     Plaintiff is concerned about clean and green products that are healthy and

25 environmentally friendly and seeks out products that are clean and do not contain any unwanted or

26
     harmful ingredients that have adverse health consequences and/or could negatively impact the
27
     environment. During the Class Period alleged herein, including on February 25, 2025, Plaintiff
28

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 1 Garvey purchased, without limitation, Ulta Beauty Dermalogica - MultiVitamin Power Recovery

 2 Mask, Drunk Elephant - A-Passioni Retinol Cream, L'Oréal - Revitalift Triple Power Anti-Aging

 3
     Face Moisturizer, ULTA Beauty Collection - Apple Cider Vinegar & Kaolin Clay Mask, and ULTA
 4
     Beauty Collection - Tinted Self Tan Mousse from an Ulta Beauty store in Novato, CA. Plaintiff
 5
     Garvey was specifically interested in purchasing clean household and personal care products.
 6
            21.     Plaintiff Garvey purchased the Products because she saw the marketing, advertising,
 7

 8 Defendant’s website, and representations in-store at the point-of-sale, which all represented that the

 9 Products are “Conscious Beauty® at Ulta Beauty®” and are made with “Clean Ingredients” that

10 excludes ingredients on Ulta Beauty’s “Made Without List™” which prohibits the use of specific

11
     ingredients that Ulta has determined are commonly associated with adverse health and/or
12
     environmental impacts.    Plaintiff Garvey relied on Defendant’s false, misleading, and deceptive
13
     representations that the Products are “Conscious Beauty® at Ulta Beauty®” and are made with
14

15 “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™” which

16 prohibits the use of specific categories of ingredients that Ulta has determined are commonly

17 associated with adverse health and/or environmental impacts. She understood this to mean that she

18 was purchasing clean products that comply with Ulta Beauty’s “Made Without List™” and do not

19
   contain any unwanted or harmful ingredients that have adverse health consequences and/or could
20
   negatively impact the environment. Plaintiff Garvey would not have purchased the Products at all,
21
   or would have been willing to pay a substantially reduced price for the Products, if she had known
22

23 that they contained ingredients that are prohibited by Ulta Beauty’s “Made Without List™ and are

24 commonly associated with adverse health and/or environmental impacts. Plaintiff Garvey would

25 purchase the products in the future if Defendant changed the composition of the Products so that

26
     they conformed to their “Clean Ingredient” representations, or if the Ulta’s representations were
27
     corrected and she could trust that they were correct.
28

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 1           22.     Defendant is the largest U.S. beauty retailer and a beauty destination for cosmetics,

 2 fragrance, skin care products, hair care products and salon services. In 1990, the Company

 3
     reinvented the beauty retail experience by offering a new way to shop for beauty – bringing together
 4
     all things beauty, all in one place. Today, Ulta Beauty is one of the top national retailers offering
 5
     beauty products and experiences. Ulta sells more than 25,000 products from approximately 500
 6

 7 well-established and emerging beauty brands across all categories and price points in its retail

 8 locations and on its website www.ulta.com, including Ulta’s own private label. Ulta also offers a

 9 full-service salon in every store featuring hair, skin, brow, and make-up services.

10                                    JURISDICTION AND VENUE
11
             23.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
12
     1332(d) because there are more than 100 class members and the aggregate amount in controversy
13
     exceeds $5,000,000, exclusive of interest, fees, and costs, and at least one Class member is a citizen
14

15 of a state different from Defendant. This Court has supplemental jurisdiction over state law claims

16 pursuant to 28 U.S.C. § 1367.

17           24.     This Court has personal jurisdiction over Defendants because Defendants are a
18 corporation with sufficient minimum contacts in California or otherwise intentionally avails itself

19
   of the laws of this State through their marketing of the products at issue in California to consumers
20
   in California, and through its direct sales of the products at issue in California to consumers in
21
   California, so as to render the exercise of jurisdiction by this Court consistent with traditional
22

23 notions of fair play and substantial justice.

24           25.     Venue is proper in this District pursuant to 28 U.S.C. 1391. Substantial acts in

25 furtherance of the alleged improper conduct, including the dissemination of false, misleading and

26
     deceptive information regarding the nature, quality, and/or formulation of the products, occurred
27
     within this District.
28

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 1                                COMMON FACTUAL ALLEGATIONS

 2            26.     In recent years, consumers have become significantly more aware and sensitive to
 3
     their health and impact on the environment through the products they purchase and use. As a result,
 4
     a movement has developed demanding consumer products that do not have adverse health and/or
 5
     environmental impacts, i.e., that create less harm to health and the environment through the
 6

 7 product’s ingredients, manufacture, use, or disposal. Consumers have poured billions of dollars into

 8 the “clean” and “green” beauty products market.

 9            27.     In response to consumers’ desire for safer, cleaner, and more environmentally
10 friendly products, many companies “greenwash” their products by deceptively claiming that their

11
     products are safer or cleaner than they are. Unfortunately, rather than creating the safer, cleaner,
12
     and nontoxic products that consumers desire, many companies, like Ulta, have chosen to
13
     “greenwash” their products through deceptive marketing, suggesting and outright stating that their
14

15 products are safe, clean, or environmentally friendly when, in fact, they contain ingredients that are

16 harmful to humans, animals, and/or the environment, or are otherwise not clean products.

17 The Federal Trade Commission Green Guides

18            28.     Recognizing this problem, the United States Federal Trade Commission (“FTC”)
19
     created the “Green Guides” to help companies avoid making misleading and deceptive claims.10
20
              29.     Section 5 of the FTC Act prohibits deceptive acts and practices in or affecting
21

22 commerce. A representation, omission, or practice is deceptive if it is likely to mislead consumers

23 acting reasonably under the circumstances and is material to consumers’ decisions. See FTC Policy

24 Statement on Deception, 103 FTC 174 (1983).

25            30.     The Green Guides state that “[t]he following general principles apply to all
26
     environmental marketing claims, including those described in §§ 260.4 – 16. Claims should
27

28   10
          See generally 16 C.F.R. § 260 – Guides for the Use of Environmental Marketing Claims.
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 1 comport with all relevant provision of these guides.” 16 C.F.R. § 260.3. Further, the Green Guides’

 2 general principles state:

 3
                    a. Qualifications and Disclosures: To prevent deceptive claims, qualifications and
 4                     disclosures should be clear, prominent, and understandable. To make disclosures
                       clear and prominent, marketers should use plain language and sufficiently large
 5                     type, should place disclosures in close proximity to the qualified claim, and should
                       avoid making inconsistent statements or using distracting elements that could
 6                     undercut or contradict the disclosure.
 7                     ***
 8
                    c. Overstatement of environmental attribute: An environmental marketing claim
 9                     should not overstate, directly or by implication, an environmental attribute or benefit.
                       Marketers should not state or imply environmental benefits if the benefits are
10                     negligible.
11 Id. (emphasis added).

12            31.      The Green Guides also provide examples of General Environmental Benefit Claims
13
     in order to “provide the Commission’s views on how reasonable consumers likely interpret certain
14
     claims.”11 The FTC provides the following relevant example:12
15
              Example 3: A marketer’s advertisement features a picture of a laser printer in a
16
              bird’s nest balancing on a tree branch, surrounded by a dense forest. In green type,
17            the marketer states, “Buy our printer. Make a change.” Although the advertisement
              does not expressly claim that the product has environmental benefits, the
18            featured images, in combination with the text, likely convey that the product
              has far-reaching environmental benefits and may convey that the product has
19
              no negative environmental impact. Because it is highly unlikely that the
20            marketer can substantiate these claims, this advertisement is deceptive.

21 Id. (emphasis added).

22         32. In addressing “General Environmental Benefit Claims,” the Green Guides state:
23
              (a) It is deceptive to misrepresent, directly or by implication, that a product, package,
24                or service offers a general environmental benefit.

25            (b) Unqualified general environmental benefit claims are difficult to interpret and
                  likely convey a wide range of meanings. In many cases, such claims likely
26                convey that the product, package, or service has specific and far-reaching
27
     11
28        16 C.F.R. § 260.1(d).
     12
          16 C.F.R. § 260.4.
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                                                    12
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 1                environmental benefits and may convey that the item or service has no
                  negative environmental impact. Because it is highly unlikely that marketers
 2                can substantiate all reasonable interpretations of these claims, marketers
                  should not make unqualified general environmental benefit claims.
 3

 4          (c) Marketers can qualify general environmental benefit claims to prevent deception
                about the nature of the environmental benefit being asserted. To avoid deception,
 5              marketers should use clear and prominent qualifying language that limits the
                claim to a specific benefit or benefits. Marketers should not imply that any
 6              specific benefit is significant if it is, in fact, negligible. If a qualified general
 7              claim conveys that a product is more environmentally beneficial overall because
                of the particular touted benefit(s), marketers should analyze trade-offs resulting
 8              from the benefit(s) to determine if they can substantiate this claim.

 9          (d) Even if a marketer explains, and has substantiation for, the product’s specific
                environmental attributes, this explanation will not adequately qualify a general
10
                environmental benefit claim if the advertisement otherwise implies deceptive
11              claims. Therefore, marketers should ensure that the advertisement’s context does
                not imply deceptive environmental claims.
12
     16 C.F.R. § 260.4 (emphasis added).
13
     Consumers and Green Products
14
            33.      Consumers are regularly choosing more environmentally friendly, safer, and cleaner
15
     products. In fact, some consumers are changing their buying behavior to reduce the impact of their
16

17 consumption habits over the environment, choosing an environment-friendly consumption behavior,

18 often called green consumption.13

19          34.      Consumers and investors increasingly care about a business’ positive impact and will
20
     make decisions according to brand perceptions. In a 2019 CSR Survey conducted by Aflac, 77% of
21
     consumers felt motivated to make purchasing decisions from companies committed to making the
22
     world a better place and 73% of investors viewed these efforts as contributors to return on
23
     investment, and, in turn, often look favorably on companies with conscious social and
24

25 environmental impact.

26
27   13
      “Greenwashing effect, attitudes, and beliefs in green consumption,” EMERALD INSIGHT, Mar.
28 12,    2019, https://www.emerald.com/insight/content/doi/10.1108/rausp-08-2018-0070/full/html,
   (last accessed July 10, 2025).
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 1          35.     In 2021, GreenPrint’s Business of Sustainability Index, found that 64% of Gen X

 2 consumers would spend more on a product if it comes from a sustainable brand, and that figure

 3
     jumps to 75% among millennials.
 4
            36.     Today, consumers across all generations—from Baby Boomers to Gen Z— are
 5
     willing to spend more for “greener” products, and the percentages of consumers in those generations
 6

 7 willing to pay more for sustainable products is growing. Now, at least 90% of Gen X consumers
                                                                                           14
 8 said that they would be willing to spend an extra 10% or more for sustainable products.

 9          37.     An international study of 20,000 customers by grocery brand giant Unilever
10 identified one in three (33%) people were choosing to buy from brands they believe are doing

11
     environmental good.15
12
            38.     A desire to help the environment is a big reason consumers purchase sustainable
13
     products and brands. Almost 30% say they want to improve the environment, with 23% wishing to
14

15 reduce production waste, 22% wishing to reduce their carbon footprint, and 17% concerned with

16 animal welfare.16 Consumers care about the environment and are purchasing environmentally sound

17 products to support those interests.

18          39.     Consumers are also concerned about safety and an inclination towards safer products
19
     is guiding consumer choices. A recent survey found that “[w]hen asked to choose the top three
20
     factors they prioritize when deciding between products, the majority of consumers surveyed said
21

22

23

24
     14
25    Greg Petro, “Consumers Demand Sustainable Products and Shopping Formats,” FORBES, Mar.
   11, 2022, https://www.forbes.com/sites/gregpetro/2022/03/11/consumers-demand-sustainable-
26 products-and-shopping-formats/, (last accessed July 10, 2025).
   15
      “Climate explained: are consumers willing to pay more for climate-friendly products?” THE
27 CONVERSATION, Sept. 29, 2020, https://theconversation.com/climate-explained-areconsumers-

28 willing-to-pay-more-for-climate-friendly-products-146757,
   16
                                                              (last accessed July 10, 2025).
      Id.
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 1 they prioritize the health/safety of products (71%) and products free from certain toxic chemicals

 2 (70%).”17

 3
            40.     Green labels and product marketing impact consumer buying decisions. Marketing
 4
     and labels allow consumers to make comparisons among products and services in the category and
 5
     decide their preference. Indeed, marketing makes it easier for consumers to identify green products
 6

 7 when they are shopping, reducing consumers’ purchase time. Consumers consider the information

 8 related to the environmental attributes of products that companies, like Defendant, use in marketing

 9 their products and use that information to make a purchase decision.18 Thus, labels and green

10 marketing tactics, like those used by Defendant, impact consumer buying behavior.

11
            41.     For these reasons, companies like Defendant have expanded their marketing efforts
12
     to attract consumers into purchasing cosmetics branded as safe, sustainable, or clean. Indeed, “the
13
     clean beauty market is estimated to reach $22 billion by 2024,” according to Statista Research.19
14

15          42.     In fact, that is precisely why Ulta, by its own admission, launched its “Conscious

16 Beauty” program in October 2020.20 Ulta claimed that it was “[t]he first-of-its-kind, holistic

17 initiative [which] focuses on delivering transparency to inspire more informed, conscious product

18 choices for guests, their loved ones and the environment.”21 The program aimed to provide

19

20
     17
21           Made     Safe,    “What      Shoppers     Want:      Safe     &     Healthy     Products,”
     https://cdn.shopify.com/s/files/1/0612/4493/2266/files/MADE_SAFE_What-Shoppers-
22   Want_Survey.pdf?v=1669140340, (last accessed July 10, 2025).
     18
         “The Effect of Green Marketing Strategy on Purchasing Decisions: A Review of Previous
23   Research,” INTERNATIONAL JOURNAL OF SCIENTIFIC & TECHNOLOGY RESEARCH
24   VOLUME 8, ISSUE 12, Dec. 2019, https://www.ijstr.org/final-print/dec2019/The-Effect-Of-
     Green-Marketing-Strategy-On-Purchasing-Decisions-A-Review-Of-Previous-Research.pdf, (last
25   accessed July 10, 2025).
     19
        Kristin Larson, “Shopper Demand For Clean Beauty And Increased Transparency Continues,”
26   FORBES (Jun. 30, 2021), https://www.forbes.com/sites/kristinlarson/2021/06/30/shopper-demand-
     for-clean-beauty-and-increased-transparency-continues/, (last accessed July 10, 2025).
27   20
            https://www.ulta.com/investor/news-events/press-releases/detail/14/conscious-beauty-at-ulta-
28   beauty-educates-guides (last accessed July 9, 2025).
     21
        Id.
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 1 transparency and empower consumers to make more informed choices about their beauty purchases

 2 by focusing on five key pillars: clean ingredients, cruelty-free practices, vegan options, sustainable

 3
     packaging, and positive impact.22
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17 https://www.ulta.com/discover/conscious-beauty (last visited July 11, 2025).

18              43.   Ulta’s own propriety research that led to the launch of the “Conscious Beauty® at

19 Ulta Beauty®” program shows an overwhelming 75% of consumers wish it were easier to know

20
     which products are truly clean while 63% of clean buyers state “safer for the planet” options are
21
     somewhat or very important.23
22
                44.   By Ulta’s own admission, the “Conscious Beauty at Ulta Beauty” program directly
23
     addresses these needs with established criteria to certify brands across five pillars, making it the
24

25
     22
          Id.
26   23
           Ulta   Beauty      Clean     Beauty     quantitative     research,    April     2019
   https://www.businesswire.com/news/home/20201014005128/en/Conscious-Beauty-at-Ulta-
27 Beauty-Educates-Guides-Simplifies-Product-Choices (last accesed July 9, 2025) (source version

28 https://www.businesswire.com/news/home/20201014005128/en/Conscious-Beauty-at-Ulta-
   Beauty-Educates-Guides-Simplifies-Product-Choices)
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 1 most comprehensive program of its kind in the beauty industry.”24 According to Dave Kimbell,

 2 president of Ulta at the time of Conscious Beauty’s launch:

 3
            The introduction of Conscious Beauty at Ulta Beauty reflects the incredible value
 4          we place on listening to our guests. We consistently work to answer their evolving
            desires and with this holistic effort, we’re aligning beauty choices with their
 5          personal values. The nationwide launch of this platform delivers a unique and
            holistic way to empower guests on their respective wellbeing and consciousness
 6          journeys.25
 7          45.     The launch marked the official release of Ulta Beauty’s Made Without List™, the
 8
     ingredient standard used to certify brands under the Clean Ingredients pillar, which Ulta claims was
 9
     developed with consideration for the human and environmental health impact of ingredients.26
10
     Beginning in 2021, guests could find in-store and online guidance to easily identify clean products
11
                             27
12 that comply with the list.

13          46.     Ulta now sells thousands of products that are marketed as part of the “clean

14 ingredients” pillar of the “Conscious Beauty” program.

15
     “Clean Ingredients” and The “Made Without List™”
16
            47.     Ulta requires brands participating in the “Clean Ingredients” pillar of the “Conscious
17
     Beauty® at Ulta Beauty®” program to all formulate their hair, skink, makeup, body and fragrance
18
     products to the “Made Without List™” standards which prohibit the use of certain ingredients.
19

20          48.     According to the “Made Without List™” located on Ulta’s website during the Class

21 Period, Ulta requires brands participating in the “Clean Ingredients” pillar of the “Conscious

22 Beauty® at Ulta Beauty®” program to all formulate their hair, skink, makeup, body and fragrance

23
     products to the “Made Without List™” standards which prohibit the use of the following
24
     ingredients: Acrylates; Alkylphenols (Octylphenols, nonylphenols) and Alkylphenol Ethoxylates;
25

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     24
      Id.
27   25
      Id.
   26
28 27 Id.
      Id.
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 1 Aluminum compounds; Aluminum powder; Aluminum salts and complexes; Ethoxylated

 2 ingredients including PEGs and polyethylene glycol or polysorbate28; Phthalates; Sodium Laureth

 3
     Sulfate (SLES); Sodium Lauryl Sulfate (SLS); Styrene & styrene oxide.29
 4
             49.      The reason that Ulta placed these types of ingredients on the “Made Without List™”
 5
     is because they all have adverse health and/or environmental impacts:
 6
          a. Acrylates pose risks to human health and the environment.
 7

 8           •     Acrylates have numerous health impacts:

 9                 Acrylates are potential carcinogens. Methyl methacrylate, a type of acrylates used in
10                 nail products, are classified by the International Agency of Research on Cancer (IARC)
11
                   and the U.S. Environmental Protection Agency (EPA) as possible human carcinogens.
12
                   Workers in acrylic sheet manufacturing exposed to these chemicals have shown an
13
                   increased risk of colorectal cancer.
14

15                 Acrylates are known skin, eye, and respiratory tract irritants. Repeated exposure can lead

16                 to skin sensitization and allergic contact dermatitis, especially in professionals like

17                 manicurists and dental technicians.
18
                   Exposure to acrylates has been linked to developmental issues, neurological damage,
19
                   cellular damage, reproductive toxicity, and organ system toxicity. Methyl methacrylate
20
                   inhalation is associated with lung disease and damage to nasal passages, liver, and
21
                   kidneys.
22

23

24   28
     After Ulta received Plaintiff’s CLRA Notice Letter, Ulta removed “Ethoxylated ingredients” from
25 the “Made Without List™” and now claims that they are “Limited Use Ingredients” that “are
   permitted to be used in accordance with the corresponding restricted limits, grade requirements,
26 and/or      regulated      standards.”     https://www.ulta.com/discover/conscious-beauty/clean-
   ingredients/made-without (last accessed July 11, 2025).
27
     29
28     https://web.archive.org/web/20250423204642/https://www.ulta.com/discover/conscious-
     beauty/clean-ingredients/made-without (last visited July 11, 2025).
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 1        •   Acrylates also have numerous environmental impacts. Many acrylate copolymers are
 2            not biodegradable and contribute to microplastic pollution, especially when washed off
 3
              from personal care products like face washes and hair gels. These microplastics can end
 4
              up in marine ecosystems and be ingested by aquatic life. Some acrylates are toxic to
 5
              aquatic organisms, and improper disposal can lead to water pollution. The accumulation
 6

 7            of acrylic polymer waste in landfills can lead to environmental issues like soil and water

 8            pollution, and contribute to greenhouse gas emissions.

 9     b. Alkylphenols (Octylphenols, nonylphenols) and Alkylphenol Ethoxylates are associated
10
          with several potential health risks for humans and documented toxic effects on the
11
          environment, particularly aquatic life.
12
          •   Alkylphenols are known as endocrine-disrupting chemicals (EDCs) because they can
13

14            interfere with the body's hormone system, particularly by mimicking the effects of

15            estrogen. These hormone-mimicking effects can lead to a variety of reproductive and

16            developmental problems in humans and wildlife.
17
          •   Some studies suggest a potential association between Alkylphenol Ethoxylates exposure
18
              and certain types of cancer, though more research is needed to establish a definitive link.
19
          •   Research indicates alkylphenols may have adverse effects on various body systems,
20

21            including the reproductive system, nervous system, and immune system.

22        •   Alkylphenols and their breakdown products, like nonylphenol, are persistent in the

23            environment and can accumulate in the tissues of organisms, including fish and wildlife.
24
          •   Alkylphenols are toxic, and in some cases, highly toxic, to aquatic organisms. This
25
              toxicity can have significant and long-lasting negative effects on fish and other marine
26
              life.
27

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 1        •   The endocrine-disrupting properties of alkylphenols can affect the hormonal systems of
 2            wildlife, leading to reproductive problems and other health issues in organisms like fish
 3
              and invertebrates.
 4
          •   Alkylphenol Ethoxylates are commonly found in wastewater effluent and sediment,
 5
              entering the environment through sources like industrial discharge and agricultural
 6

 7            runoff.

 8     c. Aluminum compounds have both potential health effects and environmental impacts.

 9        •   High aluminum exposure can be linked to:
10
                 Neurological issues: Including dementia and impaired neural function. However, the
11
                 role of aluminum in diseases like Alzheimer's is still being investigated and is not
12
                 considered conclusive.
13

14               Respiratory problems: Especially for those who work in environments with high

15               levels of aluminum dust or fumes.

16               Bone abnormalities: Aluminum can interfere with bone metabolism and lead to
17               conditions like osteoporosis.
18
                 Cardiovascular problems: Elevated levels of aluminum are associated with a higher
19
                 incidence of cardiovascular diseases, potentially through oxidative stress and
20
                 inflammatory responses.
21

22               The production of primary aluminum is an energy-intensive process that can cause

23               environmental damage:

24        •   Environmental impacts:
25
                 Greenhouse gas emissions: Aluminum production is a significant source of potent
26
                 greenhouse gases called perfluorocarbons (PFCs).
27

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 1               Air and water pollution: Mining of bauxite (aluminum ore) can lead to habitat

 2               destruction, water contamination, and air pollution from dust. The refining process
 3
                 can release mercury into waterways. Smelting can release sulfur dioxide.
 4
       d. Aluminum powder’s production process can pose environmental risks:
 5
             Mining and Production: Extracting bauxite, refining it into alumina, and smelting
 6
             alumina into aluminum are energy-intensive processes that contribute to greenhouse gas
 7

 8           emissions and can impact local ecosystems.

 9           Air pollution: Aluminum production can emit particulate matter, fluorides, sulfur
10           dioxide, and other air pollutants that harm communities and the environment.
11
             Water pollution: Smelter wastewater may contain pollutants like mercury, lead, arsenic,
12
             and cadmium, potentially harming aquatic life and drinking water supplies.
13
             Habitat destruction: Bauxite mining can lead to the destruction of habitats, particularly
14

15           in sensitive ecosystems like rainforests, according to UK Green Building Council.

16           Waste Disposal: Red mud, a caustic waste product generated during alumina refining,

17           presents a significant environmental challenge due to its alkalinity, salinity, and potential
18           heavy metal content.
19
       e. Aluminum salts and complexes have both potential health and environmental impacts.
20
          Concerns exist regarding toxicity from high exposure, particularly in vulnerable populations
21
          like infants and individuals with kidney problems. Some studies suggest a link between
22

23        aluminum exposure and neurodegenerative diseases like Alzheimer's and Parkinson's. In the

24        environment, aluminum can negatively affect aquatic life and contribute to pollution during

25        production. Aluminum can be toxic to aquatic organisms, particularly fish, impacting their
26
          ability to regulate ions and causing respiratory problems. Aluminum production processes
27
          release pollutants like particulate matter, sulfur dioxide, and fluorides into the air and water,
28

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 1        contributing to environmental contamination. Aluminum production generates waste that

 2        requires proper management to prevent environmental harm. And the release of aluminum
 3
          compounds from various sources, including personal care products, can lead to soil and
 4
          water contamination.
 5
       f. Ethoxylated ingredients can break down into potentially harmful by-products, such as 1,4-
 6

 7        dioxane and ethylene oxide. 1,4-dioxane is a probable human carcinogen, and has been

 8        linked to an increased risk of breast cancer. The Environmental Protection Agency (EPA)

 9        has also classified it as a likely human carcinogen. On the other hand, Ethylene oxide is a
10
          known human carcinogen and has been linked to an increased risk of lymphoma and
11
          leukemia. The International Agency for Research on Cancer (IARC) has classified
12
          ethylene oxide as a known human carcinogen, and has been linked to an increased risk
13
          of lymphoma and leukemia.
14

15        In addition to the potential health risks, Ethoxylates can also have negative effects on the

16        environment. They can be toxic to aquatic life and can contribute to the formation of harmful
17        algal blooms. They can also persist in the environment for long periods of time, making them
18
          difficult to remove.
19
       g. Phthalates are not considered healthy and have a significant environmental impact. They
20
          are endocrine disruptors, meaning they can interfere with hormone systems, and are linked
21

22        to   various    health     issues,   especially   in   children    and    during    prenatal

23        development. Additionally, they are pervasive in the environment, found in air, water, soil,

24        and dust, and can negatively affect wildlife.
25
       h. Sodium Laureth Sulfate (SLES) and Sodium Lauryl Sulfate (SLS) have health and
26
          environmental impacts.
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 1        •   With respect to health concerns, both SLS and SLES can cause skin and eye irritation,
 2            especially in individuals with sensitive skin or when used in high concentrations. SLES,
 3
              in particular, can be contaminated with 1,4-dioxane, a potential carcinogen, during the
 4
              manufacturing process. While this can be removed through vacuum stripping, it's not
 5
              something consumers can easily verify. Some individuals may experience dryness,
 6

 7            redness, or itching after using products containing SLS.

 8        •   Environmental impacts:

 9               Biodegradability: SLS is generally considered less biodegradable than SLES,
10
                 meaning it can persist longer in the environment. SLES is more readily
11
                 biodegradable and can break down when exposed to sunlight and oxygen.
12
                 Potential for Environmental Accumulation: Due to its persistence, SLS could
13
                 potentially accumulate in the environment, leading to long-term impacts on
14

15               ecosystems.

16     i. Styrene & styrene oxide pose risks to both human health and the environment.
17        •   Exposure to styrene can cause irritation to the eyes and mucous membranes, and more
18
              serious health problems if inhaled or ingested. Long-term exposure to high levels of
19
              styrene may affect the nervous system, leading to issues like changes in color vision,
20
              fatigue, and impaired concentration. The EPA also lists styrene as a Hazardous Air
21

22            Pollutant.

23        •   Styrene is released during the production and use of styrene-containing products, and it

24            can contaminate air, water, and soil. It contributes to the formation of photochemical
25
              smog. Styrene is moderately toxic to aquatic organisms.
26
27

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 1          •     Styrene oxide is classified as a probable human carcinogen by the International Agency
 2                for Research on Cancer (IARC). Animal studies have shown that styrene oxide can cause
 3
                  tumors in rats and mice when ingested, according to the EPA.
 4
            •     Styrene oxide can contaminate water and soil, posing hazards to aquatic and terrestrial
 5
                  organisms.
 6

 7 Defendants’ False and Misleading Representations

 8          50.      Ulta makes numerous false and misleading statements in its marketing and

 9 advertising materials about the Products. Ulta makes numerous statements at the point-of-sale, in

10
     its marketing and advertisements, and on social media that the Products are “Conscious Beauty® at
11
     Ulta Beauty®” and are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s
12
     “Made Without List™.”
13
            51.      Ulta makes numerous statements in its stores that the Products are “Conscious
14

15 Beauty®” and are made with “Clean Ingredients” that excludes ingredients on with Ulta Beauty’s

16 “Made Without List™” which prohibits the use of specific ingredients that Ulta has determined are

17 commonly associated with adverse health and/or environmental impacts.

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            52.    Ulta tells consumers at the point-of-stale that “[o]ur mission is to provide more
17
     choices and guidance, and to celebrate the brands that share your values” and provides a QR Code
18

19 in its stores so that consumers can view the “Made Without List™.”

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            53.    Ulta makes numerous statements in its advertisements that the Products are made
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     with “Clean Ingredients”:
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 7          54.    Ulta makes numerous statements on its Facebook page that the Products are
 8 Conscious Beauty® and are made with “Clean Ingredients” that excludes ingredients on Ulta

 9
     Beauty’s “Made Without List™” which prohibits the use of specific ingredients that Ulta has
10
     determined are commonly associated with adverse health and/or environmental impacts.
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            55.    Ulta’s website contains numerous claims that the Products are “Conscious Beauty®
22
     at Ulta Beauty®” and are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s
23
     “Made Without List™”
24

25          56.    Ulta claims that the “Clean Ingredients” pillar of the “Conscious Beauty® at Ulta

26 Beauty®” “[e]xcludes parabens, phthalates, and other ingredients on our Made Without List.”
27

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13 https://www.ulta.com/discover/conscious-beauty (last visited July 11, 2025).

14          57.    Ulta defines “Conscious Beauty® at Ulta Beauty®” on its website as “our way of

15 empowering you with transparency and choices. You'll be able to identify Clean Ingredients, Cruelty

16 Free, Vegan, and Sustainable Packaging brands and products. It also highlights brands that Give

17
     Back to our communities and planet. Conscious Beauty at Ulta Beauty® includes brands across
18
     Makeup, Skin Care, Hair Care, Body Care, Fragrance and Nail product categories in order to give
19
     our guests even more choices.”
20

21

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     Id.
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 1          58.     Ulta defines “Clean” at Ulta Beauty as “[b]rands within the Clean Ingredients pillar

 2 certify with Conscious Beauty at Ulta Beauty that they comply with the Ulta Beauty “Made Without

 3
     List”, Ulta Beauty's set of standards that considers the human and environmental health impact of
 4
     ingredients.
 5

 6

 7

 8

 9 Id.

10          59.     Ulta represents that its “goal” with “Clean Ingredients” is “to be transparent and keep
11
     things simple. We’re focusing on ingredients that products have—and don’t—to help you easily
12
     reach for the beauty you want.”
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26 https://www.ulta.com/discover/conscious-beauty/clean-ingredients (last accessed July 11, 2025)
27          60.     Ulta represents that the Products are part of the “Conscious Beauty® at Ulta
28
     Beauty®” program and are made with “Clean Ingredients” when consumers shop on its website:

                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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12
     https://www.ulta.com/shop/makeup/all?preference=clean+ingredients (last accessed July 14, 2025).
13

14          61.    Ulta’s also represents that the Products are part of the “Conscious Beauty® at Ulta

15 Beauty®” program and are made with “Clean Ingredients” when consumers view individual product

16 pages on its website.

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 1 https://www.ulta.com/p/a-passioni-retinol-cream-pimprod2028055?sku=2588469 (last accessed

 2 July 14, 2025).

 3
            62.      Ulta also represents on its website that “[y]ou can be sure that every brand certified
 4
     as having Clean Ingredients complies without our Made Without List, which outlines substances
 5
     like parabens, phthalates and more. And as the research evolves, so will the list.”
 6

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19 https://www.ulta.com/discover/conscious-beauty/clean-ingredients (last accessed July 11, 2025)

20          63.      Ulta claims that its “Made Without List™” is designed to provide transparency to
21
     help consumers make informed beauty and personal care product choices. Ulta requires brands
22
     participating in the “Clean Ingredients” pillar of the “Conscious Beauty® at Ulta Beauty®” program
23
     to all formulate their hair, skink, makeup, body and fragrance products to the “Made Without List™”
24

25 standards which prohibit the use of certain ingredients.

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     https://www.ulta.com/discover/conscious-beauty/clean-ingredients/made-without (last accessed
13

14 July 11, 2025).

15          64.      Ulta represents on its website that it requires brands participating in the “Clean
16 Ingredients” pillar of the “Conscious Beauty® at Ulta Beauty®” program to all formulate their hair,

17
     skin, makeup, body and fragrance products to the “Made Without List™” standards which prohibit
18
     the use of the following ingredients:
19
                                             The ‘Made Without List’:
20
                  Acrylates
21
                  Primarily used as adhesives in eyelash products, and as a barrier former/bonding agent
22                in nail polish
23                Alkylphenols (Octylphenols, nonylphenols) and Alkylphenol Ethoxylates
24                Used in cosmetics products as a foaming agent and can be found in hair products,
                  toothpaste, soaps, makeup remover, cleansers, and lotions.
25
                  Aluminum compounds
26
                  Allowed in cosmetics except antiperspirants, loose powder and dry shampoos.
27
                  Aluminum powder
28

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 1                Used as a colorant in many cosmetics. Allowed in cosmetics except lip products,
                  antiperspirants, loose powder and dry shampoos.
 2
                  Aluminum salts and complexes
 3
                  Used to block pores in the skin to prevent sweat. Allowed in cosmetics except lip
 4                products, antiperspirants, loose powder and dry shampoos.

 5                Ethoxylated ingredients

 6                Ethoxylated ingredients including PEGs and polyethylene glycol or polysorbate.30

 7                Phthalates

 8                Used to dissolve other chemicals in nail enamel and fragrances.

 9                Sodium Laureth Sulfate (SLES)

10                Used in cosmetics products as a foaming agent and can be found in hair products,
                  toothpaste, soaps, makeup remover, cleansers, and lotions.
11
                  Sodium Lauryl Sulfate (SLS)
12
                  Used in cosmetics products as a foaming agent and can be found in hair products,
13                toothpaste, soaps, makeup remover, cleansers, and lotions.

14                Styrene & styrene oxide

15                Used as a solvent and is not used is cosmetics.”

16 https://web.archive.org/web/20250423204642/https://www.ulta.com/discover/conscious-

17 beauty/clean-ingredients/made-without (last visited July 11, 2025).

18
            65.      Based on these representations that Products that are part of the “Conscious Beauty®
19
     at Ulta Beauty®” program are made with “Clean Ingredients” that excludes ingredients on Ulta
20
     Beauty’s “Made Without List™,” reasonable consumers, including Plaintiff, believe that the
21

22 Products do not contain any ingredients prohibited by the “Made Without List™.” However, these

23 representations are false and misleading because the Products contain numerous ingredients that are

24 excluded by Ulta Beauty’s “Made Without List™.”

25

26   30
     After Ulta received Plaintiff’s CLRA Notice Letter, Ulta removed “Ethoxylated ingredients” from
   the “Made Without List™” and now claims that they are “Limited Use Ingredients” that “are
27 permitted to be used in accordance with the corresponding restricted limits, grade requirements,

28 and/or    regulated     standards.”        https://www.ulta.com/discover/conscious-beauty/clean-
   ingredients/made-without (last accessed July 11, 2025).
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 1          66.     Representing that the Products are made with “Clean Ingredients” that do not contain

 2 any ingredients prohibited by Ulta Beauty’s “Made Without List™” is a statement of fact.

 3
            67.     Consumers reasonably believe that a product represented as made with “Clean
 4
     Ingredients” that complies with Ulta Beauty’s “Made Without List™ does not contain any
 5
     ingredients prohibited by the List.
 6
            68.     Ulta’s representations that Products that are part of the “Conscious Beauty® at Ulta
 7

 8 Beauty®” program are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s

 9 “Made Without List™” are false, misleading, and deceptive because the Products contain numerous

10 ingredients that are prohibited by Ulta Beauty’s “Made Without List™.”

11
            69.     Ulta’s Products contain the following non-exhaustive list of ingredients prohibited
12
     by Ulta Beauty’s “Made Without List™:
13
        a. Acrylates/Beheneth-25 Methacrylate Copolymer is an ethoxylated ingredient because the
14

15          "Beheneth-25" part of the name indicates that it is a derivative of behenyl alcohol that has

16          been ethoxylated (meaning it has a PEG or polyethylene glycol chain added to it), with "25"

17          representing the average number of ethylene oxide units in that chain. "Acrylate" or
18          "acrylates" are polymers or copolymers based on acrylic acid and / or other alkyl acrylates
19
            (acrylic acid esters). "Beheneth-" refers to a PEG (polyethylene glycol-) ether of behenyl
20
            alcohol. The number behind "beheneth-" refers to the average number of molecular units -
21
            CH2-CH2-O-. Methacrylates are polymers or copolymers based on methacrylic acid and /
22

23          or its esters. "Copolymer" refers to a polymer composed of several different (mostly two)

24          basic units (monomers).

25      b. Acrylates/C10-30 Alkyl Acrylate Crosspolymer belongs to the family of Acrylates
26
            Polymer.
27

28

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 1     c. Acrylates/C12-22 Alkyl Methacrylate Copolymer is an acrylate ingredient, specifically a

 2        copolymer that includes acrylates and C12-22 alkyl methacrylate. It's a polymer formed by
 3
          combining these monomers, making it a type of acrylate-based ingredient.
 4
       d. Acrylates/Steareth-20 Methacrylate Copolymer is an ethoxylated ingredient because it
 5
          contains "Steareth-20," which indicates the presence of ethoxylation, a process where a
 6
          molecule is modified with ethylene oxide chains.
 7

 8     e. Aluminum Benzoate is an aluminum compound.

 9     f. Aluminum Hydroxide is an aluminum salt.
10     g. Aluminum Sucrose Octasulfate is an aluminum salt.
11
       h. Aluminum Starch Octenylsuccinate is an aluminum salt.
12
       i. Ammonium Acryloyldimethyltaurate/Beheneth-25 Methacrylate Crosspolymer is an
13
          acrylic ingredient. It's a copolymer, meaning it's a polymer made from two or more different
14

15        monomers, and in this case, those monomers include acryloyldimethyltaurate and beheneth-

16        25 methacrylate (both of which are derived from acrylic acid or methacrylic acid).

17     j. Ammonium Acryloyldimethyltaurate/VP Copolymer is an acrylate ingredient. It's a
18        copolymer, meaning it's a polymer made from two or more monomers, and one of those
19
          monomers is ammonium acryloyldimethyltaurate, which is derived from acrylic acid.
20
       k. Bis-PEG-12 Dimethicone Beeswax is considered an ethoxylated ingredient because it
21
          contains polyethylene glycol (PEG), specifically a derivative of dimethicone that is end-
22

23        blocked with an average of 12 moles of ethylene oxide.

24     l. Butylene/ethylene/styrene Copolymer contains styrene.         It is synthetic polymer that

25        contains butylene, ethylene, and styrene monomers that have been hydrogenated.
26
27

28

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 1     m. Ceteareth-6 is considered an ethoxylated ingredient; it is a type of cetearyl alcohol that has

 2        been modified through a process called ethoxylation, meaning ethylene oxide molecules are
 3
          added to its structure, making it an ethoxylated compound.
 4
       n. Ceteareth-20 is an ethoxylated ingredient; it is a fatty alcohol that has been chemically
 5
          modified by adding 20 molecules of ethylene oxide through a process called ethoxylation.
 6
       o. Ceteareth-25 is an ethoxylated ingredient; it is a mixture of cetyl and stearyl alcohols that
 7

 8        have been ethoxylated with 25 moles of ethylene oxide, meaning the "25" in its name

 9        indicates the level of ethoxylation involved in its chemical structure.
10     p. Ceteareth-33 is an ethoxylated ingredient; it is a blend of fatty alcohols (C16-C18) that have
11
          been modified by adding ethylene oxide, making it a type of polyethylene glycol ether,
12
          which is the defining characteristic of an ethoxylated compound.
13
       q. Ceteareth 60 Myristyl Glycol is an ethoxylated ingredient. The "ceteareth" part denotes
14

15        that this ingredient is created by adding ethylene oxide to a fatty alcohol, making it an

16        ethoxylated compound. "Ceteareth-" refers to a PEG (polyethylene glycol-) ether of cetearyl

17        alcohol. The "60" in "ceteareth 60" represents the average number of ethylene oxide
18        molecules attached to the fatty alcohol chain. "Glycol" refers to divalent alcohol as alcoholic
19
          component of this ingredient (ethylene glycol, propylene glycol, butylene glycol, pentylene
20
          glycol, hexylene glycol and others).
21
       r. Cetyl PEG/PPG-10/1 Dimethicone is an ethoxylated ingredient. It's a copolymer of Cetyl
22

23        Dimethicone and an alkoxylated derivative of Dimethicone that contains an average of 10

24        moles of ethylene oxide and 1 mole of propylene oxide.

25     s. Diethylhexyl 2,6-Naphthalate is considered a phthalate ingredient, although it is
26
          technically not a "phthalate" in the strict chemical sense, but is often grouped with them due
27
          to its similar chemical structure and potential for endocrine disrupting effects. Like other
28

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 1        phthalates, diethylhexyl 2,6-naphthalate has raised concerns regarding potential endocrine

 2        disruption, especially in relation to reproductive health.
 3
       t. Dihydroxypropyl PEG-5 Linoleammonium Chloride is an ethoxylated ingredient. It
 4
          contains PEG-5, which stands for polyethylene glycol with an average of 5 ethylene oxide
 5
          units, indicating it's derived through the process of ethoxylation.
 6
       u. Disodium Laureth Sulfosuccinate is an ethoxylated ingredient. It's specifically the
 7

 8        disodium salt of an ethoxylated lauryl alcohol half ester of sulfosuccinic acid. The "Laureth"

 9        part of its name indicates that it's derived from lauryl alcohol that has been ethoxylated
10        (meaning it has been reacted with ethylene oxide to create a polyethylene glycol chain).
11
       v. Disteareth-75 IPDI is an ethoxylated ingredient; the "Steareth-75" portion indicates that it
12
          is a fatty alcohol that has been ethoxylated, meaning ethylene oxide has been added to its
13
          chemical structure to modify its properties.
14

15     w. Ethylene/propylene/styrene Copolymer contains styrene. It is a synthetic polymer that

16        contains ethylene, propylene, and styrene monomers that has been terminated by

17        hydrogenation.
18     x. Glyceryl Acrylate/Acrylic Acid Copolymer is an acrylate ingredient. It's a copolymer (a
19
          polymer made from multiple monomers) that incorporates acrylic acid and glyceryl
20
          acrylate.
21
       y. Glycereth-7 Caprylate/Caprate is an ethoxylated ingredient. It's specifically an
22

23        ethoxylated glycerine derivative, meaning it's derived from glycerin and has been modified

24        by the addition of ethylene oxide (ethoxylation).

25     z. Gratissima (Avocado) Oil Acrylates/C10-30 Alkyl Acrylate is an acrylate-based
26
          polymer. It's a crosspolymer that contains acrylic acid units, making it a type of acrylate.
27

28

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 1     aa. Hydroxyethyl Acrylate/Sodium Acryloyldimethyl Taurate Copolymer is an acrylate

 2        ingredient. It's a synthetic polymer made up of acryloyldimethyl taurate and sodium
 3
          hydroxyethyl acrylate monomers.
 4
       bb. Hydrogenated Styrene/Isoprene Copolymer is a type of copolymer that contains styrene
 5
          as one of its components. It's a complex molecule created by combining styrene and
 6
          isoprene, then undergoing a process called hydrogenation.
 7

 8     cc. Lauryl Peg-9 Polydimethylsiloxyethyl Dimethicone is an ethoxylated ingredient. It

 9        contains PEG-9, which stands for polyethylene glycol, indicating that it has undergone a
10        process called ethoxylation. This process involves adding ethylene oxide to a molecule, in
11
          this case, to modify the polydimethylsiloxyethyl dimethicone.
12
       dd. Laureth-3 is an ethoxylated ingredient, meaning it is produced through a process called
13
          ethoxylation where ethylene oxide is added to lauryl alcohol, making it a member of the
14

15        ethoxylated fatty alcohol group; the "3" in Laureth-3 indicates the number of ethylene oxide

16        molecules added during the process.

17     ee. Laureth-4 is an ethoxylated ingredient, meaning it is derived from lauryl alcohol through a
18        process called ethoxylation where ethylene oxide is added to the molecule; the "4" in
19
          Laureth-4 indicates the average number of repeating ethylene oxide units in the molecule.
20
       ff. Laureth-7 is an ethoxylated ingredient. It's specifically an ethoxylated lauryl alcohol,
21
          meaning it's created by adding ethylene oxide to lauryl alcohol (derived from coconut or
22

23        palm oil).

24     gg. Laureth-12 is an ethoxylated ingredient. It's specifically an ethoxylated fatty alcohol,

25        meaning it's derived from lauryl alcohol through a process called ethoxylation, where
26
          ethylene oxide is added to the lauryl alcohol molecule.
27

28

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 1     hh. Laureth-13 is an ethoxylated ingredient. The "-eth" suffix in its name indicates that it's an

 2        alcohol ethoxylate, meaning it's derived from an alcohol (in this case, lauryl alcohol) that
 3
          has been reacted with ethylene oxide (ethoxylated).
 4
       ii. Laureth-21 is an ethoxylated ingredient. It's a polyethylene glycol ether of lauryl alcohol,
 5
          meaning it's created by reacting lauryl alcohol with ethylene oxide (EO), a process called
 6
          ethoxylation. The "21" in Laureth-21 refers to the average number of ethylene oxide units
 7

 8        in the molecule.

 9     jj. Laureth-23 is an ethoxylated ingredient. It's a polyethylene glycol ether of lauryl alcohol,
10        meaning it's created through the process of ethoxylation, where 23 moles of ethylene oxide
11
          is added to lauryl alcohol.
12
       kk. Lauryl PEG-8 Dimethicone is an ethoxylated ingredient. It's specifically a polyethylene
13
          glycol (PEG) derivative of dimethicone, meaning it's created by chemically attaching
14

15        polyethylene glycol chains to dimethicone through a process called ethoxylation.

16     ll. Lauryl PEG-10 Tris (Trimethylsiloxy)silylethyl Dimethicone is an ethoxylated

17        ingredient because it contains PEG-10, which stands for polyethylene glycol with an average
18        of 10 moles of ethylene oxide.
19
       mm.        Methyl Methacrylate Crosspolymer is considered an acrylate ingredient,
20
          specifically a type of methacrylate, which is a derivative of acrylic acid. Methacrylates are
21
          related to acrylates, both being used in polymers and copolymers, with methacrylates having
22

23        an extra methyl group attached to the alpha carbon.

24     nn. Olive Oil PEG-7 Esters are an ethoxylated ingredient. They are a product of olive oil

25        transesterified with pre-ethoxylated glycerine.
26
27

28

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 1     oo. PEG-6 is an ethoxylated ingredient. It's a polyethylene glycol (PEG) derivative, and the

 2        process of adding ethylene oxide to a base molecule (in this case, often a fatty alcohol or
 3
          other compound) is called ethoxylation.
 4
       pp. PEG-6 Caprylic/Capric Glycerides is an ethoxylated ingredient. It's specifically a
 5
          polyethylene glycol (PEG) derivative of a mixture of mono-, di-, and triglycerides of caprylic
 6
          and capric acids, meaning it's been modified by the addition of ethylene oxide
 7

 8        (ethoxylation).

 9     qq. PEG-6 Isostearate is an ethoxylated ingredient. It's a polyethylene glycol (PEG) derivative,
10        meaning it's created through a process called ethoxylation, where ethylene oxide is added to
11
          another compound (in this case, isostearic acid).
12
       rr. PEG-7 Glyceryl Cocoate is an ethoxylated ingredient. It's specifically an ethoxylated
13
          derivative of glyceryl cocoate, meaning it's created by reacting glyceryl cocoate (derived
14

15        from glycerol and coconut oil) with ethylene oxide.

16     ss. PEG-7 Trimethylolpropane Coconut Ether is an ethoxylated ingredient because it is a

17        polyethylene glycol (PEG) compound. PEG compounds are created through an ethoxylation
18        process.
19
       tt. PEG-8 is an ethoxylated ingredient. It's a polyethylene glycol (PEG) derivative, and the
20
          process of adding ethylene oxide to a base molecule (in this case, often a fatty alcohol or
21
          other compound) is called ethoxylation.
22

23     uu. PEG-8 Beeswax is an ethoxylated ingredient. It's a derivative of natural beeswax that's

24        created by combining beeswax with polyethylene glycol (PEG).

25     vv. PEG-8 Dimethicone is an ethoxylated ingredient. It's specifically a polyethylene glycol
26
          (PEG) derivative of dimethicone, meaning it's created through a process called ethoxylation,
27
          where ethylene oxide is added to dimethicone.
28

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 1     ww.        PEG-8 Laurate is an ethoxylated ingredient. It's specifically a polyethylene glycol

 2        (PEG) ester of lauric acid, meaning it's created through the process of ethoxylation, where
 3
          ethylene oxide is added to lauric acid.
 4
       xx. PEG-8/SMDI Copolymer is considered an ethoxylated ingredient because it contains PEG-
 5
          8, which is a polyethylene glycol derivative and a product of ethoxylation. Ethoxylation is a
 6
          process that involves adding ethylene oxide to other molecules, in this case, to create the
 7

 8        PEG-8 component.

 9     yy. PEG-10 is an ethoxylated ingredient. PEG stands for polyethylene glycol, and the process
10        of adding ethylene oxide to a molecule is called ethoxylation. Specifically, PEG-10 indicates
11
          that the polyethylene glycol molecule has been ethoxylated with an average of 10 moles of
12
          ethylene oxide.
13
       zz. PEG-10 Dimethicone is an ethoxylated ingredient. It's a blend of polyethylene glycol (PEG)
14

15        and dimethicone, where the PEG portion is created through a process called ethoxylation,

16        which involves the addition of ethylene oxide to a base molecule (in this case, dimethicone).

17     aaa.       PEG-10 Isostearate is an ethoxylated ingredient. It's a polyethylene glycol (PEG)
18        derivative, specifically a polyethylene glycol ester of Isostearic Acid, indicating it's been
19
          created through the process of ethoxylation.
20
       bbb.       PEG-12 Dimethicone is an ethoxylated ingredient. The "PEG" in its name stands
21
          for polyethylene glycol, which is a type of polyether compound created through the process
22

23        of ethoxylation. This process involves adding ethylene oxide to other molecules, in this case,

24        to a dimethicone base.

25     ccc.       PEG-12 Dimethicone/PPG-20 is considered an ethoxylated ingredient because it
26
          contains PEG (polyethylene glycol), which is a type of ethoxylated compound. The "PEG-
27

28

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 1        12" part of the name indicates that it is a polyethylene glycol derivative with a specific

 2        average number of ethylene oxide units.
 3
       ddd.        PEG-10 Phytosterol is an ethoxylated ingredient. It's specifically a polyethylene
 4
          glycol (PEG) derivative of phytosterols, meaning it's created by attaching ethylene oxide
 5
          (EO) to phytosterols (plant sterols).
 6
       eee.        PEG-10 Rapeseed Sterol is an ethoxylated ingredient. Ethoxylated ingredients are
 7

 8        chemicals that contain polyethylene glycol (PEG) and ethylene oxide.

 9     fff. PEG-20 Glyceryl Laurate is an ethoxylated ingredient. It's a polyethylene glycol (PEG)
10        ether of Glyceryl Laurate, meaning it's been modified through the process of ethoxylation,
11
          where ethylene oxide is added to the base molecule (in this case, Glyceryl Laurate).
12
       ggg.        PEG-20 is an ethoxylated ingredient. It stands for polyethylene glycol with a
13
          specific molecular weight, and the "PEG" itself indicates it's derived through the process of
14

15        ethoxylation, where ethylene oxide is added to a base molecule.

16     hhh.        PEG-20 Glyceryl Triisostearate is an ethoxylated ingredient because it contains

17        polyethylene glycol (PEG), which is a type of polyether formed through the ethoxylation
18        process (adding ethylene oxide to a molecule).
19
       iii. PEG-30 Dipolyhydroxystearate is an ethoxylated ingredient. It's specifically a
20
          polyethylene glycol (PEG) derivative, meaning it's created through a process called
21
          ethoxylation, where ethylene oxide is added to a fatty acid (in this case, dipolyhydroxystearic
22

23        acid).

24     jjj. PEG-30 Stearate is an ethoxylated ingredient. It's a blend of polyethylene glycol (PEG) and

25        stearic acid, and PEG itself is produced through a process called ethoxylation, where
26
          ethylene oxide is added to other chemicals.
27

28

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 1     kkk.       PEG-32 is an ethoxylated ingredient.           It is a derivative resulting from the

 2        ethoxylation of polyethylene glycol with moles of ethylene oxide.
 3
       lll. PEG-40 Hydrogenated Castor Oil is an ethoxylated ingredient. It's created by ethoxylating
 4
          (adding an average of 40 moles of ethylene oxide to) hydrogenated castor oil.
 5
       mmm.       PEG-40 Stearate is an ethoxylated ingredient. It's specifically created through the
 6
          ethoxylation process, where ethylene oxide is reacted with stearic acid (a fatty acid) to create
 7

 8        the polyethylene glycol (PEG) derivative.

 9     nnn.       PEG-60 Almond Glycerides is an ethoxylated ingredient. Ethoxylated ingredients
10        contain ethylene glycol, which is identified by the prefix "PEG" (polyethylene glycol).
11
       ooo.       PEG-60 Hydrogenated Castor Oil is an ethoxylated ingredient. It's created by
12
          ethoxylating (adding an average of 60 moles of ethylene oxide to) hydrogenated castor oil.
13
       ppp.       PEG-75 Stearate is an ethoxylated ingredient used in cosmetics and personal care
14

15        products, specifically as an emulsifier, surfactant, and conditioning agent. It's essentially a

16        blend of polyethylene glycol (PEG) and stearic acid, creating a compound that helps to blend

17        oil and water in products, improve texture, and provide cleansing and moisturizing benefits.
18     qqq.       PEG-80 Sorbitan Laurate is an ethoxylated ingredient. It's specifically an
19
          ethoxylated sorbitan ester of lauric acid, meaning it's created by attaching polyethylene
20
          glycol (PEG) chains to sorbitan laurate through a process called ethoxylation.
21
       rrr. PEG-90 is an ethoxylated ingredient. It's a type of polyethylene glycol (PEG), which is
22

23        created through a process called ethoxylation, where ethylene oxide is added to a base

24        molecule (in this case, it's often a base like glycerol or a fatty alcohol).

25     sss. PEG-90m is an ethoxylated ingredient. It's a type of polyethylene glycol (PEG), which is
26
          created through the process of ethoxylation, where ethylene oxide is reacted with water or
27
          other compounds.
28

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 1     ttt. PEG-100 Stearate is an ethoxylated ingredient. It's specifically a polyethylene glycol

 2        (PEG) ester of stearic acid, meaning it's created through the process of ethoxylation, where
 3
          ethylene oxide is added to stearic acid.
 4
       uuu.      PEG-120 Methyl Glucose Dioleate is an ethoxylated ingredient. It's specifically
 5
          described as the polyethylene glycol ether of the diester of methylglucose and oleic acid,
 6
          meaning it's been modified through the addition of ethylene oxide (ethoxylation).
 7

 8     vvv.      PEG-150 is an ethoxylated ingredient. It's specifically a polyethylene glycol (PEG)

 9        derivative, meaning it's created through a process called ethoxylation, where ethylene oxide
10        is added to another molecule (in this case, often a fatty acid like stearic acid).
11
       www.      PEG-150 Distearate is an ethoxylated ingredient. It's a polyethylene glycol (PEG)
12
          diester of stearic acid, meaning it's created by reacting stearic acid with polyethylene glycol
13
          (which is itself made by adding ethylene oxide to water).
14

15     xxx.      PEG-150 Pentaerythrityl Tetrastearate is an ethoxylated ingredient. It is produced

16        by reacting pentaerythritol with ethylene oxide (ethoxylation) and then esterifying the

17        resulting ethoxylated pentaerythritol with stearic acid.
18     yyy.      PEG 200 Hydrogenated Glyceryl Palmate is an ethoxylated ingredient. It is a
19
          polyethylene glycol (PEG) derivative, specifically meaning it's created by reacting
20
          hydrogenated glyceryl palmate (derived from palm oil) with ethylene oxide, a process called
21
          ethoxylation.
22

23     zzz.      PEG/PPG-18/18 Dimethicone is an ethoxylated ingredient. It’s a silicone polymer

24        made from polyethylene glycol, polypropylene glycol, and dimethicone. It's an ethoxylated

25        and propoxylated silicone emulsifier.
26
       aaaa.     PEG/PPG/Polybutylene Glycol-8/5/3 Glycerin is an ethoxylated ingredient. It
27
          specifically indicates that glycerin has been ethoxylated (meaning ethylene oxide has been
28

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 1         added to it), as well as propoxylated (propylene oxide added) and reacted with polybutylene

 2         glycol.
 3
       bbbb.         Phenoxyethanol is an ethoxylated ingredient, meaning it’s produced through a
 4
           process involving ethylene oxide. It may contain carcinogenic byproducts 1,4-dioxane and
 5
           ethylene oxide.
 6
       cccc.         Poly C10-30 Alkyl Acrylate is an acrylate ingredient. It's a polymer derived from
 7

 8         acrylic acid and specifically, it's a type of acrylate polymer created by combining acrylic

 9         acid with C10-30 alkyl esters.
10     dddd.         Polyacrylate-33 is an acrylate ingredient. It's a type of polymer or copolymer based
11
           on acrylic acid and potentially other monomers, making it part of the broader family of
12
           acrylate materials. The production of Polyacrylate-33 involves a process known as
13
           polymerization, where monomers (small, single molecules) of acrylate compounds are
14

15         chemically bonded together to form a large, chain-like molecule.

16     eeee.         Polyethylene is an ethoxylated ingredient. It's created through a process called

17         ethoxylation, where ethylene oxide is added to a substrate (in this case, often water or other
18         alcohols).
19
       ffff.         Polymethyl Methacrylate is an acrylate, specifically a type of acrylic resin, and is
20
           often referred to as "acrylic." It is a polymer derived from the monomer methyl methacrylate
21
           (MMA), which is a key component in the family of acrylic resins.
22

23     gggg.         Polyphosphorylcholine Glycol Acrylate is an acrylate ingredient. It contains

24         "acrylate" in its name, indicating it's a polymer or copolymer derived from acrylic acid or its

25         esters. This ingredient is a polymer, meaning it's a large molecule made up of repeating
26
           smaller units (monomers). In this case, the monomers are related to acrylate and
27
           phosphorylcholine, which are incorporated into a glycol backbone.
28

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 1     hhhh.      Polysorbate 20 is an ethoxylated ingredient. It's specifically formed by the

 2        ethoxylation of sorbitan monolaurate, meaning it involves the addition of ethylene oxide to
 3
          sorbitan monolaurate.
 4
       iiii. Polysorbate 40 is an ethoxylated ingredient. It's derived from sorbitan, a derivative of
 5
          sorbitol, that's esterified with palmitic acid and then ethoxylated (meaning it's reacted with
 6
          ethylene oxide).
 7

 8     jjjj. Polysorbate 60 is an ethoxylated ingredient. It's produced through a process called

 9        ethoxylation, where ethylene oxide is added to sorbitan (a derivative of sorbitol) before being
10        esterified with fatty acids.
11
       kkkk.      Polysorbate 80 is an ethoxylated ingredient. It's specifically created through a
12
          process called ethoxylation, where sorbitan is reacted with ethylene oxide to create a
13
          polyether chain (also known as polyoxyethylene or PEG) attached to the sorbitan molecule.
14

15     llll. Polystyrene contains styrene. Styrene is the main component of polystyrene. Polystyrene

16        is a homopolymer made up of styrene units.

17     mmmm.      PPG-5-Ceteth-20 is an ethoxylated ingredient. It's specifically a polyoxypropylene,
18        polyoxyethylene ether of cetyl alcohol, meaning it's created through the ethoxylation process
19
          where ethylene oxide is added to cetyl alcohol (a fatty alcohol).
20
       nnnn.      PPG-15 Stearyl Ether is considered an ethoxylated ingredient because it's a
21
          polypropylene glycol (PPG) ether, which means it is derived from the reaction of stearyl
22

23        alcohol with propylene oxide (a type of alkylene oxide).

24     oooo.      PPG-26-Buteth-26 is considered an ethoxylated ingredient because it contains a

25        polyoxyethylene component (indicated by "Buteth") which is derived from ethylene oxide.
26
27

28

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 1     pppp.      Propylene Glycol (PEG) is an ethoxylated ingredient. It is produced through a

 2         process called ethoxylation, where ethylene oxide is added to other molecules like alcohols
 3
           or phenols.
 4
       qqqq.      Sodium Acrylate/Sodium Acryloyldimethyl Taurate Copolymer is an acrylate
 5
           ingredient. It's a synthetic polymer made from sodium acrylate and other acrylate
 6
           monomers.
 7

 8     rrrr.      Sodium Benzotriazolyl Butylphenol Sulfonate is considered a type of

 9         alkylphenol because it contains a "butylphenol" component, which is a specific type of
10         alkylphenol where the alkyl group is butyl (a four-carbon chain) attached to a phenol
11
           molecule; essentially, it's a derivative of alkylphenols. "Sodium..." refers to a sodium salt.
12
           "Butyl" normally refers to butanol (1-butanol or n-butanol) as an alcoholic component or
13
           generally a saturated hydrocarbon chain with 4 carbon atoms. This ingredient contains
14

15         phenol (hydroxybenzene) as alcoholic component. Sulfonates are salts or esters of sulphonic

16         acids (alkane sulfonic acids, alkyl sulphuric acids; aromatic sulfonic acids).

17     ssss.      Sodium Polyacrylate Starch is an acylate ingredient because it's a polymer of
18         sodium acrylate grafted onto starch.
19
       tttt. Sodium Polyacrylate is an acrylate ingredient. It's a polymer made up of chains of acrylate
20
           compounds.
21
       uuuu.      Sodium Polystyrene Sulfonate contains styrene. It is a polymer made from 4-
22

23         styrene sulfonate monomers.

24     vvvv.      Sodium Trideceth Sulfate is an ethoxylated ingredient. It's specifically the sodium

25         salt of sulfated ethoxylated tridecyl alcohol, meaning it's created through a process called
26
           ethoxylation where ethylene oxide is added to tridecyl alcohol.
27

28

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 1      wwww.      Streareth-2 is considered an ethoxylated ingredient, meaning it is derived from a

 2          fatty alcohol (stearyl alcohol) that has been reacted with ethylene oxide to create a
 3
            polyethylene glycol chain, making it a surfactant with emulsifying properties; the "2" in
 4
            Steareth-2 indicates the degree of ethoxylation, meaning it has a relatively short ethylene
 5
            oxide chain attached to the molecule.
 6
        xxxx.      Steareth-10 is an ethoxylated ingredient; it is a polyethylene glycol ether of stearyl
 7

 8          alcohol, meaning it is derived from stearyl alcohol that has been reacted with ethylene oxide,

 9          making it an ethoxylated compound.
10      yyyy.      Steareth-20 is an ethoxylated ingredient, meaning it is created through a chemical
11
            process called ethoxylation where ethylene oxide is added to a fatty alcohol (in this case,
12
            stearyl alcohol) to produce a surfactant with emulsifying properties.
13
        zzzz.      Steareth-21 is an ethoxylated ingredient; it is a surfactant made by combining stearyl
14

15          alcohol with ethylene oxide, which is the process of ethoxylation, and the "21" indicates the

16          average number of ethylene oxide units added to the molecule.

17      aaaaa.     Styrene/Acrylates Copolymer contains styrene. It is a synthetic polymer made of
18          styrene and acrylate monomers.
19
            70.    No product represented as made with “Clean Ingredients” that excludes ingredients
20
     on Ulta Beauty’s “Made Without List™” as part of the “Conscious Beauty® at Ulta Beauty®”
21
     program should contain any of these ingredients that are prohibited by Ulta Beauty’s “Made Without
22

23 List™.” And yet, the Ulta Products contain the following, non-exhaustive, list of ingredients that

24 are prohibited by Ulta Beauty’s “Made Without List™”:

25
                          Product                                 Ingredients Prohibited by
26                                                              Ulta’s “Made Without List™”
27    af94 - Acid Patch Salicylic Acid Pimple            Laureth-7
      Patches | Ulta Beauty                              Phenoxyethanol
28

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                                                53
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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3   af94 - Talkback Pout Pleaser Lip Mask | Ulta    Hydrogenated Styrene/Isoprene Copolymer
     Beauty                                          Phenoxyethanol
 4
     Aveeno - 1.7 oz Calm + Restore Oat Gel          Phenoxyethanol
 5   Moisturizer | Ulta Beauty                       Laureth-7
     Aveeno - Calm + Restore Age Renewal Eye         Laureth-7
 6   Gel for Sensitive Skin, Fragrance Free | Ulta   Sodium Polyacrylate
 7   Beauty
     Aveeno - Calm + Restore Age Renewal             Laureth-7
 8   Serum for Sensitive Skin, Fragrance Free |
     Ulta Beauty
 9
     Aveeno - Calm + Restore Daily Moisturizer       PEG-100 Stearate
10   Mineral Sunscreen with Broad Spectrum SPF       Phenoxyethanol
     30 | Ulta Beauty                                Aluminum Hydroxide
11   Aveeno - Calm + Restore Makeup Remover          PEG-6 Caprylic/Capric Glycerides
12   Wipes | Ulta Beauty                             Polysorbate 20
                                                     Acrylates/C10-30 Alkyl Acrylate
13                                                   Crosspolymer
     Aveeno - Calm + Restore Nourishing Oat          Polysorbate 20
14
     Facial Cleanser | Ulta Beauty                   Acrylates/C10-30 Alkyl Acrylate
15                                                   Crosspolymer
                                                     Phenoxyethanol
16                                                   Sodium Polyacrylate
17   Aveeno - Calm + Restore Redness Relief          Sodium Polyacrylate
     Cream, Face Moisturizer | Ulta Beauty           Phenoxyethanol
18                                                   Laureth-7
     Aveeno - Calm + Restore Triple Oat Serum |      Phenoxyethanol
19
     Ulta Beauty                                     Acrylates/C10-30 Alkyl Acrylate
20                                                   Crosspolymer
     Avène - 6.7 oz (tube) Cleanance Cleansing       Ceteareth-60 Myristyl Glycol
21   Gel | Ulta Beauty                               PEG-7 Glyceryl Cocoate
22                                                   Polysorbate 20
                                                     PEG-6
23                                                   PPG-26-Buteth-26
     Avène - Cicalfate HANDS Restorative Hand        Aluminum Sucrose Octasulfate
24
     Cream | Ulta Beauty                             PEG-7 Glyceryl Cocoate
25                                                   Aluminum Starch Octenylsuccinate
                                                     Phenoxyethanol
26   Avène - Cicalfate LIPS Restorative Lip          Aluminum Sucrose Octasulfate
27   Cream | Ulta Beauty
     Avène - CleananceHYDRA Soothing Cream |         Acrylates/C10-30 Alkyl Acrylate
28   Ulta Beauty                                     Crosspolymer

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   Avène - Honey Mineral Tinted Compact SPF        Polyethylene
     50 | Ulta Beauty                                Polymethyl Methacrylate
 4
                                                     Phenoxyethanol
 5   Avène - Hydrance LIGHT Emulsion | Ulta          Propylene Glycol
     Beauty                                          Acrylates/C10-30 Alkyl Acrylate
 6                                                   Crosspolymer Polysorbate 60
 7   Avène - Hydrance RICH Hydrating Cream |         PEG-100 Stearate
     Ulta Beauty                                     Polysorbate 20
 8   Avène - Retrinal Eye Cream | Ulta Beauty        Aluminum Starch Octenylsuccinate
                                                     PEG-100 Stearate
 9
                                                     Ceteareth-33
10   Avène - RICH Revitalizing Nourishing            Polysorbate 20
     Cream | Ulta Beauty
11   Avène - Soothing Eye Contour Cream | Ulta       PEG-12
12   Beauty
     Bali Body - Dark Instant Tan Cream | Ulta       Laureth-7
13   Beauty                                          Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer Phenoxyethanol
14
     Bali Body - Everyday Gradual Tan Body           Phenoxyethanol
15   Moisturizer | Ulta Beauty
     Bali Body - Hydrating Face Self Tan Mist        Polysorbate 20
16   Ultra Dark | Ulta Beauty                        Phenoxyethanol
17   Bali Body - Illuminating Bronzing Serum |       Phenoxyethanol
     Ulta Beauty                                     Acrylates/C10-30 Alkyl Acrylate
18                                                   Crosspolymer
19   Bali Body - Light Medium Instant Airbrush       Propylene Glycol
     Tan Wash Off | Ulta Beauty                      Phenoxyethanol
20   Bali Body - Natural Tinted Bronzing Super       Lauryl Peg-9 Polydimethylsiloxyethyl
     Serum SPF 30 | Ulta Beauty                      Dimethicone
21
                                                     PEG/PPG-18/18 Dimethicone
22                                                   Phenoxyethanol
     Bali Body - No Transfer Self Tan Light to       Phenoxyethanol
23   Dark Body Mist | Ulta Beauty
24   Bali Body - Self Tanning Body Milk | Ulta       PEG-40 Hydrogenated Castor Oil
     Beauty                                          Phenoxyethanol
25   Bali Body - Tinted Hydrating Self Tan Body      Phenoxyethanol
     Serum Dark | Ulta Beauty                        Ceteareth-20
26
     Bali Body - Ultra Dark Express Aerated Self     Propylene Glycol
27   Tan Foam | Ulta Beauty                          PEG-60 Hydrogenated Castor Oil
                                                     Polysorbate 20
28                                                   Phenoxyethanol

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   Banila Co - Clean it Zero Enriching Butter      Aluminum Hydroxide
     Cleansing Balm | Ulta Beauty
 4
     Banila Co - Clean It Zero Firming Cleansing     PEG-20 Glyceryl Triisostearate
 5   Balm | Ulta Beauty                              PEG-10 Isostearate
                                                     Phenoxyethanol
 6   bareMinerals - 1.7 oz SKINLONGEVITY             Acrylates/C10-30 Alkyl Acrylate
 7   Long Life Herb Serum | Ulta Beauty              Crosspolymer
                                                     Polysorbate 20
 8                                                   Phenoxyethanol
     bareMinerals - Ageless 10% Phyto                Phenoxyethanol
 9
     ProCollagen Firming Anti-Age Cream | Ulta
10   Beauty
     bareMinerals - Ageless 10% Phyto                Acrylates/C10-30 Alkyl Acrylate
11   ProCollagen Firming Sleeping Mask | Ulta        Crosspolymer
12   Beauty                                          Polysorbate 60
                                                     Phenoxyethanol.
13   bareMinerals - AGELESS Phyto-AHA                Polysorbate 60
     Radiance Facial | Ulta Beauty                   Phenoxyethanol
14
     bareMinerals - Ageless Phyto-Retinol Eye        Polysorbate 20
15   Cream | Ulta Beauty                             Phenoxyethanol
     bareMinerals - Ageless Phyto-Retinol Face       Polysorbate 20
16   Cream | Ulta Beauty                             Phenoxyethanol
17   bareMinerals - Buttercream 03                   Polysorbate 60
     COMPLEXION RESCUE Tinted Moisturizer            Phenoxyethanol
18   Mineral SPF 30 | Ulta Beauty
     bareMinerals - Cinnamon COMPLEXION              Polysorbate 60
19
     RESCUE Natural Matte Tinted Moisturizer         Aluminum Hydroxide
20   Mineral SPF 30 | Ulta Beauty                    Phenoxyethanol
     bareMinerals - Mini SKINLONGEVITY               Acrylates/C10-30 Alkyl Acrylate
21   Long Life Herb Serum | Ulta Beauty              Crosspolymer
22                                                   Polysorbate 20
                                                     Phenoxyethanol
23   bareMinerals - Opal 01 Mini COMPLEXION          Polysorbate 60
     RESCUE Tinted Moisturizer Mineral SPF 30        Phenoxyethanol
24
     | Ulta Beauty
25   bareMinerals - Poreless Clay Cleanser | Ulta   PEG-32
     Beauty                                         PEG-6
26                                                  Phenoxyethanol
27   bareMinerals - Poreless Oil-Free Moisturizer | Phenoxyethanol
     Ulta Beauty
28

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   bareMinerals - Pure Plush Gentle Deep           PEG-8
     Cleansing Foam | Ulta Beauty                    Sodium Polyacrylate Starch
 4
                                                     Phenoxyethanol
 5   bareMinerals - Pureness Gel Cleanser | Ulta     Phenoxyethanol
     Beauty
 6   bareMinerals - SKIN RESCUE Pure Glow            Acrylates/C10-30 Alkyl Acrylate
 7   Serum with 10% Vitamin C Complex and            Crosspolymer
     Rainbow Seaweed | Ulta Beauty                   Sodium Benzotriazolyl Butylphenol Sulfonate
 8                                                   Phenoxyethanol
     bareMinerals - SKIN RESCUE Pure Moisture        Phenoxyethanol
 9
     Serum with 1% PGA and Plant Algae | Ulta
10   Beauty
     bareMinerals - SKINLONGEVITY Long Life          Acrylates/C10-30 Alkyl Acrylate
11   Herb Eye Treatment | Ulta Beauty                Crosspolymer
12                                                   Sodium Polyacrylate
                                                     Phenoxyethanol
13   bareMinerals - SKINLONGEVITY Long Life          Phenoxyethanol
     Herb Night Treatment | Ulta Beauty
14
     bareMinerals - Skinlongevity Phyto-Vitamin      Phenoxyethanol
15   C Brightening Moisturizer Mineral SPF 30 |
     Ulta Beauty
16   bareMinerals - SMOOTHNESS Bare Haven            Polysorbate 60
17   Soft Moisturizer | Ulta Beauty                  Polysorbate 20
                                                     Phenoxyethanol
18   bareMinerals - SMOOTHNESS Hydrating             Phenoxyethanol
     Cleansing Oil | Ulta Beauty
19
     BeautyBio - Bright Eyes Depuffing and           Propylene Glycol
20   Brightening Eye Gels | Ulta Beauty              Phenoxyethanol
     BeautyBio - Bronzing Blendrops SPF 46           Phenoxyethanol
21   Priming Drops | Ulta Beauty
22   BeautyBio - Clarifying Booster - Salicylic      Polyphosphorylcholine Glycol Acrylate
     Acid Treatment Serum | Ulta Beauty              Sodium Polyacrylate
23                                                   Phenoxyethanol
24   BeautyBio - Eye Want It All Face + Eye          PEG-100 Stearate
     Rejuvenation Set | Ulta Beauty                  Phenoxyethanol, Sodium Polyacrylate
25                                                   Steareth-20
                                                     Steareth-10
26
     BeautyBio - Get That Glow GloPRO Facial         Disodium Laureth Sulfosuccinate
27   Microneedling Discovery Set | Ulta Beauty       Phenoxyethanol

28

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 1
                       Product                              Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3   BeautyBio - GloPRO Skin Prep Pads             Polysorbate 60
     Clarifying Skin Cleansing Wipes with          Polysorbate 80
 4
     Peptides | Ulta Beauty
 5   BeautyBio - Plumping Booster Hyaluronic       Phenoxyethanol
     Acid Supercharged Complex | Ulta Beauty
 6   BeautyBio - R45 The Reversal 3-Phase          Acrylates/C10-30 Alkyl Acrylate
 7   Retinol Booster System | Ulta Beauty          Crosspolymer
                                                   Phenoxyethanol
 8   BeautyBio - The Balance pH Balancing Gel      Disodium Laureth Sulfosuccinate
     Cleanser | Ulta Beauty                        Phenoxyethanol
 9
     BeautyBio - The Daily Acid-Free Vitamin C     Phenoxyethanol
10   Brightening Serum | Ulta Beauty
     BeautyBio - The Nightly Retinol Repair        PEG-40 Hydrogenated Castor Oil
11   Serum | Ulta Beauty
12   BeautyBio - The Pout Sparkling Rosé           Ethylene/propylene/styrene Copolymer
     Volumizing Lip Serum | Ulta Beauty            Butylene/ethylene/styrene Copolymer
13                                                 Phenoxyethanol
     BeautyBio - The Quench Eye Pro-Strength       PEG-100 Stearate
14
     Brightening Balm | Ulta Beauty                Steareth-10
15                                                 Steareth-20
                                                   Sodium Polyacrylate
16                                                 Phenoxyethanol
17   BeautyBio - The Quench Rapid Recovery         Lauryl Peg-9 Polydimethylsiloxyethyl
     Face Cream | Ulta Beauty                      Dimethicone
18                                                 PEG/PPG-18/18 Dimethicone
                                                   PEG-10 Dimethicone
19
                                                   Phenoxyethanol
20   BeautyBio - The Sculptor Firming Body         Polysorbate 60
     Cream | Ulta Beauty                           Phenoxyethanol
21   BeautyBio - The ZenBubble Oil-Free            Phenoxyethanol
22   Calming Gel Cream | Ulta Beauty
     BeautyBio - ZenBubble Bi-Phase Toner          Phenoxyethanol
23   Serum | Ulta Beauty
24   Beautycounter - No 8 Dew Skin Tinted          Phenoxyethanol
     Moisturizer | Ulta Beauty
25   BeautyStat Cosmetics - 1.0 oz Probiotic       Acrylates/C10-30 Alkyl Acrylate
     24HR Moisture Boost Cream Moisturizer |       Crosspolymer
26
     Ulta Beauty                                   Laureth-7
27                                                 Phenoxyethanol
     Beekman 1802 - Potato Peel Rapid              Polysorbate 20
28   Resurfacing Milk Facial | Ulta Beauty

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   Beekman 1802 - Pure Goat Milk Bodycare          Phenoxyethanol
     Gift Set | Ulta Beauty                          Steareth-21
 4
                                                     Polysorbate 20
 5                                                   Phenoxyethanol
                                                     Polysorbate 60
 6   Beekman 1802 - Pure Goat Milk Facial            Polysorbate 20
 7   Cleansing Wipes | Ulta Beauty                   Phenoxyethanol
     Beekman 1802 - Travel Size Potato Peel          Polysorbate 20
 8   Rapid Resurfacing Milk Facial | Ulta Beauty
     belif - Moisturizing Eye Bomb Eye Cream |       PEG-100 Stearate
 9
     Ulta Beauty                                     Polysorbate 60
10                                                   Polysorbate 20
     belif - The True Cream - Aqua Bomb              PEG-150
11   Hydrating Moisturizer | Ulta Beauty             PEG-40 Hydrogenated Castor Oil
12                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
13                                                   Polysorbate 60
                                                     PEG-100 Stearate
14
     belif - Travel Size The True Cream Aqua         PEG-150
15   Bomb Hydrating Moisturizer | Ulta Beauty        PEG-40 Hydrogenated Castor Oil
                                                     Acrylates/C10-30 Alkyl Acrylate
16                                                   Crosspolymer
17                                                   Polysorbate 60
                                                     PEG-100 Stearate
18   Benefit Cosmetics - The POREfessional           Polysorbate 60
     Speedy Smooth Pore Mask | Ulta Beauty
19
     Black Girl Sunscreen - Fragrance Free           Acrylates/C10-30 Alkyl Acrylate
20   Moisturizing Sunscreen Lotion SPF 30 | Ulta     Crosspolymer
     Beauty                                          Acrylates/C12-22 Alkyl Methacrylate
21                                                   Copolymer
22                                                   Phenoxyethanol
                                                     Propylene Glycol
23   Black Girl Sunscreen - Kids Moisturizing        Acrlates/C10-30 Alkyl Acryate Crosspolmer
     Broad Spectrum SPF 50 | Ulta Beauty             Acrylates/C12-22 Alkyl Methacrylate
24
                                                     Copolymer
25                                                   Phenoxyethanol
                                                     Propylene Glycol
26   Bliss - Disappearing Act Niacinamide PC +       PEG-40 Hydrogenated Castor Oil
27   Pore Vanish Micro Purifying Toner | Ulta        Polysorbate 20
     Beauty                                          PEG-40 Hydrogenated Castor Oil
28                                                   Polysorbate 20

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 1
                        Product                                 Ingredients Prohibited by
 2                                                            Ulta’s “Made Without List™”
 3                                                     Phenoxyethanol
                                                       PEG-40 Hydrogenated Castor Oil
 4
                                                       Polysorbate 20
 5                                                     Phenoxyethanol
     Bliss - Rest Assured Dark Circle Reducing &       Sodium Polyacrylate
 6   Depuffing Eye Cream | Ulta Beauty                 Phenoxyethanol
 7   Bliss - Skin Euphoria All-In-One Perfecting       Polysorbate 60
     Daily Serum | Ulta Beauty                         Phenoxyethanol
 8   BLUME - Milky Fade Spot and Scar Serum |          Phenoxyethanol
     Ulta Beauty
 9
     Bubble - 1.7 oz Slam Dunk Hydrating               Acrylates/C10-30 Alkyl Acrylate
10   Moisturizer | Ulta Beauty                         Crosspolymer
                                                       Phenoxyethanol.
11   Bubble - 4.2 oz Fresh Start Gel Cleanser |        Acrylates/Steareth-20 Methacrylate
12   Ulta Beauty                                       Copolymer
                                                       Phenoxyethanol
13   Bubble - Cloud Surf Water Cream                   Phenoxyethanol
     Moisturizer | Ulta Beauty
14
     Bubble - Inside Out 2: Day Dream Tone and         Sodium Polyacrylate
15   Texture Serum | Ulta Beauty                       Phenoxyethanol
     Bubble - Magic Melt Micellar Milk | Ulta          Phenoxyethanol
16   Beauty
17   Bubble - Rise and Shine Brightening Kit |         Acrylates/Steareth-20 Methacrylate
     Ulta Beauty                                       Copolymer
18                                                     Phenoxyethanol
19   Bubble - Super Cuties Trial Kit | Ulta Beauty     Day Dream: Sodium Polyacrylate,
                                                       Phenoxyethanol
20
                                                       Fresh Start: Acrylates/Steareth-20
21                                                     Methacrylate Copolymer, Phenoxyethanol
22
                                                       Slam Dunk: Acrylates/C10-30 Alkyl Acrylate
23                                                     Crosspolymer, Phenoxyethanol
24
                                                       Cloud Surf: Phenoxyethanol
25
                                                       Over Night: Phenoxyethanol
26
27                                                     Morning Rays: Phenoxyethanol

28

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   Bubble - Water Slide Hydration Boosting         Acrylates/C10-30 Alkyl Acrylate
     Serum Hyaluronic Acid + Peptides | Ulta         Crosspolymer
 4
     Beauty                                          Phenoxyethanol
 5   Bushbalm - Curve Firming Cream | Ulta           Sodium Polyacrylate
     Beauty                                          Phenoxyethanol
 6   Buttah Skin - AHA/BHA Rosewater Toner |         Polysorbate 20
 7   Ulta Beauty                                     Phenoxyethanol
     Buttah Skin - Body Trio Kit Black Gold | Ulta   BODY WASH: Polysorbate 60, Laureth-3,
 8   Beauty                                          Phenoxyethanol
     Buttah Skin - Body Trio Kit Oatmeal | Ulta      OATMEAL COCOSHEA CLEANSING
 9
     Beauty                                          BAR: Propylene Glycol
10
                                                  BODY WASH: Polysorbate 60, Laureth-3,
11                                                Phenoxyethanol
12   Buttah Skin - Charcoal Detox Mask | Ulta     Acrylates/C10-30 Alkyl Acrylate
     Beauty                                       Crosspolymer
13                                                Phenoxyethanol
     Buttah Skin - Cleanser | Ulta Beauty         Disodium Laureth Sulfosuccinate
14
                                                  Phenoxyethanol
15   Buttah Skin - CocoShea Revitalizing Cream | Polysorbate 60
     Ulta Beauty                                  Laureth-3
16                                                Steareth-2
17                                                Steareth-21
                                                  Steareth-21
18                                                Polysorbate 20
                                                  PEG/PPG-18/18 Dimethicone
19
                                                  Phenoxyethanol
20   Buttah Skin - Oil Free Gel-Cream Moisturizer Propylene Glycol
     | Ulta Beauty                                Polysorbate 20
21                                                Phenoxyethanol
22   Buttah Skin - Skin Transforming Cocoshea 3 BUTTAH SKIN CLEANSER: Disodium
     Piece Kit | Ulta Beauty                      Laureth Sulfosuccinate, Phenoxyethanol
23
                                                     BUTTAH SKIN VITAMIN C SERUM:
24
                                                     Polysorbate 20, Propylene Glycol,
25                                                   Phenoxyethanol, PEG/PPG-18/18
                                                     Dimethicone, Laureth-23
26
27                                                   COCOSHEA REVITALIZING CREAM:
                                                     Polysorbate 60, Laureth-3, Steareth-2,
28                                                   Steareth-21, Steareth-21, Polysorbate 20,

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 1
                       Product                                 Ingredients Prohibited by
 2                                                           Ulta’s “Made Without List™”
 3                                                    PEG/PPG-18/18 Dimethicone,
                                                      Phenoxyethanol
 4
     Buttah Skin - Skin Transforming Kit with         BUTTAH SKIN CLEANSER: Disodium
 5   Facial Shea Butter | Ulta Beauty                 Laureth Sulfosuccinate, Phenoxyethanol

 6                                                    BUTTAH SKIN VITAMIN C SERUM:
 7                                                    Polysorbate 20, Propylene Glycol,
                                                      Phenoxyethanol, PEG/PPG-18/18
 8                                                    Dimethicone, Laureth-23
     Buttah Skin - Vibe and Cleanse 2 Piece Kit |     BUTTAH SKIN CLEANSER: Disodium
 9
     Ulta Beauty                                      Laureth Sulfosuccinate, Phenoxyethanol
10   Buttah Skin - Vitamin C Serum | Ulta Beauty      Polysorbate 20
                                                      Propylene Glycol
11                                                    Phenoxyethanol, PEG/PPG-18/18
12                                                    Dimethicone
                                                      Laureth-23
13   BYOMA - Moisturizing Gel Cream SPF30 |           Poly C10-30 Alkyl Acrylate
     Ulta Beauty
14
     CeraVe - Acne Foaming Cream Cleanser with        Propylene Glycol
15   4% BPO for Acne Prone Skin | Ulta Beauty         Phenoxyethanol
     CeraVe - Alcohol-Free No Rinse Hydrating         Phenoxyethanol
16   Facial Toner for Sensitive & Dry Skin | Ulta
17   Beauty
     CeraVe - Hydrating Foaming Oil Cleanser,         PEG-200 Hydrogenated Glyceryl Palmate
18   Water-Based Face Wash for Dry Skin | Ulta        PEG-120 Methyl Glucose Dioleate
     Beauty                                           Polysorbate 20
19
                                                      PEG-7 Glyceryl Cocoate
20                                                    PEG-150 Pentaerythrityl Tetrastearate
                                                      PEG-6 Caprylic/Capric Glycerides.
21   CeraVe - Makeup Removing Cleansing Balm          Polyethylene
22   with Jojoba Oil for All Skin Types | Ulta        PEG-20 Glyceryl Triisostearate
     Beauty                                           Polysorbate 20
23                                                    PEG-30 Dipolyhydroxystearate
                                                      PPG-26-Buteth-26
24
                                                      EG-40 Hydrogenated Castor Oil
25   Clarins - Super Restorative Day Moisturizer |    PEG-100 Stearate
     Ulta Beauty
26   cocokind - Beginner Retinol Gel | Ulta           Phenoxyethanol
27   Beauty
     cocokind - Chlorophyll Discoloration Serum |     Phenoxyethanol
28   Ulta Beauty

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 1
                       Product                                  Ingredients Prohibited by
 2                                                            Ulta’s “Made Without List™”
 3   COSRX - 3.52 oz Advanced Snail 92 All In          Sodium Polyacrylate
     One Cream | Ulta Beauty                           Phenoxyethanol
 4
     COSRX - Advanced Snail 96 Mucin Power             Sodium Polyacrylate
 5   Essence | Ulta Beauty                             Phenoxyethanol
     COSRX - Advanced Snail Hydrogel Eye               PEG-90m
 6   Patch | Ulta Beauty
 7   COSRX - Low pH Good Morning Gel                   Polysorbate 20
     Cleanser | Ulta Beauty
 8   COSRX - The AHA BHA PHA LHA 35 Peel               Polysorbate 60
     with Vitamins B5 & B12 | Ulta Beauty
 9
     COSRX - The Snail Booster Kit | Ulta Beauty       Sodium Polyacrylate
10                                                     Phenoxyethanol.
     COSRX - Travel Size Advanced Snail 96             Sodium Polyacrylate
11   Mucin Power Essence | Ulta Beauty                 Phenoxyethanol
12   CoverGirl - Bliss You Berry Clean Fresh           Polyethylene
     Tinted Lip Balm | Ulta Beauty
13   CoverGirl - Clean Fresh Skincare Priming          Polysorbate 80
14   Glow Mist | Ulta Beauty
     DERMA E - Acne Blemish Control                    Polysorbate 20
15   Treatment Serum | Ulta Beauty                     Phenoxyethanol
     DERMA E - Acne Deep Pore Salicylic Acid           Disodium Laureth Sulfosuccinate
16
     Cleansing Wash | Ulta Beauty                      PEG-150 Distearate
17                                                     Polysorbate 20
                                                       Phenoxyethanol
18   DERMA E - Advanced Peptides and Flora-            Phenoxyethanol
19   Collagen Moisturizer | Ulta Beauty
     DERMA E - Advanced Peptides and Flora-            Phenoxyethanol
20   Collagen Night Moisturizer | Ulta Beauty
     DERMA E - Anti-Acne Oil-Control Matte             Polysorbate 60
21
     Moisturizer with Salicylic Acid | Ulta Beauty     Polysorbate 20
22                                                     Phenoxyethanol
     DERMA E - Anti-Aging Regenerative                 Phenoxyethanol
23   Retinol Serum | Ulta Beauty
24   DERMA E - Anti-Wrinkle Cleanser with              Phenoxyethanol
     Retinol | Ulta Beauty
25   DERMA E - Anti-Wrinkle Retinol                    Polysorbate 20
     Concentrated Serum | Ulta Beauty                  Phenoxyethanol
26
     DERMA E - Anti-Wrinkle Retinol Eye                Polysorbate 20
27   Treatment | Ulta Beauty                           Phenoxyethanol
     DERMA E - Anti-Wrinkle Retinol Renewal            Phenoxyethanol
28   Cream | Ulta Beauty

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 1
                      Product                               Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3   DERMA E - Anti-Wrinkle Retinol Scrub with     Polysorbate 60
     Glycolic Acid | Ulta Beauty                   Phenoxyethanol
 4
     DERMA E - Dead Sea Salt                       Phenoxyethanol
 5   Microdermabrasion Scrub | Ulta Beauty
     DERMA E - Discovery Kit On-The Glow           Phenoxyethanol
 6   Minis | Ulta Beauty
 7   DERMA E - Essentials Radiance Toner with      Polysorbate 20
     Glycolic Acid | Ulta Beauty                   Phenoxyethanol
 8   DERMA E - Hydrating Gentle Cleanser with      Disodium Laureth Sulfosuccinate
     Hyaluronic Acid | Ulta Beauty                 Phenoxyethanol
 9
     DERMA E - No-Dark-Circles Perfecting Eye      Phenoxyethanol
10   Cream | Ulta Beauty
     DERMA E - Pure Biome Balancing Eye            Polyethylene
11   Cream | Ulta Beauty                           Phenoxyethanol
12   DERMA E - Scar Gel with Pathenol and          Polysorbate 20
     Allantoin | Ulta Beauty                       Phenoxyethanol
13   DERMA E - Tea Tree Oil Scalp Relief           Phenoxyethanol
14   Treatment | Ulta Beauty
     DERMA E - Ultra Hydrating Antioxidant         Phenoxyethanol
15   Day Cream with Hyaluronic Acid | Ulta
     Beauty
16
     DERMA E - Ultra Hydrating Hyaluronic          Phenoxyethanol
17   Acid Dewy Skin Serum | Ulta Beauty
     DERMA E - Vitamin C 10% Multi-Acid            Phenoxyethanol
18   Radiance Liquid Peel | Ulta Beauty
19   DERMA E - Vitamin C Broad Spectrum SPF        Phenoxyethanol
     45 Weightless Moisturizer | Ulta Beauty
20   DERMA E - Vitamin C Concentrated              Phenoxyethanol
     Antioxidant Serum Mini | Ulta Beauty
21
     DERMA E - Vitamin C Gentle Daily              Phenoxyethanol
22   Cleansing Paste | Ulta Beauty
     DERMA E - Vitamin C Intense Night Cream |     Phenoxyethanol
23   Ulta Beauty
24   DERMA E - Vitamin C Radiance-Boosting         Phenoxyethanol
     Renewing Moisturizer | Ulta Beauty
25   Dermalogica - 1.7 oz Dynamic Skin Recovery    Polysorbate 80
     SPF 50 Moisturizer | Ulta Beauty              Acrylates/C10-30 Alkyl Acrylate
26
                                                   Crosspolymer
27                                                 Polysorbate 60
     Dermalogica - 1.7 oz Skin Smoothing Cream     PEG-100 Stearate
28   Moisturizer | Ulta Beauty

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 1
                      Product                             Ingredients Prohibited by
 2                                                      Ulta’s “Made Without List™”
 3                                                Acrylates/C10-30 Alkyl Acrylate
                                                  Crosspolymer
 4
                                                  \Polysorbate 60
 5   Dermalogica - 3.4 oz Intensive Moisture      PEG-100 Stearate
     Balance Moisturizer | Ulta Beauty            Phenoxyethanol
 6   Dermalogica - Age Smart Reversal Eye         PEG-100 Stearate
 7   Complex | Ulta Beauty                        Steareth-20
                                                  Acrylates/C10-30 Alkyl Acrylate
 8                                                Crosspolymer
                                                  Polysorbate 20
 9
     Dermalogica - Awaken Peptide Depuffing       Laureth-12
10   Eye Gel | Ulta Beauty                        Polysorbate 20
     Dermalogica - BioLumin-C Vitamin C Eye       Acrylates/C10-30 Alkyl Acrylate
11   Serum | Ulta Beauty                          Crosspolymer, Polysorbate 20
12                                                Phenoxyethanol
     Dermalogica - Circular Hydration Serum with PEG-8
13   Hyaluronic Acid | Ulta Beauty                Polysorbate 20
                                                  Hydroxyethyl Acrylate/Sodium
14
                                                  Acryloyldimethyl Taurate Copolymer
15   Dermalogica - Circular Hydration Serum with PEG-8
     Hyaluronic Acid | Ulta Beauty                Polysorbate 20
16                                                Hydroxyethyl Acrylate/Sodium
17                                                Acryloyldimethyl Taurate Copolymer
     Dermalogica - Clear Start Blackhead Clearing Polyacrylate-33
18   Fizz Mask | Ulta Beauty                      Phenoxyethanol
     Dermalogica - Clear Start Breakout Clearing  Acrylates/Beheneth-25
19
     Foaming Wash                                 Polysorbate 20
20                                                Phenoxyethanol
     Dermalogica - Clear Start Breakout Clearing  PPG-15 Stearyl Ether
21   Booster                                      Polysorbate 20
22   Dermalogica - Clear Start Clarifying Bacne   Polysorbate 20
     Spray | Ulta Beauty                          Phenoxyethanol
23   Dermalogica - Conditioning Body Wash         Disodium Laureth Sulfosuccinate
     Eucalyptus + Lavender | Ulta Beauty          Acrylates/Beheneth-25 Methacrylate
24
                                                  Copolymer
25                                                Phenoxyethanol
     Dermalogica - Dark Spot Solutions Skincare   Laureth-21
26   Kit | Ulta Beauty                            Polysorbate 80
27                                                Acrylates/C10-30 Alkyl Acrylate
                                                  Crosspolymer
28

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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
 4
     Dermalogica - Micellar Prebiotic PreCleanse |   Polysorbate 20
 5   Ulta Beauty                                     Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
 6                                                   PEG-60 Hydrogenated Castor Oil
 7                                                   Phenoxyethanol
     Dermalogica - MultiVitamin Power Recovery       Polysorbate 20
 8   Cream | Ulta Beauty                             Laureth-23
     Dermalogica - MultiVitamin Power Recovery       PEG-100 Stearate
 9
     Mask | Ulta Beauty                              Sodium Polyacrylate
10                                                   Polysorbate 20
                                                     Propylene Glycol
11                                                   Phenoxyethanol
12   Dermalogica - MultiVitamin Power Recovery       PEG-100 Stearate
     Masque | Ulta Beauty                            Sodium Polyacrylate
13                                                   Polysorbate 20
                                                     Propylene Glycol
14
                                                     Phenoxyethanol
15   Dermalogica - MultiVitamin Thermafoliant        PEG-6
     Exfoliator Scrub | Ulta Beauty                  Olive Oil PEG-7 Esters
16   Dermalogica - Oil to Foam Total Cleanser |      PEG-60 Almond Glycerides
17   Ulta Beauty                                     PEG-40 Hydrogenated Castor Oil
                                                     PEG-120 Methyl Glucose Dioleate
18                                                   Polysorbate 20
     Dermalogica - Phyto Nature Oxygen Cream |       PEG-40 Hydrogenated Castor Oil
19
     Ulta Beauty                                     Acrylates/C10-30 Alkyl Acrylate
20                                                   Crosspolymer
                                                     Polysorbate 20
21   Dermalogica - Porescreen SPF 40 Mineral         Lauryl PEG-8 Dimethicone
22   Sunscreen with Niacinamide | Ulta Beauty        Lauryl PEG-10 Tris (Trimethylsiloxy)
                                                     silylethyl Dimethicone PEG-10
23   Dermalogica - PowerBright Dark Spot Peel |      Polysorbate 20
     Ulta Beauty
24
     Dermalogica - PowerBright Dark Spot Serum       Laureth-21
25   | Ulta Beauty
     Dermalogica - PowerBright Dark Spot             Polysorbate 20
26   System | Ulta Beauty
27   Dermalogica - Powerbright Moisturizer SPF       Polysorbate 80
     50 | Ulta Beauty                                Polysorbate 60
28

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 1
                       Product                              Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3                                                  Hydroxyethyl Acrylate/Sodium
                                                    Acryloyldimethyl Taurate Copolymer
 4

 5                                                  Phenoxyethanol
     Dermalogica - Prisma Protect SPF 30            PEG-100 Stearate
 6   Moisturizer | Ulta Beauty                      Acrylates/C10-30 Alkyl Acrylate
 7                                                  Crosspolymer
                                                    Phenoxyethanol
 8   Dermalogica - Pro-Collagen Banking Serum |     Acrylates/C10-30 Alkyl Acrylate
     Ulta Beauty                                    Crosspolymer
 9
                                                    PEG-40 Hydrogenated Castor Oil
10                                                  Ammonium
                                                    Acryloyldimethyltaurate/Beheneth-25
11                                                  Methacrylate Crosspolymer
12
                                                    Polysorbate 20
13   Dermalogica - Sensitive Skin Rescue Trio Kit   Acrylates/ C10-30 Alkyl Acrylate
     | Ulta Beauty                                  Crosspolymer
14
     Dermalogica - Sound Sleep Cocoon Night         PEG-10 Dimethicone
15   Gel-Cream | Ulta Beauty                        Phenoxyethanol.
     Dermalogica - Stress Positive Eye Lift Cream   PEG-40 Hydrogenated Castor Oil
16   | Ulta Beauty                                  PEG-100 Stearate, Acrylates/C10-30 Alkyl
17                                                  Acrylate Crosspolymer, Phenoxyethanol
     Dermalogica - Stressed Skin Recovery           PEG-100 Stearate
18   System | Ulta Beauty                           Sodium Polyacrylate
                                                    Propylene Glycol
19
                                                    Polysorbate 20
20                                                  Phenoxyethanol
     Dermalogica - Super Rich Repair Moisturizer    Lauryl Peg-9 Polydimethylsiloxyethyl
21   Cream | Ulta Beauty                            Dimethicone
22                                                  Phenoxyethanol
     Dermalogica - Travel Size Dynamic Skin         Polysorbate 80
23   Recovery SPF 50 Moisturizer | Ulta Beauty      Acrylates/C10-30 Alkyl Acrylate
                                                    Crosspolymer
24
                                                    Polysorbate 60
25                                                  Hydroxyethyl Acrylate/Sodium
                                                    Acryloyldimethyl Taurate Copolymer
26   Dermalogica - Travel Size Dynamic Skin         Hydroxyethyl Acrylate/Sodium
27   Retinol Serum | Ulta Beauty                    Acryloyldimethyl Taurate Copolymer
                                                    Polysorbate 60
28                                                  Polysorbate 20

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3                                                   Laureth-23
     Dermalogica - Travel Size Intensive Moisture    PEG-8
 4
     Balance Moisturizer | Ulta Beauty               PEG-100 Stearate
 5                                                   Phenoxyethanol
     Dermalogica - Travel Size Multi-Active          Polysorbate 20
 6   Toner Spray | Ulta Beauty                       PEG-12 Dimethicone
 7                                                   Phenoxyethanol
     Dermalogica - Travel Size Skin Smoothing        PEG-100 Stearate
 8   Cream | Ulta Beauty                             Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
 9
                                                     Polysorbate 60
10   Dermalogica - Travel Size Super Rich Repair     Lauryl Peg-9 Polydimethylsiloxyethyl
     Moisturizer Cream | Ulta Beauty                 Dimethicone
11                                                   Phenoxyethanol
12   Dermalogica - UltraCalming Serum                Polysorbate 60
     Concentrate | Ulta Beauty
13   DIME - Hyaluronic Acid Serum: Hydrating +       Phenoxyethanol
     Plumping | Ulta Beauty
14
     DIME - Luminosity Eye Serum: Cucumber +         Phenoxyethanol
15   Peptide | Ulta Beauty
     DIME - Shade 01 Tinted Glow Wonderscreen        Phenoxyethanol
16   SPF 30 | Ulta Beauty
17   DIME - TBT Serum: Mandelic Acid +               Phenoxyethanol
     Peptides | Ulta Beauty
18   DIME - Wonderscreen Broad Spectrum SPF          Phenoxyethanol
19   30 | Ulta Beauty
     Dr. Brandt - Bright This Way 24/7 Retinol       Hydroxyethyl Acrylate/Sodium
20   Eye Cream | Ulta Beauty                         Acryloyldimethyl Taurate Copolymer
                                                     Phenoxyethanol
21
                                                     Acrylates/C10-30 Alkyl Acrylate
22                                                   Crosspolymer
                                                     Polysorbate 60
23   Dr. Brandt - Bright This Way Triple Active      PEG-40 Hydrogenated Castor Oil
24   Retinol Cream | Ulta Beauty                     Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
25                                                   Propylene Glycol
     Drunk Elephant - 1.6 oz Protini Polypeptide     Polysorbate 20, Polysorbate 60
26
     Firming Moisturizer | Ulta Beauty               Hydroxyethyl Acrylate/Sodium
27                                                   Acryloyldimethyl Taurate Copolymer

28

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   Drunk Elephant - 1.69 oz T.L.C Framboos         Phenoxyethanol
     Glycolic Resurfacing Night Serum | Ulta
 4
     Beauty
 5   Drunk Elephant - A-Passioni Retinol Cream |     Phenoxyethanol
     Ulta Beauty                                     Ceteareth-20
 6                                                   Laureth-23
 7                                                   Steareth-20
                                                     Polysorbate 20
 8                                                   Phenoxyethanol
     Drunk Elephant - A-Shaba Complex Eye            Steareth-20
 9
     Serum | Ulta Beauty                             Polysorbate 20
10                                                   Laureth-23
                                                     Phenoxyethanol
11   Drunk Elephant - B-Hydra Intensive              Phenoxyethanol
12   Hydration Serum | Ulta Beauty
     Drunk Elephant - Beste No. 9 Jelly Cleanser     Phenoxyethanol
13   Mini | Ulta Beauty
     Drunk Elephant - Bouncy Brightfacial            Hydroxyethyl Acrylate/Sodium
14
     Brightening Mask | Ulta Beauty                  Acryloyldimethyl Taurate Copolymer
15                                                   Ceteareth-25
                                                     Phenoxyethanol
16                                                   Polysorbate 60
17   Drunk Elephant - Ceramighty AF Eye Balm |       Ceteareth-20
     Ulta Beauty                                     Phenoxyethanol
18   Drunk Elephant - D-Bronzi Anti-Pollution        Hydroxyethyl Acrylate/Sodium
     Bronzing Drops with Peptides | Ulta Beauty      Acryloyldimethyl Taurate Copolymer
19
                                                     Phenoxyethanol
20                                                   Polysorbate 60
     Drunk Elephant - E-Rase Milki Micellar          Acrylates/C10-30 Alkyl Acrylate
21   Water | Ulta Beauty                             Crosspolymer
22                                                   Phenoxyethanol
                                                     Polysorbate 20
23   Drunk Elephant - F-Balm Electrolyte             Ceteareth-25
     Waterfacial | Ulta Beauty                       Phenoxyethanol
24
     Drunk Elephant - Hydra and the Bright | Ulta    Laureth-23
25   Beauty                                          Phenoxyethanol
     Drunk Elephant - Lala Retro Whipped Cream       Ceteareth-20
26   Mini | Ulta Beauty                              Phenoxyethanol
27   Drunk Elephant - Lala Retro Whipped Cream       Ceteareth-20
     Moisturizer with Ceramides | Ulta Beauty        Phenoxyethanol
28   Drunk Elephant - Lippe Balm | Ulta Beauty       Phenoxyethanol

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   Drunk Elephant - Protini Polypeptide Cream      Polysorbate 20
     Mini | Ulta Beauty                              Polysorbate 60
 4
                                                     Hydroxyethyl Acrylate/Sodium
 5                                                   Acryloyldimethyl Taurate Copolymer
                                                     Phenoxyethanol
 6   Drunk Elephant - Protini Powerpeptide           Phenoxyethanol
 7   Resurfacing Serum | Ulta Beauty                 Polysorbate 20
     Drunk Elephant - T.L.C. Sukari Babyfacial |     Hydroxyethyl Acrylate/Sodium
 8   Ulta Beauty                                     Acryloyldimethyl Taurate Copolymer
                                                     Polysorbate 60
 9
                                                     Phenoxyethanol
10   Drunk Elephant - T.L.C. Sukari Babyfacial       Hydroxyethyl Acrylate/Sodium
     Mini | Ulta Beauty                              Acryloyldimethyl Taurate Copolymer
11                                                   Polysorbate 60
12                                                   Phenoxyethanol
     DUNE SUNCARE - The Lifeguard - Cooling          Gratissima (Avocado) Oil Acrylates/C10-30
13   Aloe Gel | Ulta Beauty                          Alkyl Acrylate
     e.l.f. Cosmetics - 3.5 oz Holy Hydration!       PEG-20 Glyceryl Triisostearate
14
     Makeup Melting Cleansing Balm | Ulta            PEG-10 Isostearate
15   Beauty                                          Polysorbate 20
                                                     Phenoxyethanol
16   ELEMIS - 1-2-3 Glow! Bestsellers Kit | Ulta     PEG-6 Caprylic/Capric Glycerides
17   Beauty                                          PEG-8 Beeswax
                                                     PEG-60 Almond Glycerides
18                                                   Phenoxyethanol
     ELEMIS - 6.76 oz Superfood Facial Wash |        Polysorbate 20
19
     Ulta Beauty                                     Phenoxyethanol
20   ELEMIS - Mini Dynamic Resurfacing Facial        Polysorbate 20
     Pads | Ulta Beauty                              Phenoxyethanol
21                                                   Propylene Glycol
22   ELEMIS - Mini Pro-Collagen Energising           Phenoxyethanol
     Marine Cleanser | Ulta Beauty
23   ELEMIS - Mini Superfood Glow Priming            Propylene Glycol
     Moisturiser | Ulta Beauty                       Phenoxyethanol
24
                                                     Polysorbate 20
25   ELEMIS - Original Pro-Collagen Cleansing        PEG-6 Caprylic/Capric Glycerides
     Balm | Ulta Beauty                              PEG-8 Beeswax
26                                                   PEG-60 Almond Glycerides
27                                                   Phenoxyethanol
     ELEMIS - Pro-Collagen Eye Revive Mask |         Phenoxyethanol
28   Ulta Beauty                                     Sodium Polyacrylate

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 1
                      Product                             Ingredients Prohibited by
 2                                                      Ulta’s “Made Without List™”
 3   ELEMIS - Pro-Collagen Morning Matrix |        Phenoxyethanol
     Ulta Beauty                                   Acrylates/C10-30 Alkyl Acrylate
 4
                                                   Crosspolymer
 5   ELEMIS - Pro-Collagen Renewal Serum |         Polysorbate 20
     Ulta Beauty                                   Hydroxyethyl Acrylate/Sodium
 6                                                 Acryloyldimethyl Taurate Copolymer
 7                                                 Polysorbate 60
                                                   Phenoxyethanol
 8   ELEMIS - Pro-Collagen Rose Marine Cream | Phenoxyethanol
     Ulta Beauty                                   Polysorbate 20
 9
     ELEMIS - Superfood Cica Calm Hydration        PEG-8
10   Juice | Ulta Beauty                           Sodium Polyacrylate
                                                   PEG-40 Hydrogenated Castor Oil
11                                                 Phenoxyethanol
12                                                 Propylene Glycol
     Estée Lauder - Nutritious Booster Drops       Polysorbate 20
13   Serum | Ulta Beauty                           Phenoxyethanol
     Exuviance - 3 in 1 Pore Clarifying Cleanser | PEG-80 Sorbitan Laurate
14
     Ulta Beauty                                   Laureth-13
15                                                 PEG-150 Distearate
                                                   PEG-150
16                                                 PEG-40 Hydrogenated Castor Oil
17                                                 Polysorbate 20
                                                   Phenoxyethanol
18   Exuviance - AGE REVERSE + Rebuild-5           PEG-100 Stearate
     Firming & Moisturizing Face Cream | Ulta      Steareth-10
19
     Beauty                                        Hydroxyethyl Acrylate/Sodium
20                                                 Acryloyldimethyl Taurate Copolymer
                                                   PEG-40 Stearate
21                                                 Polysorbate 60
22                                                 Ceteareth-20
                                                   Phenoxyethanol
23   Exuviance - AGE REVERSE Hydrafirm             Steareth-2
     Hyaluronic Acid Antiaging Face Moisturizer | Steareth-20
24
     Ulta Beauty                                   Propylene Glycol
25                                                 Phenoxyethanol
     First Aid Beauty - 5.0 oz Pure Skin Face      Phenoxyethanol
26   Cleanser | Ulta Beauty
27   First Aid Beauty - 8.0 oz Ultra Repair Cream Phenoxyethanol
     | Ulta Beauty
28

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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3   First Aid Beauty - Deep Cleanser with Red       Acrylates/Steareth-20 Methacrylate
     Clay | Ulta Beauty                              Copolymer
 4
                                                     PEG-120 Methyl Glucose Dioleate
 5                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
 6                                                   Phenoxyethanol
 7   First Aid Beauty - FAB Pharma BHA Acne          Phenoxyethanol
     Spot Treatment | Ulta Beauty                    Polysorbate 60
 8   First Aid Beauty - Head-To-Toe-FAB Kit |        Phenoxyethanol
     Ulta Beauty
 9
     First Aid Beauty - Hello FAB Coconut Skin       Acrylates/C10-30 Alkyl Acrylate
10   Smoothie Priming Moisturizer | Ulta Beauty      Crosspolymer
                                                     Polysorbate 80
11                                                   Phenoxyethanol
12   First Aid Beauty - Hydrating Eye Cream with     Phenoxyethanol
     Hyaluronic Acid | Ulta Beauty
13   First Aid Beauty - Hydrating Serum with         Phenoxyethanol
     Hyaluronic Acid | Ulta Beauty
14
     First Aid Beauty - Travel Size Pure Skin Face   Phenoxyethanol
15   Cleanser | Ulta Beauty
     First Aid Beauty - Ultra Repair Face            Phenoxyethanol
16   Moisturizer | Ulta Beauty
17   First Aid Beauty - Ultra Repair Face            Polysorbate 20
     Moisturizer with SPF 30 | Ulta Beauty           Phenoxyethanol
18                                                   Hydroxyethyl Acrylate/Sodium
                                                     Acryloyldimethyl Taurate Copolymer
19
                                                     Polysorbate 60
20   First Aid Beauty - Ultra Repair Oat & Hemp      Phenoxyethanol
     Seed Dry Oil | Ulta Beauty
21   First Aid Beauty - Ultra Repair Wild Oat        Phenoxyethanol
22   Hydrating Toner | Ulta Beauty                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
23   Flora & Noor - Berry Oxygen Mask with           Phenoxyethanol
     Glycolic Acid | Ulta Beauty
24
     Flora & Noor - Bright Side Vitamin C and        Phenoxyethanol
25   Hyaluronic Acid Serum | Ulta Beauty
     Flora & Noor - Rose Renewal Tri-Peptide and     Sodium Polyacrylate
26
     Ceramide Cleanser | Ulta Beauty                 Phenoxyethanol
27   Flora & Noor - Rose Renewal Tri-Peptide and     Phenoxyethanol
     Ceramide Moisturizer | Ulta Beauty
28

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 1
                       Product                                 Ingredients Prohibited by
 2                                                           Ulta’s “Made Without List™”
 3   Flora & Noor - Super Glow Vitamin C and          Polysorbate 20
     Niacinamide Gel Moisturizer | Ulta Beauty        Phenoxyethanol
 4
     Flora & Noor - Vitamin C Resurfacing Toner       Phenoxyethanol
 5   | Ulta Beauty
     florence by mills - Ava's Mini & Mighty          Disodium Laureth Sulfosuccinate
 6   Essentials Kit | Ulta Beauty                     Phenoxyethanol
 7   florence by mills - Clean Magic Oil-             Disodium Laureth Sulfosuccinate
     Balancing Face Wash | Ulta Beauty                Phenoxyethanol
 8   florence by mills - Clear The Way Clarifying     Phenoxyethanol
     Face Wash | Ulta Beauty
 9
     florence by mills - Dreamy Dew Oil-Free          Phenoxyethanol
10   Moisturizer | Ulta Beauty                        Acrylates/C10-30 Alkyl Acrylate
                                                      Crosspolymer
11   florence by mills - Dreamy Drops Clarifying      Phenoxyethanol
12   Serum | Ulta Beauty                              Propylene Glycol
     florence by mills - Dreamy Drops Hydrating       Phenoxyethanol
13   Serum | Ulta Beauty
14   florence by mills - Episode 2 - Clear the Way    Phenoxyethanol
     Clarifying Toner | Ulta Beauty
15   florence by mills - Feed Your Soul Berry in      Propylene Glycol
     Love Pore Mask | Ulta Beauty                     Phenoxyethanol
16
                                                      Polysorbate 60
17   florence by mills - Feed Your Soul Love U A      Phenoxyethanol
     Latte Coffee Glow Mask | Ulta Beauty
18   florence by mills - Floating Under The Eyes      PEG-60 Hydrogenated Castor Oil
19   Depuffing Gel Pads | Ulta Beauty                 Aluminum Hydroxide
     florence by mills - Happy Days Skincare Set      Disodium Laureth Sulfosuccinate
20   Face Wash | Ulta Beauty                          Phenoxyethanol
     florence by mills - Hit Snooze Jelly             Phenoxyethanol
21
     Hydration Lip Mask | Ulta Beauty
22   florence by mills - Look Alive Brightening       Phenoxyethanol
     Eye Cream | Ulta Beauty
23   florence by mills - Look Alive Eye Balm |        Steareth-20
24   Ulta Beauty                                      Phenoxyethanol
     florence by mills - Magic Micellar Cleansing     Disodium Laureth Sulfosuccinate
25   Gel | Ulta Beauty                                Phenoxyethanol
     florence by mills - Plump To It! Hydrating       Phenoxyethanol
26
     Facial Moisturizer | Ulta Beauty
27   florence by mills - Pore Power To You Deep       Phenoxyethanol
     Cleansing Pore Strips | Ulta Beauty
28

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   florence by mills - See Ya Later! Bi-Phase      Phenoxyethanol
     Eye Makeup Remover | Ulta Beauty                Propylene Glycol
 4
     florence by mills - Surfing Under The Eyes      Phenoxyethanol
 5   Hydrating Treatment Gel Pads | Ulta Beauty
     florence by mills - Travel Size Clean Magic     Disodium Laureth Sulfosuccinate
 6   Oil-Balancing Face Wash | Ulta Beauty           Phenoxyethanol
 7   fresh - 0.5 oz Rose Deep Hydration Face         Steareth-2
     Cream | Ulta Beauty                             Steareth-21
 8                                                   Hydroxyethyl Acrylate/Sodium
                                                     Acryloyldimethyl Taurate Copolymer
 9
                                                     Acrylates/C10-30 Alkyl Acrylate
10                                                   Crosspolymer
                                                     Polysorbate 60
11   fresh - 3.3 oz Black Tea Firming Overnight      Steareth-21
12   Mask | Ulta Beauty                              Ceteareth-20
                                                     Sodium Polyacrylate Starch
13                                                   Sodium Polyacrylate
                                                     Phenoxyethanol
14
     fresh - Black Tea Firming Corset Cream |        Steareth-21
15   Ulta Beauty                                     Hydroxyethyl Acrylate/Sodium
                                                     Acryloyldimethyl Taurate Copolymer
16                                                   Acrylates/C10-30 Alkyl Acrylate
17                                                   Crosspolymer
                                                     Polysorbate 60
18   fresh - Black Tea Firming Corset Serum |        PEG-150, PEG-6 Caprylic/Capric Glycerides
     Ulta Beauty                                     PEG-40 Hydrogenated Castor Oil
19
                                                     PEG-90
20                                                   Phenoxyethanol
     fresh - Dewy Daisy Limited Edition Sugar        Aluminum Hydroxide
21   Tinted Lip Balm | Ulta Beauty
22   fresh - Smooth, Glowing Skin Favorites On-      Steareth-2
     the-Go Set | Ulta Beauty                        Steareth-21
23                                                   Hydroxyethyl Acrylate/Sodium
                                                     Acryloyldimethyl Taurate Copolymer
24
                                                     Acrylates/C10-30 Alkyl Acrylate
25                                                   Crosspolymer
                                                     Polysorbate 60
26   fresh - Sugar Recovery Lip Mask Advanced        Polyethylene
27   Therapy | Ulta Beauty                           Ethylene/propylene/styrene Copolymer
                                                     Butylene/ethylene/styrene Copolymer
28

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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3   fresh - Travel Size Vitamin Nectar Glow        Phenoxyethanol
     Juice Antioxidant Face Serum | Ulta Beauty
 4
     Fur - 0.3 oz Ingrown Eliminator Serum          Phenoxyethanol
 5   Rollerball | Ulta Beauty
     Fur - Ingrown Eliminator Serum | Ulta Beauty   Phenoxyethanol
 6   Garnier - Micellar Skinactive Gentle Peeling   PEG-32
 7   Water with 1% PHA & Glycolic Acid | Ulta       Polysorbate 20
     Beauty
 8   good light - Moon Glow Milky Moisturizing      Phenoxyethanol
     Toning Lotion | Ulta Beauty
 9
     Hanskin - Hyaluron Moisture Cream | Ulta       Polysorbate 20
10   Beauty                                         Glyceryl Acrylate/Acrylic Acid Copolymer
     Hanskin - Hyaluron Skin Essence | Ulta         Phenoxyethanol
11   Beauty
12   Hanskin - Pore Cleansing Balm - AHA | Ulta     PEG-20 Glyceryl Triisostearate
     Beauty                                         Polyethylene
13                                                  PEG-10 Isostearate
14   Hanskin - Pore Cleansing Balm - BHA | Ulta     PEG-20 Glyceryl Triisostearate
     Beauty                                         Polyethylene
15                                                  PEG-10 Isostearate,
     Hanskin - Pore Cleansing Balm - PHA | Ulta     Polyethylene
16
     Beauty
17   Hempz - Glow Getter Drops of Sunshine          Phenoxyethanol
     Instant Bronzing Drops | Ulta Beauty
18   Hempz - Limited Edition Crushed Peppermint     Phenoxyethanol
19   Sugar Herbal Lip Balm | Ulta Beauty
     Hempz - Sweet Pineapple & Honey Melon          PEG-100 Stearate
20   Herbal Body Sunscreen SPF 30 | Ulta Beauty     Phenoxyethanol
     Hempz - Sweet Pineapple & Honey Melon          PEG-100 Stearate
21
     Herbal Body Sunscreen SPF 50 | Ulta Beauty     Phenoxyethanol
22   Hempz - Sweet Pineapple & Honey Melon          Phenoxyethanol
     Herbal Lip Balm SPF 15 | Ulta Beauty
23   Hempz - Triple Moisture Herbal Lip Balm        Phenoxyethanol
24   SPF 15 | Ulta Beauty
     Hero Cosmetics - Mighty Patch for Fine         Polysorbate 80
25   Lines Patches | Ulta Beauty
     Hero Cosmetics - Pimple Correct Acne           Sodium Polyacrylate
26
     Clearing Gel Pen | Ulta Beauty                 Polysorbate 60
27   Hero Cosmetics - Rescue Balm +Dark Spot        Aluminum Hydroxide
     Retouch Post-Blemish Recovery Cream | Ulta
28   Beauty

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 1
                       Product                              Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3   Hero Cosmetics - Rescue Balm +Red Correct     Aluminum Hydroxide
     Post-Blemish Recovery Cream | Ulta Beauty
 4
     Hero Cosmetics - Rescue Balm Post-Blemish     Aluminum Starch Octenylsuccinate
 5   Recovery Cream | Ulta Beauty                  Aluminum Hydroxide
                                                   PEG-10 Dimethicone
 6   Hero Cosmetics - Rescue Retinol Nighttime     Polysorbate 20.
 7   Renewing Cream | Ulta Beauty
     Hey Honey - 24Seven Day & Night               PEG-100 Stearate
 8   Revitalizing Cream | Ulta Beauty              Propylene Glycol
                                                   Polysorbate 80
 9
                                                   Phenoxyethanol
10   Hey Honey - Boost It Up Honey and             Hydroxyethyl Acrylate/Sodium
     Hyaluronic Acid Rich Moisturizer | Ulta       Acryloyldimethyl Taurate Copolymer
11   Beauty                                        Acrylates/C10-30 Alkyl Acrylate
12                                                 Crosspolymer
                                                   Polysorbate 20
13   Hey Honey - Come Clean Propolis &             Aluminum Starch Octenylsuccinate
     Minerals Facial Scrub | Ulta Beauty           Laureth-4
14
     Hey Honey - Good Morning Honey Silk           Acrylates/C10-30 Alkyl Acrylate
15   Facial Serum | Ulta Beauty                    Crosspolymer
                                                   Laureth-4
16                                                 Phenoxyethanol
17   Hey Honey - Good Night Royal Honey Gel-       PEG-40 Hydrogenated Castor Oil
     Facial Replenisher with Coenzyme Q10 | Ulta   Acrylates/C10-30 Alkyl Acrylate
18   Beauty                                        Crosspolymer
                                                   Phenoxyethanol
19
                                                   Propylene Glycol
20   Hey Honey - Look Into My Eyes Retinol and     Phenoxyethanol
     Propolis Eye Mask | Ulta Beauty               PEG-100 Stearate
21                                                 Laureth-7
22                                                 Polymethyl Methacrylate
     Hey Honey - Make A Splash - Intense           Hydroxyethyl Acrylate/Sodium
23   Hydrating Aqua Serum | Ulta Beauty            Acryloyldimethyl Taurate Copolymer
                                                   Phenoxyethanol
24
     Hey Honey - Open Your Eyes Eye Contour        Phenoxyethanol
25   Lifting Fluid | Ulta Beauty                   Polysorbate 80
     I Dew Care - Chill Mo-Mint Soothing &         Hydroxyethyl Acrylate/Sodium
26   Cooling Wash-Off Mask | Ulta Beauty           Acryloyldimethyl Taurate Copolymer
27   I Dew Care - Cookie O' Glow | Ulta Beauty     Hydroxyethyl Acrylate/Sodium
                                                   Acryloyldimethyl Taurate Copolymer
28                                                 Polysorbate 20

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 1
                       Product                                 Ingredients Prohibited by
 2                                                           Ulta’s “Made Without List™”
 3   I Dew Care - Here's To Clearing Clay             Sodium Polystyrene Sulfonate
     Exfoliating Sheet Mask | Ulta Beauty
 4
     I Dew Care - Hydra Vibes 10-Hyaluronic           Acrylates/C10-30 Alkyl Acrylate
 5   Acid Serum | Ulta Beauty                         Crosspolymer
                                                      Hydroxyethyl Acrylate/Sodium
 6                                                    Acryloyldimethyl Taurate Copolymer
 7                                                    Polysorbate 60
     ICONIC LONDON - Original Prep-Set-Glow           PPG-26-Buteth-26, PEG-40 Hydrogenated
 8   Hydrating Setting Spray | Ulta Beauty            Castor Oil Phenoxyethanol
                                                      Propylene Glycol
 9
                                                      Polysorbate 20, PEG-20 Glyceryl Laurate
10   ICONIC LONDON - Original Prep-Set-Tan            PPG-26-Buteth-26
     Tanning Mousse | Ulta Beauty                     PEG-40 Hydrogenated Castor Oil
11                                                    Phenoxyethanol
12                                                    Polysorbate 20
                                                      PEG-20 Glyceryl Laurate
13   ILIA - Travel Size The Base Face Milk | Ulta     Hydroxyethyl Acrylate/Sodium
     Beauty                                           Acryloyldimethyl Taurate Copolymer
14
                                                      Polysorbate 60
15   Indeed Labs - 10balm Soothing Cream for          PEG-40 Hydrogenated Castor Oil
     Dry & Sensitive Skin | Ulta Beauty               Phenoxyethanol.
16   Indeed Labs - Exfoliator II - Facial Powder      PEG-150
17   Exfoliator | Ulta Beauty                         Sodium Polyacrylate
                                                      Phenoxyethanol
18   Indeed Labs - Eysilix II Multi-Action Eye        PEG-100 Stearate
     Treatment | Ulta Beauty                          Phenoxyethanol
19
                                                      Polysorbate 80
20                                                    PEG-10 Rapeseed Sterol
     Indeed Labs - Hydraluron Cream Cleanser for      Phenoxyethanol
21   All Skin Types | Ulta Beauty
22   Indeed Labs - Hydraluron Moisture Jelly with     Phenoxyethanol
     Hyaluronic Acid & PatcH2O | Ulta Beauty
23   Indeed Labs - Hydraluron Moisture Serum for      Phenoxyethanol
     Dehydrated Skin | Ulta Beauty
24
     Indeed Labs - Hydraluron+ Volumising Lip         Polyethylene
25   Treatment | Ulta Beauty
     Indeed Labs - In-Ceramide Daily Moisture         Phenoxyethanol
26   Cream | Ulta Beauty                              Laureth-7
27   Indeed Labs - In-Circadian Night Mask with       Phenoxyethanol
     Polyglutamic Acid | Ulta Beauty
28

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   Indeed Labs - Nanoblur Instant Skin Perfector   Phenoxyethanol
     Cream | Ulta Beauty                             Polysorbate 80
 4
     Indeed Labs - Original Nanobronze Bronzing      Phenoxyethanol
 5   Drops with Cacao Seed Extract | Ulta Beauty
     Indeed Labs - Pink Hydraluron + Tinted Lip      Polyethylene
 6   Treatment | Ulta Beauty
 7   Indeed Labs - Retinol Reface Eye Cream with     Laureth-7
     Retinol Ester and Ribose | Ulta Beauty
 8   Indeed Labs - Retinol Reface Skin Resurfacer    PEG-100 Stearate
     Cream | Ulta Beauty                             Polysorbate 80
 9
                                                     Propylene Glycol
10   Indeed Labs - Snoxin II Facial Line Fighter     Phenoxyethanol
     Serum | Ulta Beauty                             Polysorbate 80
11   Indeed Labs - Vitamin C Brightening Drops |     Phenoxyethanol
12   Ulta Beauty                                     Hydroxyethyl Acrylate/Sodium
                                                     Acryloyldimethyl Taurate Copolymer
13                                                   Polysorbate 60
     Indeed Labs - Vitamin C24 22% + 2%              PEG-10 Dimethicone
14
     Vitamin C Cream | Ulta Beauty                   Phenoxyethanol
15   Indeed Labs - Watermelon Melting Balm           PEG-20 Glyceryl Triisostearate
     Facial Cleanser | Ulta Beauty                   PEG-6 Caprylic/Capric Glycerides
16                                                   Phenoxyethanol
17   IT Cosmetics - 0.5 oz Confidence in an Eye      PEG-100 Stearate
     Cream Anti-Aging Peptide Eye Cream | Ulta       Phenoxyethanol
18   Beauty                                          Laureth-7
                                                     Polysorbate 20
19
     IT Cosmetics - 2.0 oz Confidence in a Cream     Phenoxyethanol
20   Anti-Aging Hydrating Moisturizer | Ulta         PEG-100 Stearate
     Beauty                                          Sodium Polyacrylate
21                                                   Polysorbate 20
22   IT Cosmetics - Best Beauty Sleep Ever           Phenoxyethanol
     Skincare Gift Set + Luxe Makeup Bag | Ulta      Polysorbate 60
23   Beauty
24   IT Cosmetics - Bye Bye Dark Spots               Phenoxyethanol
     Niacinamide Serum | Ulta Beauty
25   IT Cosmetics - Bye Bye Lines Hyaluronic         Phenoxyethanol
     Acid Serum | Ulta Beauty                        PEG-60 Hydrogenated Castor Oil
26
     IT Cosmetics - Bye Bye Redness Serum | Ulta     PEG-100 Stearate
27   Beauty                                          Phenoxyethanol
                                                     Acrylates/C10-30 Alkyl Acrylate
28                                                   Crosspolymer

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 1
                      Product                              Ingredients Prohibited by
 2                                                       Ulta’s “Made Without List™”
 3                                                PEG-30 Dipolyhydroxystearate
     IT Cosmetics - IT's Your Customized Face     Phenoxyethanol, PEG-100 Stearate
 4
     Serum Skincare Kit | Ulta Beauty             Sodium Polyacrylate
 5                                                Polysorbate 20
     IT Cosmetics - Travel Size Confidence in a   Phenoxyethanol
 6   Cream Anti-Aging Hydrating Moisturizer |     PEG-100 Stearate
 7   Ulta Beauty                                  Sodium Polyacrylate
                                                  Polysorbate 20
 8   IT Cosmetics - Your 3-Piece Eye-Loving       PEG-100 Stearate
     Essentials Gift Set | Ulta Beauty            Phenoxyethanol
 9
                                                  Laureth-7
10                                                Polysorbate 20
                                                  PEG-30 Dipolyhydroxystearate
11                                                Propylene Glycol
12                                                PEG-10 Dimethicone, Bis-PEG-12
                                                  Dimethicone Beeswax
13                                                Phenoxyethanol
                                                  Lauryl Peg-9 Polydimethylsiloxyethyl
14
                                                  Dimethicone
15                                                Steareth-20
     IT Cosmetics - Your Radiance Boosting Best Acrylates/C10-30 Alkyl Acrylate
16   Sellers Skincare Gift Set | Ulta Beauty      Crosspolymer
17                                                Phenoxyethanol
                                                  PEG-100 Stearate
18                                                Propylene Glycol
                                                  PEG-30 Dipolyhydroxystearate
19
                                                  Polysorbate 20
20   Jack Black - 10.0 oz All-Over Wash for Face, PPG-15 Stearyl Ether
     Hair & Body | Ulta Beauty                    PEG-120 Methyl Glucose Dioleate
21                                                Phenoxyethanol
22   Jack Black - 6.0 oz Face Buff Energizing     Polysorbate 80
     Scrub with Vitamin C & Mint | Ulta Beauty    Propylene Glycol
23                                                Phenoxyethanol
     Jack Black - 6.0 oz Pure Clean Daily Facial  PEG-150 Distearate
24
     Cleanser | Ulta Beauty                       PEG-8 Dimethicone
25                                                Phenoxyethanol
     Jack Black - Age Control Protein Booster Eye Ceteareth-20
26   Rescue | Ulta Beauty                         PEG-100 Stearate
27                                                Phenoxyethanol
     Jack Black - Age Control Protein Booster     Polysorbate 20
28   Skin Serum | Ulta Beauty                     Sodium Polystyrene Sulfonate

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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3                                                   Phenoxyethanol
     Jack Black - Beard Grooming Kit 4-Piece Set     PEG-120 Methyl Glucose Dioleate
 4
     | Ulta Beauty                                   Phenoxyethanol
 5   Jack Black - Deep Dive Glycolic Facial          Phenoxyethanol
     Cleanser | Ulta Beauty
 6   jane iredale - Fair 1 HydroPure Tinted Serum    Glyceryl Acrylate/Acrylic Acid Copolymer
 7   | Ulta Beauty                                   Polysorbate 60
     Kinship - 1.75 oz Self Reflect Probiotic        Phenoxyethanol
 8   Moisturizing Sunscreen SPF 32 | Ulta Beauty
     Kinship - 1.75 oz Supermello Hyaluronic Gel     Phenoxyethanol
 9
     Cream | Ulta Beauty
10   Kinship - Brightwave 10% Vitamin C +            Hydroxyethyl Acrylate/Sodium
     Peptide Brightening Serum | Ulta Beauty         Acryloyldimethyl Taurate Copolymer
11

12                                                   Phenoxyethanol
     Kinship - Brightwave Vitamin C Energizing       Phenoxyethanol
13   + Brightening Eye Cream | Ulta Beauty
14   Kinship - Brightwave Vitamin C Face Serum       Hydroxyethyl Acrylate/Sodium
     | Ulta Beauty                                   Acryloyldimethyl Taurate Copolymer
15                                                   Phenoxyethanol
     Kinship - Dreamwave 2% Bio-Retinoid             Phenoxyethanol
16
     Complex Overnight Renewal Serum | Ulta
17   Beauty
     Kinship - Insta Swipe Lemon Honey AHA           Phenoxyethanol
18   Exfoliating Pads | Ulta Beauty
19   Kinship - Mint Mud Deep Pore Detox Clay         Phenoxyethanol
     Mask | Ulta Beauty
20   Kinship - Naked Papaya Gentle Enzyme            Phenoxyethanol
     Milky Cleanser | Ulta Beauty
21
     Kinship - Self Reflect Sport Sunscreen SPF      Phenoxyethanol
22   60 | Ulta Beauty
     Kinship - Self Smooth 10% Glycolic              Phenoxyethanol
23   Resurfacing Serum | Ulta Beauty
24   Klairs - Freshly Juiced Vitamin C Drop | Ulta   Propylene Glycol
     Beauty                                          Polysorbate 60
25   Klairs - Gentle Black Deep Cleansing Oil |      PEG-7 Glyceryl Cocoate
     Ulta Beauty                                     PEG-20 Glyceryl Triisostearate
26
                                                     Polysorbate 20
27   Kopari Beauty - Antioxidant Face Shield         Styrene/Acrylates Copolymer
     Mineral SPF 30 | Ulta Beauty                    Polysorbate 60
28                                                   Polysorbate 80

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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3   Kopari Beauty - Lychee Clean Vitamin C         Phenoxyethanol
     Face Mask | Ulta Beauty
 4
     Kopari Beauty - Lychee Clean Vitamin C         Phenoxyethanol
 5   Foaming Face Cleanser | Ulta Beauty
     Kopari Beauty - Niacinamide & Caffeine Eye     Polysorbate 20
 6   Bright Cream | Ulta Beauty                     Hydroxyethyl Acrylate/Sodium
 7                                                  Acryloyldimethyl Taurate Copolymer
                                                    Phenoxyethanol
 8                                                  Laureth-12
                                                    Polysorbate 60
 9
     Kopari Beauty - Star Bright Vitamin C          Phenoxyethanol
10   Discoloration Correcting Serum | Ulta Beauty   Acrylates/C10-30 Alkyl Acrylate
                                                    Crosspolymer
11   Kopari Beauty - Star Bright Vitamin C          Propylene Glycol
12   Moisturizer | Ulta Beauty                      Phenoxyethanol
     Kopari Beauty - Ultra Renewal Retinol Body     Phenoxyethanol
13   Cream | Ulta Beauty
     Kopari Beauty - Ultra Restore Firming Body     Phenoxyethanol
14
     Serum | Ulta Beauty                            Polysorbate 20
15   KYLIE COSMETICS - Eye Cream | Ulta             Phenoxyethanol
     Beauty                                         Acrylates/C10-30 Alkyl Acrylate
16                                                  Crosspolymer
17                                                  Polysorbate 20
     KYLIE COSMETICS - Face Moisturizer |           PEG-100 Stearate
18   Ulta Beauty                                    Phenoxyethanol
                                                    Hydroxyethyl Acrylate/Sodium
19
                                                    Acryloyldimethyl Taurate Copolymer
20                                                  Polysorbate 40
                                                    Polysorbate 60
21   KYLIE COSMETICS - Foaming Face Wash |          Phenoxyethanol
22   Ulta Beauty
     KYLIE COSMETICS - Sugar Lip Scrub |            Ethylene/propylene/styrene Copolymer
23   Ulta Beauty                                    Butylene/ethylene/styrene Copolymer
                                                    Phenoxyethanol
24
     KYLIE COSMETICS - Vitamin C Serum |            Phenoxyethanol
25   Ulta Beauty                                    Polysorbate 20
     L'Oréal - 1.0 oz Age Perfect Cell Renewal      PEG-8
26   Midnight Hydrating Serum | Ulta Beauty         Propylene Glycol
27                                                  Phenoxyethanol
     L'Oréal - Age Perfect Cell Renewal Anti-       PEG-100 Stearate
28   Aging Eye Cream Treatment | Ulta Beauty        Polysorbate 80, Propylene Glycol

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 1
                       Product                                 Ingredients Prohibited by
 2                                                           Ulta’s “Made Without List™”
 3                                                    Phenoxyethanol
     L'Oréal - Age Perfect Cell Renewal Midnight      PEG-100 Stearate
 4
     Eye Cream | Ulta Beauty                          Laureth-7
 5                                                    Phenoxyethanol
     L'Oréal - Revitalift Triple Power Anti-Aging     Aluminum Starch Octenylsuccinate
 6   Face Moisturizer | Ulta Beauty                   Polyethylene
 7                                                    Phenoxyethanol
                                                      PEG-100 Stearate
 8                                                    Laureth-7
                                                      PEG-30 Dipolyhydroxystearate
 9
                                                      Ceteareth-6
10   L'Oréal - Revitalift Vitamin C Vitamin E         Laureth-7 Peg-20
     Salicylic Acid Serum | Ulta Beauty               Peg/Ppg-16/16 Peg/Ppg-16/16 Dimethicone
11   La Roche-Posay - 13.5 oz Toleriane               Propylene Glycol
12   Hydrating Gentle Face Cleanser for Dry Skin      Polysorbate 60
     | Ulta Beauty
13   La Roche-Posay - 4.0 oz Anthelios Body and       Phenoxyethanol
     Face Soft Finish Mineral Sunscreen Lotion        Aluminum Hydroxide
14
     SPF 50 | Ulta Beauty
15   La Roche-Posay - Anthelios Kids Gentle           Styrene/Acrylates Copolymer
     Sunscreen Face and Body Lotion SPF 50 |          Poly C10-30 Alkyl Acrylate
16   Ulta Beauty                                      Acrylates/C10-30 Alkyl Acrylate
17                                                    Crosspolymer
                                                      PEG-100 Stearate
18                                                    PEG-8 Laurate
                                                      Phenoxyethanol
19
     La Roche-Posay - Anthelios Mineral SPF 30        PEG-30 Dipolyhydroxystearate
20   Face Moisturizer with Hyaluronic Acid | Ulta     Poly C10-30 Alkyl Acrylate
     Beauty                                           Phenoxyethanol
21                                                    Aluminum Hydroxide
22   La Roche-Posay - Anthelios UV Correct SPF        Poly C10-30 Alkyl Acrylate
     70 Daily Face Sunscreen with Niacinamide |       Styrene/Acrylates Copolymer
23   Ulta Beauty                                      PEG-100 Stearate
                                                      Phenoxyethanol
24
                                                      Propylene Glycol
25                                                    Acrylates/C10-30 Alkyl Acrylate
                                                      Crosspolymer
26                                                    PEG-8 Laurate
27   La Roche-Posay - Cicaplast Hand Repair           PEG/PPG-18/18 Dimethicone
     Cream for Dry Hands | Ulta Beauty                Sodium Polyacrylate
28                                                    Phenoxyethanol

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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3   La Roche-Posay - Effaclar Micellar Water        Peg-7 Caprylic/Capric Glycerides
     For Oily Skin | Ulta Beauty                     PEG-6 Caprylic/Capric Glycerides
 4
                                                     Polysorbate 80
 5   La Roche-Posay - Nutritic Lip Balm for Very     Polyethylene
     Dry Lips | Ulta Beauty
 6   La Roche-Posay - Toleriane Rosaliac Anti-       Polysorbate 20
 7   Redness Face Moisturizer for Sensitive Skin |   Glyceryl Acrylate/Acrylic Acid Copolymer
     Ulta Beauty                                     Aluminum Hydroxide
 8                                                   Polysorbate 80
     La Roche-Posay - Travel Size Toleriane          Polysorbate 60
 9
     Hydrating Gentle Face Cleanser for Dry Skin
10   | Ulta Beauty
     Lanolips - Everywhere Multi-Cream - Dry         Phenoxyethanol
11   Skin Treatment | Ulta Beauty
12   Live Tinted - Superhue Brightening Eye          Phenoxyethanol
     Cream | Ulta Beauty
13   LOOPS - Clean Slate Detoxifying Face Mask       Sodium Polyacrylate
     5 Piece Set | Ulta Beauty                       Phenoxyethanol
14
     LOOPS - Double Take Glow Face Mask 5            Sodium Polyacrylate
15   Piece Set | Ulta Beauty                         Phenoxyethanol
     LOOPS - Sunrise Service Brightening Face        Sodium Polyacrylate
16   Mask 5 Piece Set | Ulta Beauty                  Phenoxyethanol
17   LOOPS - Variety Hydrogel Face Mask 5            Sodium Polyacrylate
     Piece Set | Ulta Beauty                         Phenoxyethanol
18   LOOPS - Weekly Reset Rejuvenating Eye           Polysorbate 20
19   Mask | Ulta Beauty
     LOOPS - Weekly Reset Rejuvenating Eye           Polysorbate 20
20   Mask 5 Piece Set | Ulta Beauty
     Love Wellness - Bye Bye Bloat Firming Clay      Phenoxyethanol
21
     Body Mask | Ulta Beauty
22   Love Wellness - Bye Bye Bloat Lymphatic         Phenoxyethanol
     Massage Roller | Ulta Beauty
23   megababe - Cucumber Mint Shower Sheets |        Polysorbate 20
24   Ulta Beauty                                     Propylene Glycol
     megababe - Le Tush Clarifying Butt Mask |       Polysorbate 60
25   Ulta Beauty                                     Hydroxyethyl Acrylate/Sodium
                                                     Acryloyldimethyl Taurate Copolymer
26
     megababe - Night Rescue Overnight               Phenoxyethanol
27   Brightening Stick | Ulta Beauty
     Milani - Glow Drops Radiance Boosting           Polysorbate 20
28   Serum | Ulta Beauty                             Phenoxyethanol

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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3   Milani - Light to Medium Glow Hydrating        Phenoxyethanol
     Skin Tint | Ulta Beauty
 4
     Milani - Peach Thrill Supercharged Cheek +     Polyethylene
 5   Lip Multistick | Ulta Beauty                   Hydrogenated Styrene/Isoprene Copolymer
                                                    Aluminum Hydroxide, Aluminum Benzoate
 6   Milani - Supercharged Brightening Prep         Polysorbate 80
 7   Mask | Ulta Beauty                             Phenoxyethanol
     Milani - Supercharged Lip Balm | Ulta          Ethylene/propylene/styrene Copolymer
 8   Beauty                                         Butylene/ethylene/styrene Copolymer
                                                    Aluminum Hydroxide
 9
     Milani - Supercharged Revitalizing Facial      PEG-40 Hydrogenated Castor Oil
10   Mist | Ulta Beauty                             PEG-8 Dimethicone
                                                    Phenoxyethanol.
11   Milk + Honey - Charcoal Clay Masque | Ulta     Phenoxyethanol
12   Beauty
     Milk + Honey - Pink Clay Masque | Ulta         Phenoxyethanol
13   Beauty
     Naked Sundays - Watermelon Go + Glow Lip       Phenoxyethanol
14
     Oil SPF50 | Ulta Beauty
15   NARS - Light Reflecting Eye & Lash Gel |       PEG-8/SMDI COPOLYMER
     Ulta Beauty                                    PHENOXYETHANOL
16
     NARS - Light Reflecting Firming Serum |        Phenoxyethanol
17   Ulta Beauty
     NARS - Light Reflecting Moisturizer | Ulta     HYDROXYETHYL ACRYLATE/SODIUM
18   Beauty                                         ACRYLOYLDIMETHYL TAURATE
19                                                  COPOLYMER
                                                    POLYSORBATE 60
20                                                  PHENOXYETHANOL
     NARS - Light Reflecting Multi-Action           PHENOXYETHANOL
21
     Treatment Lotion | Ulta Beauty
22   Naturium - Azelaic Topical Acid 10% | Ulta     Phenoxyethanol
     Beauty
23   Naturium - Barrier Bounce Advanced Skin        Butylene/ethylene/styrene Copolymer
24   Hydrator | Ulta Beauty                         Ethylene/propylene/styrene Copolymer
                                                    Phenoxyethanol
25   Naturium - BHA Liquid Exfoliant 2% | Ulta      Sodium Polyacrylate
     Beauty                                         Phenoxyethanol
26
     Naturium - Fermented Camellia Creamy           Phenoxyethanol
27   Cleansing Oil | Ulta Beauty
     Naturium - Glycolic Acid Resurfacing Gel       Phenoxyethanol
28   10% | Ulta Beauty

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   Naturium - Light/Medium Vitamin Bright          Phenoxyethanol
     Illuminating Eye Cream | Ulta Beauty
 4
     Naturium - Multi-Peptide Advanced Serum |       Hydroxyethyl Acrylate/Sodium
 5   Ulta Beauty                                     Acryloyldimethyl Taurate Copolymer
                                                     Polysorbate 60
 6                                                   Phenoxyethanol
 7   Naturium - Multi-Peptide Eye Cream | Ulta       Aluminum Starch Octenylsuccinate
     Beauty                                          Phenoxyethanol
 8                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
 9
                                                     Polysorbate 80
10                                                   Polysorbate 20
     Naturium - Multi-Peptide Moisturizer | Ulta     Aluminum Starch Octenylsuccinate
11   Beauty                                          Acrylates/C10-30 Alkyl Acrylate
12                                                   Crosspolymer
                                                     Polysorbate 80
13                                                   Phenoxyethanol
                                                     Polysorbate 20
14
     Naturium - Niacinamide Cleansing Gelee 3%       Phenoxyethanol
15   | Ulta Beauty
     Naturium - Niacinamide Gel Cream 5% | Ulta      Phenoxyethanol
16   Beauty                                          Polysorbate 80
17   Naturium - Niacinamide Serum 12% Plus           Phenoxyethanol
     Zinc 2% | Ulta Beauty
18   Naturium - Plant Ceramide Rich Moisture         Phenoxyethanol
     Cream | Ulta Beauty
19
     Naturium - Purple Ginseng Cleansing Balm |      Phenoxyethanol
20   Ulta Beauty
     Naturium - Quadruple Hyaluronic Acid            Acrylates/C10-30 Alkyl Acrylate
21   Serum 5% | Ulta Beauty                          Crosspolymer
22                                                   Phenoxyethanol
     Naturium - Retinaldehyde Cream Serum            Phenoxyethanol
23   0.05% | Ulta Beauty
     Naturium - Retinaldehyde Cream Serum            Phenoxyethanol
24
     0.10% | Ulta Beauty
25   Naturium - Retinol Complex Serum | Ulta         Phenoxyethanol
     Beauty                                          Polysorbate 20
26
     Naturium - The Icons Serum Starter Kit | Ulta   Phenoxyethanol
27   Beauty
     Naturium - Tranexamic Topical Acid 5% |         Phenoxyethanol
28   Ulta Beauty

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 1
                      Product                                Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3   Naturium - Travel Size Niacinamide             Phenoxyethanol
     Cleansing Gelee 3% | Ulta Beauty
 4
     Naturium - Travel Size Vitamin C Complex       Phenoxyethanol
 5   Serum | Ulta Beauty                            Polysorbate 60
     Naturium - UV Reflect Antioxidant SPF 50 |     Polymethyl Methacrylate
 6   Ulta Beauty                                    Aluminum Starch Octenylsuccinate
 7                                                  Polysorbate 60
                                                    Propylene Glycol
 8                                                  Phenoxyethanol
     Naturium - Vitamin C Complex Cleanser |        Phenoxyethanol
 9
     Ulta Beauty
10   Naturium - Vitamin C Super Serum Plus |        Phenoxyethanol
     Ulta Beauty                                    Polysorbate 80
11                                                  Polysorbate 20
12                                                  Polysorbate 60
     Neutrogena - 7.8 oz Hydro Boost Fragrance-     Phenoxyethanol
13   Free Gel Facial Cleanser | Ulta Beauty
     Neutrogena - Alcohol-Free Daily Facial         Polysorbate 20
14
     Toner | Ulta Beauty
15   Neutrogena - Clear Face Serum Sunscreen        Aluminum Starch Octenylsuccinate
     with Green Tea, SPF 60+ | Ulta Beauty          Phenoxyethanol
16                                                  Styrene/Acrylates Copolymer
17   Neutrogena - Daily Facial Moisturizer -        Phenoxyethanol
     Fragrance Free | Ulta Beauty                   Ceteareth-20
18   Neutrogena - Fragrance-Free Makeup             PEG-6 Caprylic/Capric Glycerides
     Remover Cleansing Towelettes Twin Pack |       Phenoxyethanol
19
     Ulta Beauty                                    Polysorbate 20
20                                                  Acrylates/C10-30 Alkyl Acrylate
                                                    Crosspolymer
21   Neutrogena - Hydro Boost Body Gel Cream |      Phenoxyethanol
22   Ulta Beauty                                    Sodium Polyacrylate
     Neutrogena - Hydro Boost Cleansing             PEG-6 Caprylic/Capric Glycerides
23   Towelettes Twin Pack | Ulta Beauty             Phenoxyethanol
                                                    Polysorbate 20
24
                                                    Acrylates/C10-30 Alkyl Acrylate
25                                                  Crosspolymer
     Neutrogena - Hydro Boost Eye Gel-Cream |       Phenoxyethanol
26   Ulta Beauty                                    Laureth-7
27   Neutrogena - Hydro Boost Facial Cleansing      PEG-6 Caprylic/Capric Glycerides
     Wipes | Ulta Beauty                            Phenoxyethanol
28                                                  Polysorbate 20

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
 4
     Neutrogena - Hydro Boost Gentle Exfoliating     Polysorbate 20
 5   Facial Cleanser | Ulta Beauty
     Neutrogena - Hydro Boost Hyaluronic Acid        Phenoxyethanol
 6   Serum | Ulta Beauty                             Acrylates/C10-30 Alkyl Acrylate
 7                                                   Crosspolymer
     Neutrogena - Hydro Boost Hyaluronic Acid        Phenoxyethanol
 8   Water Gel Moisturizer | Ulta Beauty             Laureth-7
     Neutrogena - Hydro Boost Hydrating 100%         PEG-60 Hydrogenated Castor Oil
 9
     Hydrogel Mask | Ulta Beauty                     Phenoxyethanol
10   Neutrogena - Hydro Boost Hydrating Facial       Polysorbate 20
     Cleansing Gel | Ulta Beauty                     Phenoxyethanol
11   Neutrogena - Hydro Boost Hydrating Serum |      Aluminum Starch Octenylsuccinate
12   Ulta Beauty                                     Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
13                                                   Propylene Glycol
     Neutrogena - Hydro Boost Ultra Hydrating        Aluminum Starch Octenylsuccinate
14
     Hyaluronic Acid Serum | Ulta Beauty
15   Neutrogena - Invisible Daily Defense Lotion     Aluminum Starch Octenylsuccinate
     SPF 60+ | Ulta Beauty                           Phenoxyethanol
16                                                   Styrene/Acrylates Copolymer
17   Neutrogena - Makeup Remover Cleansing           PEG-6 Caprylic/Capric Glycerides
     Towelette Singles | Ulta Beauty                 Phenoxyethanol
18                                                   Polysorbate 20
                                                     Acrylates/C10-30 Alkyl Acrylate
19
                                                     Crosspolymer
20   Neutrogena - Makeup Remover Cleansing           PEG-6 Caprylic/Capric Glycerides
     Towelettes Fragrance Free | Ulta Beauty         Phenoxyethanol
21                                                   Polysorbate 20
22                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer,
23   Neutrogena - Makeup Remover Cleansing           PEG-6 Caprylic/Capric Glycerides
     Towelettes, Fragrance Free Singles | Ulta       Phenoxyethanol
24
     Beauty                                          Polysorbate 20
25                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
26   Neutrogena - Night Calming Makeup               PEG-6 Caprylic/Capric Glycerides
27   Remover Cleansing Towelettes | Ulta Beauty      Phenoxyethanol

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 1
                      Product                               Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3   Neutrogena - Sun Rescue After Sun             Hydroxyethyl Acrylate/Sodium
     Rehydrating Spray, Hyaluronic Acid | Ulta     Acryloyldimethyl Taurate Copolymer
 4
     Beauty                                        Polysorbate 60
 5   Neutrogena - Travel Size Makeup Remover       PEG-6 Caprylic/Capric Glycerides
     Cleansing Towelettes | Ulta Beauty            Phenoxyethanol
 6                                                 Polysorbate 20
 7                                                 Acrylates/C10-30 Alkyl Acrylate
                                                   Crosspolymer
 8   NUDESTIX - Citrus Renew Set For Sensitive     ACRYLATES/C10-30 ALKYL ACRYLATE
     Skin | Ulta Beauty                            CROSSPOLYMER
 9
                                                   AMMONIUM
10                                                 ACRYLOYLDIMETHYLTAURATE/VP
                                                   COPOLYMER
11

12                                                 POLYSORBATE 80
                                                   PEG-6 CAPRYLIC/CAPRIC GLYCERIDES
13                                                 PEG-60 HYDROGENATED CASTOR OIL
                                                   PHENOXYETHANOL
14
     NUDESTIX - Dewy Barrier Hydrating Stick |     Polysorbate 20
15   Ulta Beauty
     NUDESTIX - NUDESKIN 3-Step Citrus             Phenoxyethanol
16   Renew Set | Ulta Beauty                       Acrylates/C10-30 Alkyl Acrylate
17                                                 Crosspolymer
     NUDESTIX - Nudeskin Blemish Clarifying        Phenoxyethanol
18   Gel Moisturizer | Ulta Beauty
     NUDESTIX - NUDESKIN Citrus-C Mask &      Acrylates/C10-30 Alkyl Acrylate
19
     Daily Moisturizer | Ulta Beauty          Crosspolymer
20                                            Ammonium Acryloyldimethyltaurate/VP
                                              Copolymer
21                                            Polysorbate 8
22   NUDESTIX - NUDESKIN Lemon-Aid Detox Phenoxyethanol
     & Glow Micro-Peel | Ulta Beauty          Acrylates/C10-30 Alkyl Acrylate
23                                            Crosspolymer
     NUDESTIX - NUDESKIN Vegan Bamboo         Phenoxyethanol
24
     Cleansing Cloths | Ulta Beauty
25   NYX Professional Makeup - Face Freezie   Ammonium Acryloyldimethyltaurate/VP
     Cooling Hydration Moisturizer + Primer | Copolymer
26   Ulta Beauty                              Hydroxyethyl Acrylate/Sodium
27                                            Acryloyldimethyl Taurate Copolymer

28                                                 Phenoxyethanol

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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3   Oak Essentials - Balancing Mist | Ulta Beauty   Phenoxyethanol
     Oak Essentials - Cleansing Balm | Ulta          Phenoxyethanol
 4
     Beauty
 5   Oak Essentials - Daily Vitamin C Serum |        Phenoxyethanol
     Ulta Beauty
 6   Oak Essentials - Mini Routine | Ulta Beauty     Phenoxyethanol
 7   Oak Essentials - Moisture Rich Balm | Ulta      Phenoxyethanol
     Beauty
 8   Oak Essentials - Nightly Retinol Serum | Ulta   Phenoxyethanol
     Beauty
 9
     Oak Essentials - Restorative Mask | Ulta        Phenoxyethanol
10   Beauty
     Oak Essentials - Ritual Oil | Ulta Beauty       Phenoxyethanol
11
     Oak Essentials - The Hydration Heroes | Ulta    Phenoxyethanol
12   Beauty
     Oak Essentials - The Routine | Ulta Beauty      Phenoxyethanol
13   Oak Essentials - The Serums | Ulta Beauty       Phenoxyethanol
14   Oh K! - Caffeine Eye Mask | Ulta Beauty         Polysorbate 20
     Oh K! - Collagen Hydrogel Mask | Ulta           Sodium Polyacrylate
15   Beauty                                          Polysorbate 20
     Oh K! - Ginseng and Eucalyptus Under Eye        Sodium Polyacrylate
16
     Masks | Ulta Beauty                             Phenoxyethanol.
17   Oh K! - Hyaluronic Hydrogel Sheet Mask |        Polysorbate 20
     Ulta Beauty
18   Oh K! - Hydrogel Eye Mask with Multi            Sodium Polyacrylate
19   Hyaluronic Acid | Ulta Beauty                   Polysorbate 20
     Oh K! - Nourishing Sleep Mask | Ulta Beauty     Ammonium Acryloyldimethyltaurate/VP
20                                                   Copolymer
                                                     Acrylate/Sodium Acryloyldimethyl Taurate
21
                                                     Copolymer
22                                                   Polysorbate 60
     Oh K! - Pomegranate Hydrogel Mask | Ulta        Polysorbate 20
23   Beauty
24   OLEHENRIKSEN - Balancing Force Oil              Polysorbate 20
     Control Toner | Ulta Beauty                     Phenoxyethanol
25   OLEHENRIKSEN - Banana Banana Bright             Phenoxyethanol
26   Vitamin CC Sticks for Dark Circles | Ulta
     Beauty
27   OLEHENRIKSEN - Banana Bright 15%                Phenoxyethanol
     Vitamin C Dark Spot Serum | Ulta Beauty         Acrylates/C10-30 Alkyl Acrylate
28
                                                     Crosspolymer

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 1
                      Product                               Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3                                                 Sodium Polyacrylate
     OLEHENRIKSEN - Banana Bright Mineral          Polysorbate 80
 4
     Face Sunscreen SPF 30 | Ulta Beauty
 5   OLEHENRIKSEN - Banana Bright+ Instant         Steareth-21
     Glow Moisturizer with Vitamin C and           Hydroxyethyl Acrylate/Sodium
 6   Niacinamide | Ulta Beauty                     Acryloyldimethyl Taurate Copolymer
 7                                                 Ammonium Acryloyldimethyltaurate/VP
                                                   Copolymer
 8                                                 Polysorbate 60
                                                   Phenoxyethanol
 9
     OLEHENRIKSEN - Barrier Booster Vitamin        Acrylates/C10-30 Alkyl Acrylate
10   C Milky Toner Essence with Niacinamide |      Crosspolymer
     Ulta Beauty                                   Phenoxyethanol
11   OLEHENRIKSEN - C-Rush Brightening             Ammonium
12   Vitamin C Gel Crème | Ulta Beauty             Acryloyldimethyltaurate/Beheneth-25
                                                   Methacrylate Crosspolymer
13                                                 Phenoxyethanol
                                                   Sodium Polyacrylate
14
     OLEHENRIKSEN - Cold Plunge Pore               Polysorbate 60
15   Remedy Moisturizer with BHA/LHA | Ulta        Phenoxyethanol
     Beauty                                        Acrylates/C10-30 Alkyl Acrylate
16                                                 Crosspolymer
17                                                 Sodium Polyacrylate Starch
     OLEHENRIKSEN - Dewtopia 25% AHA +             Hydroxyethyl Acrylate/Sodium
18   PHA Flash Facial Exfoliating Face Mask |      Acryloyldimethyl Taurate Copolymer
     Ulta Beauty                                   Polysorbate 60
19
                                                   Phenoxyethanol
20   OLEHENRIKSEN - Dewtopia 5% AHA                Steareth-20
     Firming Night Crème | Ulta Beauty             Polysorbate 60, Polysorbate 80, PEG-75
21                                                 Stearate
22                                                 Phenoxyethanol
     OLEHENRIKSEN - Double Rewind Pro-             Sodium Polyacrylate
23   Grade 0.3% Retinol for Fine Lines &           Hydroxyethyl Acrylate/Sodium
     Wrinkles | Ulta Beauty                        Acryloyldimethyl Taurate Copolymer
24
                                                   Polysorbate 20
25                                                 Polysorbate 60
                                                   Phenoxyethanol
26   OLEHENRIKSEN - Find Your Balance Oil          Phenoxyethanol
27   Control Cleanser | Ulta Beauty                Laureth-4
     OLEHENRIKSEN - Glow Strong Mini               Polysorbate 60
28   Moisturizer + Eye Cream Duo | Ulta Beauty

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 1
                       Product                              Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3                                                  Acrylates/C10-30 Alkyl Acrylate
                                                    Crosspolymer
 4
                                                    Polysorbate 20
 5                                                  Ammonium
                                                    Acryloyldimethyltaurate/Beheneth-25
 6                                                  Methacrylate Crosspolymer
 7
                                                    Phenoxyethanol
 8   OLEHENRIKSEN - Glow2OH 7% AHA                  Polysorbate 20
     Exfoliating Dark Spot Toner | Ulta Beauty      Phenoxyethanol
 9
     OLEHENRIKSEN - Let's Get Luminous+             Phenoxyethanol
10   Brightening Essentials Set | Ulta Beauty       PEG-12 Dimethicone
                                                    Polysorbate 60
11                                                  Sodium Benzotriazolyl Butylphenol Sulfonate
12   OLEHENRIKSEN - Mini 10% AHA                    Polysorbate 80
     Lemonade Smoothing Scrub | Ulta Beauty         Phenoxyethanol
13   OLEHENRIKSEN - Mini Glow2OH 7%                 Polysorbate 20
     AHA Exfoliating Dark Spot Toner | Ulta         Phenoxyethanol
14
     Beauty
15   OLEHENRIKSEN - Mini Strength Trainer           Polysorbate 60
     Peptide Boost Moisturizer with Niacinamide |   Acrylates/C10-30 Alkyl Acrylate
16   Ulta Beauty                                    Crosspolymer
17                                                  Polysorbate 20
                                                    Ammonium
18                                                  Acryloyldimethyltaurate/Beheneth-25
                                                    Methacrylate Crosspolymer
19

20                                                  Phenoxyethanol
     OLEHENRIKSEN - Mini Truth Juice Daily          Acrylates/Beheneth-25 Methacrylate
21   Cleanser with PHA | Ulta Beauty                Copolymer
22                                                  Phenoxyethanol
     OLEHENRIKSEN - Strength Trainer Skin           Polysorbate 60
23   Barrier Moisturizer with Peptides | Ulta       Acrylates/C10-30 Alkyl Acrylate
     Beauty                                         Crosspolymer
24
                                                    Polysorbate 20
25                                                  Ammonium
                                                    Acryloyldimethyltaurate/Beheneth-25
26                                                  Methacrylate Crosspolymer
27
                                                    Phenoxyethanol
28

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 1
                        Product                               Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3   OLEHENRIKSEN - The Glow Cycle                    Phenoxyethanol
     Skincare Set | Ulta Beauty                       Acrylates/C10-30 Alkyl Acrylate
 4
                                                      Crosspolymer
 5                                                    Sodium Polyacrylate
     OLEHENRIKSEN - Truth Juice Gentle Glow           Acrylates/Beheneth-25 Methacrylate
 6   Daily Cleanser | Ulta Beauty                     Copolymer
 7                                                    Phenoxyethanol
     OLEHENRIKSEN - Truth Serum Hydrating             Phenoxyethanol
 8   Vitamin C Serum | Ulta Beauty                    PEG-12 Dimethicone
                                                      Polysorbate 60
 9
                                                      Sodium Benzotriazolyl Butylphenol Sulfonate
10   OSEA - Dream Night Cream | Ulta Beauty           Phenoxyethanol
     OSEA - Hyaluronic Acid Body Serum | Ulta         Ammonium Acryloyldimethyltaurate/VP
11   Beauty                                           Copolymer
12                                                    Phenoxyethanol
     Pacifica - 02 Kind Tint Tinted Serum | Ulta      Phenoxyethanol
13   Beauty
     Pacifica - Comfort Space Skinflammation          Phenoxyethanol
14
     Mask | Ulta Beauty
15   Pacifica - Dreamlit Glow Undereye                Phenoxyethanol
     Brightener | Ulta Beauty
16   Pacifica - Dreamlit Illuminating Lotion | Ulta   Phenoxyethanol
17   Beauty
     Pacifica - Eye Bright Undereye Vitamin C         Phenoxyethanol
18   Spot Serum Mask | Ulta Beauty
19   Pacifica - Flower Fix Oil Serum | Ulta Beauty    Phenoxyethanol
     Pacifica - Future Youth Foaming Cleansing        Phenoxyethanol
20   Gel | Ulta Beauty
     Pacifica - Future Youth Gravity Rebound          Phenoxyethanol
21
     Serum | Ulta Beauty
22   Pacifica - Future Youth Moisturizing Super       Phenoxyethanol
     Cream | Ulta Beauty
23   Pacifica - Future Youth Time Shift Eye           Phenoxyethanol
24   Serum | Ulta Beauty

25   Pacifica - Future Youth Time Shift Hydrogel      Phenoxyethanol
     Facial Mask | Ulta Beauty
26   Pacifica - Glow Baby Brightening Face Wash       Phenoxyethanol
     | Ulta Beauty
27

28

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 1
                       Product                              Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3   Pacifica - Glow Baby Enzyme Face Scrub         Phenoxyethanol
     with Vitamin C & Glycolic Acid | Ulta
 4
     Beauty
 5   Pacifica - Glow Baby VitaGlow Face Lotion      Phenoxyethanol
     with Vitamin C | Ulta Beauty
 6   Pacifica - Glow Baby Vitamin C Booster         Phenoxyethanol
 7   Serum | Ulta Beauty
     Pacifica - Hydrodew Slime Barrier Care Gel |   Phenoxyethanol
 8   Ulta Beauty
     Pacifica - Kale Detox Pore Strips for Nose     Phenoxyethanol
 9
     Blackheads | Ulta Beauty
10   Pacifica - Stress Rehab Coconut & Caffeine     Phenoxyethanol
     Facial Mask | Ulta Beauty
11   Pacifica - Sunny Glow Bronzing Drops | Ulta    Phenoxyethanol
12   Beauty
     Pacifica - Vegan Ceramide Hydration Under      Phenoxyethanol
13   Eye & Smile Line Jelly Patches | Ulta Beauty
14   Pacifica - Vegan Collagen Complex Face         Phenoxyethanol
     Serum with Hyaluronic Acid | Ulta Beauty
15   Pacifica - Vegan Collagen Hydrate & Plump      Phenoxyethanol
     Face Mask | Ulta Beauty
16
     Pacifica - Vegan Collagen Hydrating Milk       Polysorbate 20
17   Tonic | Ulta Beauty                            Phenoxyethanol
     Pacifica - Vegan Collagen Hydro-Treatment      Phenoxyethanol
18   Eye & Smile Line Patches | Ulta Beauty
19   Pacifica - Vegan Collagen Overnight            Phenoxyethanol
     Recovery Cream | Ulta Beauty
20   Pacifica - Vegan Collagen Recovery Eye         Phenoxyethanol
     Cream | Ulta Beauty
21
     Pacifica - Wake Up Beautiful Overnight         Phenoxyethanol
22   Retinoid Cream | Ulta Beauty
     Patchology - 5 pair FlashPatch Rejuvenating    Sodium Polyacrylate
23   Eye Gels | Ulta Beauty                         Polysorbate 20
24                                                  Phenoxyethanol
     Patchology - 5 pair Serve Chilled Bubbly       Polysorbate 20
25   Brightening Eye Gels | Ulta Beauty
     Patchology - All Eyes On You Eye Perfecting    Phenoxyethanol
26
     Trio | Ulta Beauty                             Sodium Polyacrylate
27                                                  Polysorbate 20
     Patchology - Breakout Box 3-in-1 Acne          Phenoxyethanol
28   Treatment Kit | Ulta Beauty                    Polysorbate 80

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 1
                       Product                                  Ingredients Prohibited by
 2                                                            Ulta’s “Made Without List™”
 3   Patchology - Lip Service Gloss-To Balm            Phenoxyethanol
     Treatment | Ulta Beauty
 4
     Patchology - On The Fly Travel Facial Kit |       PEG-60 Hydrogenated Castor
 5   Ulta Beauty                                       Phenoxyethanol
     Patchology - Travel Size FlashPatch               Sodium Polyacrylate
 6   Rejuvenating Eye Gels | Ulta Beauty               Polysorbate 20
 7                                                     Phenoxyethanol
     Patchology - Travel Size FlashPatch               Phenoxyethanol
 8   Restoring Night Eye Gels | Ulta Beauty            Sodium Polyacrylate
                                                       Polysorbate 20
 9
     Patchology - Travel Size Serve Chilled            Polysorbate 20
10   Bubbly Brightening Eye Gels | Ulta Beauty
     Patchology - Travel Size Serve Chilled Rosé       Polysorbate 20
11   Hydrating Eye Gels | Ulta Beauty
12   Peace Out - 2% Salicylic Acid Acne Gel            Phenoxyethanol
     Cleanser | Ulta Beauty
13   Peace Out - Daily Blemish Repairing               Hydroxyethyl Acrylate/Sodium
     Moisturizer | Ulta Beauty                         Acryloyldimethyl Taurate Copolymer
14
                                                       Polysorbate 60
15                                                     Phenoxyethanol.
     Peace Out - Pore Perfecting AHA &                 Phenoxyethanol
16   Blackhead Exfoliator Stick | Ulta Beauty
17   Peace Out - Puffy Eyes Biocellulose Under-        Polysorbate 20
     Eye Patches | Ulta Beauty
18   Peace Out - Retinol Eye Stick with                Phenoxyethanol
19   Encapsulated Retinol & Peptides | Ulta
     Beauty
20   PEACH & LILY - Super Reboot Resurfacing           Phenoxyethanol
     Mask | Ulta Beauty
21
     Peach Slices - 3-Step Acne Starter Kit | Ulta     Phenoxyethanol
22   Beauty
     Peach Slices - Dark Spot Microdarts | Ulta        Phenoxyethanol
23   Beauty
24   Peach Slices - Redness Relief Color               Aluminum Hydroxide
     Correcting Moisturizer | Ulta Beauty
25   Peach Slices - Snail Rescue All-In-One Oil        Phenoxyethanol
     Free Moisturizer | Ulta Beauty
26
     Petite n Pretty - $ell Out Glo$ Balm Glossy       Polyethylene
27   Lip Balm for Tweens | Ulta Beauty                 Hydrogenated Styrene/Isoprene Copolymer
     Petite n Pretty - 9021-Glow! Fresh Start          Polysorbate 20
28   Moisturizer | Ulta Beauty                         PEG-100 Stearate

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 1
                     Product                            Ingredients Prohibited by
 2                                                    Ulta’s “Made Without List™”
 3                                                Acrylates/C10-30 Alkyl Acrylate
                                                  Crosspolymer
 4
     Philosophy - 2.0 oz Hope In A Jar Smooth-    Hydroxyethyl Acrylate/Sodium
 5   Glow Multi-Tasking Moisturizer | Ulta        Acryloyldimethyl Taurate Copolymer
     Beauty                                       Ceteareth-20
 6                                                Ammonium Acryloyldimethyltaurate/VP
 7                                                Copolymer
                                                  Acrylates/C10-30 Alkyl Acrylate
 8                                                Crosspolymer
                                                  Polysorbate 60
 9
     Philosophy - 8.0 oz Purity Made Simple One- Sodium Trideceth Sulfate
10   Step Facial Cleanser | Ulta Beauty           PEG-120 Methyl Glucose Dioleate
                                                  Phenoxyethanol
11                                                Polysorbate 20
12   Philosophy - Anti-Wrinkle Miracle Worker+    Phenoxyethanol
     Line Correcting Eye Cream | Ulta Beauty      PEG-6 Isostearate
13                                                PEG-8
     Philosophy - Anti-Wrinkle Miracle Worker+    Hydroxyethyl Acrylate/Sodium
14
     Line Correcting Overnight Cream | Ulta       Acryloyldimethyl Taurate Copolymer
15   Beauty                                       PEG-100 Stearate
                                                  Polysorbate 60
16                                                PEG-8
17                                                Phenoxyethanol
                                                  Polysorbate 20
18   Philosophy - Anti-Wrinkle+ Miracle Worker    PEG/PPG-18/18 Dimethicone
     Line Correcting Mini Moisturizer | Ulta      Phenoxyethanol
19
     Beauty                                       Polysorbate 20
20                                                PEG-8
     Philosophy - Clear Days Ahead Oil-Free       Ceteareth-20
21   Salicylic Acid Acne Treatment & Moisturizer Polysorbate 60
22   | Ulta Beauty                                Hydroxyethyl Acrylate/Sodium
                                                  Acryloyldimethyl Taurate Copolymer
23   Philosophy - Dose of Wisdom Bouncy Skin      Hydroxyethyl Acrylate/Sodium
     Reactivating Serum | Ulta Beauty             Acryloyldimethyl Taurate Copolymer
24
                                                  Polysorbate 60
25                                                PEG-8
     Philosophy - Hope In A Jar Instant Glow      PEG-8
26   Peeling Mousse | Ulta Beauty                 PEG-7 Glyceryl Cocoate
27                                                Propylene Glycol
     Philosophy - Hope In A Jar Skin-Resurrection Hydroxyethyl Acrylate/Sodium
28   Overnight Power Hydrator | Ulta Beauty       Acryloyldimethyl Taurate Copolymer

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 1
                       Product                                Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3                                                   PEG-100 Stearate
                                                     Ammonium Acryloyldimethyltaurate/VP
 4
                                                     Copolymer
 5                                                   Polysorbate 60
     Philosophy - Hope In A Jar Smooth-Glow          Ammonium Acryloyldimethyltaurate/VP
 6   Multi-Tasking Moisturizer SPF 30 | Ulta         Copolymer
 7   Beauty                                          Ceteareth-20
                                                     Polysorbate 20
 8   Philosophy - Microdelivery Resurfacing          Polysorbate 20
     Solution with 4% AHA's, Cica and Vitamin C
 9
     | Ulta Beauty
10   Philosophy - Mini Hope In A Jar Smooth-         Hydroxyethyl Acrylate/Sodium
     Glow Multi-Tasking Moisturizer | Ulta           Acryloyldimethyl Taurate Copolymer
11   Beauty                                          Ceteareth-20
12                                                   Ammonium Acryloyldimethyltaurate/VP
                                                     Copolymer
13                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
14
                                                     Polysorbate 60
15   Philosophy - Mini Hope In A Jar Water           Ammonium
     Cream Hyaluronic Glow Moisturizer | Ulta        Acryloyldimethyltaurate/Beheneth-25
16   Beauty                                          Methacrylate Crosspolymer
17
                                                     Sodium Polyacrylate Starch
18                                                   Laureth-3
     Philosophy - Mini Purity Made Simple One-       Sodium Trideceth Sulfate
19
     Step Facial Cleanser | Ulta Beauty              PEG-120 Methyl Glucose Dioleate
20                                                   Phenoxyethanol
                                                     Polysorbate 20
21   Philosophy - Mini The Microdelivery             Polysorbate 20
22   Exfoliating Facial Wash | Ulta Beauty           Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
23                                                   Polysorbate 60
     Philosophy - Purity Made Simple Pore            Propylene Glycol
24
     Extractor Exfoliating Clay Mask | Ulta          Laureth-12
25   Beauty                                          Phenoxyethanol
     Philosophy - Purity Made Simple Pore            Propylene Glycol
26   Extractor Exfoliating Mini Clay Mask | Ulta     Laureth-12, Phenoxyethanol, Geraniol,
27   Beauty                                          Vanillyl Butyl Ether, Ethylhexylglycerin,
                                                     Titanium Dioxide (CI 77891).
28

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 1
                        Product                                Ingredients Prohibited by
 2                                                           Ulta’s “Made Without List™”
 3   Philosophy - Purity Made Simple Pore             Polysorbate 20
     Minimizing Serum | Ulta Beauty                   Polysorbate 60
 4
     Philosophy - Purity Made Simple Pore             Polysorbate 20
 5   Purifying Foam Cleanser | Ulta Beauty
     Polite Society - Pink Grapefruit Polite Pout     Ethylene/propylene/styrene Copolymer
 6   Glossy Lip Balm | Ulta Beauty                    Butylene/ethylene/styrene Copolymer
 7                                                    Phenoxyethanol
     Proactiv - ProactivClean 2-Step Beginner         Phenoxyethanol
 8   Breakouts Bundle | Ulta Beauty
     Proactiv - ProactivClean 3-Step Mild Acne-       Phenoxyethanol
 9
     Fighting Treatment Routine | Ulta Beauty
10   Proactiv - ProactivClean Acne Clearing           Acrylates/C10-30 Alkyl Acrylate
     Hydrator | Ulta Beauty                           Crosspolymer
11                                                    Phenoxyethanol
12   Proactiv - ProactivClean Mineral Acne            Phenoxyethanol
     Cleanser | Ulta Beauty
13   PROVENCE Beauty - Masked Out French              Polysorbate 20
     Green Clay Mask | Ulta Beauty
14
     PÜR - Ceretin Boost Age Defying Retinol          Acrylates/C10-30 Alkyl Acrylate
15   Serum | Ulta Beauty                              Crosspolymer
                                                      Ethylene/propylene/styrene Copolymer
16                                                    Phenoxyethanol
17   PÜR - Cloud Cream Gel-to-Water Hydrating         Propylene Glycol
     Essence Moisturizer | Ulta Beauty                PEG-10 Dimethicone
18                                                    Phenoxyethanol
19   PÜR - Joystick Exfoliating Deep Pore Clay        PHENOXYETHANOL
     Cleansing Stick | Ulta Beauty
20   PÜR - Mellow Eyes Hemp Hydrogel                  Phenoxyethanol, PEG-60 Hydrogenated
     Rejuvenating Eye Patches | Ulta Beauty           Castor Oil
21
     PÜR - Tone Up Niacinamide Firming Eye            Ammonium Acryloyldimethyltaurate/VP
22   Serum | Ulta Beauty                              Copolymer Phenoxyethanol
     PÜR - Tropical C Brightening Vitamin C &         Phenoxyethanol
23   Peptide Moisturizer | Ulta Beauty
24   r.e.m. beauty - Mist Thing Calming Face Mist     Polysorbate 20
     | Ulta Beauty                                    Phenoxyethanol
25                                                    Propylene Glycol
                                                      PEG-32
26
     Rael - Collagen Facial Sheet Mask | Ulta         Polysorbate 80
27   Beauty
     Rael - Cycle Synched Facial Mask Kit | Ulta      Polysorbate 80
28   Beauty

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 1
                       Product                                 Ingredients Prohibited by
 2                                                           Ulta’s “Made Without List™”
 3   Rael - Hydration Facial Sheet Mask | Ulta        Polysorbate 80
     Beauty
 4
     Rael - Miracle Clear Barrier Cream | Ulta        Hydroxyethyl Acrylate/Sodium
 5   Beauty                                           Acryloyldimethyl Taurate Copolymer
                                                      Poly C10-30 Alkyl Acrylate
 6                                                    Glyceryl Acrylate/Acrylic Acid Copolymer
 7   Rael - Miracle Clear Retinol Chin Mask Set |     Polysorbate 20
     Ulta Beauty
 8   Rael - Tea Tree Facial Sheet Mask | Ulta         Polysorbate 80
     Beauty
 9
     Rael - Vitamin C Facial Sheet Mask | Ulta        Polysorbate 80
10   Beauty
     Sacheu - We Occlusive Intense Overnight          Polysorbate 60
11   Moisturizer | Ulta Beauty                        Ammonium Acryloyldimethyltaurate/VP
12                                                    Copolymer
                                                      Phenoxyethanol
13   St. Tropez - 1.69 oz Self Tan Berry Sorbet       PPG-5-Ceteth-20
     Bronzing Mousse | Ulta Beauty                    Propylene Glycol
14
                                                      Phenoxyethanol
15   St. Tropez - 4.0 oz Self Tan Classic Bronzing    PPG-5-Ceteth-20
     Mousse | Ulta Beauty                             Propylene Glycol
16                                                    Phenoxyethanol
17   St. Tropez - Ashley Graham Golden Getaway        PPG-5-Ceteth-20
     Self Tan Kit | Ulta Beauty                       Phenoxyethanol
18   St. Tropez - Award Winning 3 Piece Self Tan      Ceteareth-20
     Kit | Ulta Beauty                                Phenoxyethanol
19
     St. Tropez - Gradual Tan Classic Daily Youth     Ceteareth-20
20   Boosting Cream | Ulta Beauty                     Phenoxyethanol
     St. Tropez - Gradual Tan Tinted Daily            Ceteareth-20
21
     Firming Body Lotion | Ulta Beauty                Phenoxyethanol
22   St. Tropez - Gradual Tan Watermelon              Ceteareth-20
     Firming Lotion | Ulta Beauty                     Phenoxyethanol
23   St. Tropez - Luxe Body Self Tan Serum | Ulta     Polysorbate 20
24   Beauty                                           Phenoxyethanol
     St. Tropez - Luxe Self Tan Tonic Glow Drops      PPG-5-Ceteth-20
25   | Ulta Beauty                                    Phenoxyethanol
     St. Tropez - Luxe Whipped Self Tan Crème         PEG-12 Dimethicone
26
     Mousse | Ulta Beauty                             PEG-40 Hydrogenated Castor Oil
27                                                    Steareth-21
                                                      Ceteareth-25
28                                                    Phenoxyethanol

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 1
                        Product                                 Ingredients Prohibited by
 2                                                            Ulta’s “Made Without List™”
 3                                                     Steareth-2
     St. Tropez - Medium / Dark Gradual Tan            Ceteareth-20
 4
     Classic Daily Firming Lotion | Ulta Beauty        Phenoxyethanol
 5   St. Tropez - Medium / Dark Instant Glow           Hydroxyethyl Acrylate/Sodium
     Face & Body Bronzer Makeup | Ulta Beauty          Acryloyldimethyl Taurate Copolymer
 6                                                     Phenoxyethanol
 7                                                     Polysorbate 60
     St. Tropez - Self Tan Classic Bronzing Lotion     PEG-100 Stearate
 8   | Ulta Beauty                                     Phenoxyethanol
                                                       Ceteareth-20
 9
     St. Tropez - Self Tan Classic Mini Kit | Ulta     PPG-5-Ceteth-20
10   Beauty                                            Propylene Glycol
                                                       Phenoxyethanol
11   St. Tropez - Self Tan Dark Bronzing Mousse |      Propylene Glycol
12   Ulta Beauty                                       PPG-5-Ceteth-20
                                                       Phenoxyethanol
13   St. Tropez - Self Tan Express Bronzing Mist |     PEG-40 Hydrogenated Castor Oil
     Ulta Beauty                                       Propylene Glycol
14
                                                       Phenoxyethanol
15   St. Tropez - Self Tan Express Mini Kit | Ulta     Propylene Glycol
     Beauty                                            PPG-5-Ceteth-20
16                                                     Phenoxyethanol
17   St. Tropez - Self Tan Purity Bronzing Water       PEG-40 Hydrogenated Castor Oil
     Face Mist | Ulta Beauty                           Phenoxyethanol
18   St. Tropez - Self Tan Purity Bronzing Water       Phenoxyethanol
     Mousse | Ulta Beauty
19
     St. Tropez - Self Tan Purity Mini Kit | Ulta      Phenoxyethanol
20   Beauty
     St. Tropez - Self Tan Suprême Violet              PPG-5-Ceteth-20
21
     Bronzing Mousse | Ulta Beauty                     Phenoxyethanol
22   St. Tropez - Tan Optimiser Body Moisturiser       Propylene Glycol
     | Ulta Beauty                                     Phenoxyethanol
23   St. Tropez - Tan Remover Prep and Maintain        Polysorbate 20
24   Mousse | Ulta Beauty                              Phenoxyethanol
     StriVectin - 1.0 oz Intensive Eye Concentrate     PEG-100 Stearate
25   For Wrinkles PLUS | Ulta Beauty                   Polysorbate 80
                                                       Polymethyl Methacrylate
26
                                                       Phenoxyethanol
27   StriVectin - 1.7 oz Advanced Retinol Nightly      Hydroxyethyl Acrylate/Sodium
     Renewal Moisturizer | Ulta Beauty                 Acryloyldimethyl Taurate Copolymer
28                                                     Ceteareth-20

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 1
                       Product                              Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3                                                   Polysorbate 20
                                                     PEG-40 Stearate
 4
                                                     Polysorbate 60
 5                                                   Phenoxyethanol
      StriVectin - 4.0 oz SD Advanced PLUS           Hydroxyethyl Acrylate/Sodium
 6    Intensive Moisturizer | Ulta Beauty            Acryloyldimethyl Taurate Copolymer
 7                                                   PEG-40 Stearate
                                                     Ceteareth-20
 8                                                   Polysorbate 60
      StriVectin - Advanced Retinol Multi-Correct PEG-40 Stearate
 9
      Eye Cream | Ulta Beauty                        Ceteareth-20
10                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
11                                                   Polysorbate 20
12    StriVectin - Anti-Wrinkle Peptide Plump Line Hydroxyethyl Acrylate/Sodium
      Filling Bounce Serum | Ulta Beauty             Acryloyldimethyl Taurate Copolymer
13                                                   Polysorbate 80
                                                     PEG-7 Trimethylolpropane Coconut Ether
14
                                                     Polysorbate 60
15                                                   Acrylates/C10-30 Alkyl Acrylate
                                                     Crosspolymer
16                                                   Phenoxyethanol
17    StriVectin - Crepe Control Tightening Body     PEG-40 Stearate
      Cream | Ulta Beauty                            Ceteareth-20
18                                                   Phenoxyethanol
      StriVectin - Daily Reveal Exfoliating Pads |   Polysorbate 20
19
      Ulta Beauty
20    StriVectin - Hyperlift Eye Instant Eye Fix For Propylene Glycol
      Bags, Lines & Crepiness | Ulta Beauty          Polysorbate 20
21                                                   Phenoxyethanol
22    StriVectin - Mini Intensive Eye Concentrate    PEG-100 Stearate
      For Wrinkles PLUS | Ulta Beauty                Polysorbate 80
23                                                   Polymethyl Methacrylate
                                                     Phenoxyethanol
24
      StriVectin - Multi-Action Hydration            Polysorbate 20
25    Multiplier Hyaluronic Acid Serum | Ulta
      Beauty
26    StriVectin - Peptight 360 Tightening Eye       Polymethyl Methacrylate
27    Serum | Ulta Beauty                            Steareth-20
                                                     Phenoxyethanol
28

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 1
                        Product                                Ingredients Prohibited by
 2                                                           Ulta’s “Made Without List™”
 3    StriVectin - Re-Quench Water Cream               Hydroxyethyl Acrylate/Sodium
      Hyaluronic + Electrolyte Moisturizer | Ulta      Acryloyldimethyl Taurate Copolymer
 4
      Beauty                                           Polysorbate 60
 5                                                     PEG-7 Trimethylolpropane Coconut Ether
                                                       Phenoxyethanol
 6    StriVectin - Super-C Eye Vitamin C Cream |       PEG-100 Stearate
 7    Ulta Beauty                                      Polysorbate 80
      StriVectin - Super-C Night Vitamin C Cream       PEG-40 Stearate
 8    | Ulta Beauty                                    Hydroxyethyl Acrylate/Sodium
                                                       Acryloyldimethyl Taurate Copolymer
 9
                                                       Ceteareth-20
10                                                     Polysorbate 60
      StriVectin - Super-C SPF 30 Vitamin C            Acrylates/C10-30 Alkyl Acrylate
11    Moisturizer | Ulta Beauty                        Crosspolymer
12                                                     Phenoxyethanol
      StriVectin - Travel Size Crepe Control           PEG-40 Stearate
13    Tightening Body Cream | Ulta Beauty              Ceteareth-20
                                                       Phenoxyethanol
14
      StriVectin - Wrinkle Recode Line                 Phenoxyethanol
15    Transforming Melting Serum | Ulta Beauty
      StriVectin - Wrinkle Recode Moisture Rich        Ceteareth-25
16    Barrier Cream | Ulta Beauty                      Steareth-20
17                                                     PEG-75 Stearate,
                                                       Sodium Polyacrylate
18                                                     Phenoxyethanol
      SUNDAY RILEY - 0.5 oz 5 Stars Retinoid &         PEG-12 Dimethicone/PPG-20
19
      Niacinamide Eye Serum | Ulta Beauty              Polysorbate 20
20    SUNDAY RILEY - 1.0 oz C.E.O. 15%                 PEG-8 Beeswax
      Vitamin C Brightening Serum | Ulta Beauty        Phenoxyethanol
21                                                     Hydroxyethyl Acrylate/Sodium
22                                                     Acryloyldimethyl Taurate Copolymer
                                                       Polysorbate 60
23    SUNDAY RILEY - 1.0 oz Good Genes All-            Ceteareth-20
      In-One Lactic Acid Treatment Serum | Ulta        PEG-100 Stearate
24
      Beauty                                           Phenoxyethanol
25    SUNDAY RILEY - 1.7 oz A+ High-Dose               Phenoxyethanol
      Retinoid Serum | Ulta Beauty                     Polysorbate 20
26    SUNDAY RILEY - 1.7 oz C.E.O. Vitamin C           PEG-8 Beeswax
27    Rich Hydration Moisturizing Cream | Ulta         Phenoxyethanol
      Beauty
28

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 1
                        Product                               Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3    SUNDAY RILEY - Auto Correct Brightening         PEG-8 Beeswax
      and Depuffing Eye Cream | Ulta Beauty           Hydroxyethyl Acrylate/Sodium
 4
                                                      Acryloyldimethyl Taurate Copolymer
 5                                                    Phenoxyethanol
                                                      Polysorbate 60
 6    SUNDAY RILEY - B3 Nice 10%                      PEG-8
 7    Niacinamide Serum | Ulta Beauty                 Hydroxyethyl Acrylate/Sodium
                                                      Acryloyldimethyl Taurate Copolymer
 8                                                    Polysorbate 60
                                                      PEG/PPG-18/18 Dimethicone
 9
                                                      Phenoxyethanol
10    SUNDAY RILEY - Ceramic Slip Cleansing           Disodium Laureth Sulfosuccinate
      Gel | Ulta Beauty                               Polyacrylate-33
11                                                    Phenoxyethanol
12    SUNDAY RILEY - Double Your Glow AHA             PEG-8 Beeswax
      + Vitamin C Serum Duo | Ulta Beauty             Hydroxyethyl Acrylate/Sodium
13                                                    Acryloyldimethyl Taurate Copolymer
                                                      Polysorbate 60
14
                                                      Phenoxyethanol
15    SUNDAY RILEY - Flash Fix Good Genes             Ceteareth-20
      and Ceramic Slip 2 Piece Kit | Ulta Beauty      PEG-100 Stearate
16                                                    Phenoxyethanol
17    SUNDAY RILEY - Jewel Box 3 Piece Kit |          Ceteareth-20
      Ulta Beauty                                     PEG-100 Stearate
18                                                    Phenoxyethanol
      SUNDAY RILEY - Mini A+ High-Dose                Cetyl PEG/PPG-10/1 Dimethicone
19
      Retinoid Serum | Ulta Beauty                    Phenoxyethanol
20                                                    Polysorbate 20
      SUNDAY RILEY - Mini C.E.O. Afterglow            Hydroxyethyl Acrylate/Sodium
21    Brightening Vitamin C Cream | Ulta Beauty       Acryloyldimethyl Taurate Copolymer
22
                                                      Ammonium
23                                                    Acryloyldimethyltaurate/Beheneth-25
                                                      Methacrylate Crosspolymer
24
                                                      Phenoxyethanol
25                                                    Polysorbate 60
      SUNDAY RILEY - Mini Good Genes All-In-          Ceteareth-20
26    One Lactic Acid Treatment | Ulta Beauty         PEG-100 Stearate
27                                                    Phenoxyethanol
      SUNDAY RILEY - Pink Drink Firming               Polysorbate 20
28    Resurfacing Essence | Ulta Beauty               Phenoxyethanol

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 1
                        Product                              Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3    SUNDAY RILEY - Power Couple 2 Piece            Ceteareth-20
      Mini Kit | Ulta Beauty                         PEG-100 Stearate
 4
                                                     Phenoxyethanol
 5    SUNDAY RILEY - Saturn Sulfur Spot              Hydroxyethyl Acrylate/Sodium
      Treatment Mask | Ulta Beauty                   Acryloyldimethyl Taurate Copolymer
 6                                                   Polysorbate 20
 7                                                   PEG-40 Hydrogenated Castor Oil
                                                     Phenoxyethanol
 8    Supergoop! - Acai PLAY Lip Balm SPF 30 |       Diethylhexyl 2,6-Naphthalate
      Ulta Beauty
 9
      SweetSpot Labs - Bikini & Body Bump            Phenoxyethanol
10    Eraser Targeted Spot Treatment | Ulta Beauty
      SweetSpot Labs - Replenishing Serum Daily      Ammonium Acryloyldimethyltaurate/VP
11    Intimate Moisturizer | Ulta Beauty             Copolymer
12                                                   Phenoxyethanol
      SweetSpot Labs - Vanilla Blossom Gentle        PEG-40 Hydrogenated Castor Oil
13    Soothing Wipes | Ulta Beauty                   Phenoxyethanol
      TAN-LUXE - Express Water - Hydrating           Propylene Glycol
14
      Self-Tan Water | Ulta Beauty                   PEG-40 Hydrogenated Castor Oil
15                                                   Phenoxyethanol
      TAN-LUXE - Hydrating Express Self Tan          Propylene Glycol
16    Mousse | Ulta Beauty                           PEG-40 Hydrogenated Castor Oil
17                                                   Phenoxyethanol
      TAN-LUXE - Light/Medium THE BODY               Polysorbate 80
18    Mini- Illuminating Self-Tan Drops | Ulta       Phenoxyethanol
      Beauty
19
      TAN-LUXE - Light/Medium THE FACE -             Polysorbate 80
20    Illuminating Self-Tan Drops | Ulta Beauty      Phenoxyethanol
      TAN-LUXE - Light/Medium THE FACE               Polysorbate 80
21    Mini - Illuminating Self-Tan Drops | Ulta      Phenoxyethanol
22    Beauty
      TAN-LUXE - Medium/Dark THE BODY -              Polysorbate 80
23    Illuminating Self-Tan Drops | Ulta Beauty      Phenoxyethanol
24    TAN-LUXE - Super Gloss Instant Bronzing        Phenoxyethanol
      Face Drops with SPF 30 | Ulta Beauty
25    TAN-LUXE - THE BUTTER - Illuminating           Polysorbate 60
      Gradual Tanning Cream | Ulta Beauty            PEG-100 Stearate
26
                                                     Hydroxyethyl Acrylate/Sodium
27                                                   Acryloyldimethyl Taurate Copolymer
                                                     Phenoxyethanol
28

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 1
                        Product                               Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3    TAN-LUXE - THE CRÈME - Advanced                 PEG-100 Stearate
      Hydration Gradual Self-Tan Facial Cream |       Phenoxyethanol
 4
      Ulta Beauty
 5    Tanologist - 6.7 oz Express Self Tan Water    Propylene Glycol
      Medium | Ulta Beauty                          PEG-40 Hydrogenated Castor Oil
 6                                                  Phenoxyethanol
 7    Tanologist - Express Self Tan Water | Ulta    Propylene Glycol
      Beauty                                        PEG-40 Hydrogenated Castor Oil
 8                                                  Phenoxyethanol
      Tanologist - Express Tan 1 Hour Self Tan      Propylene Glycol
 9
      Extra Dark Mousse | Ulta Beauty               PEG-40 Hydrogenated Castor Oil
10                                                  Phenoxyethanol
      Tanologist - Extra Dark Self Tan Drops | Ulta Propylene Glycol
11    Beauty                                        PEG-40 Hydrogenated Castor Oil
12                                                  Phenoxyethanol
      Tanologist - Insta Glow Illuminating Body     Propylene Glycol
13    Bronzer | Ulta Beauty                         Laureth-7
                                                    PEG-40 Hydrogenated Castor Oil
14
                                                    Phenoxyethanol
15    Tanologist - Insta Glow Illuminating Face     Propylene Glycol
      Bronzer | Ulta Beauty                         Laureth-7
16                                                  PEG-40 Hydrogenated Castor Oil
17                                                  Phenoxyethanol
      Tanologist - Medium Express Self Tan          Propylene Glycol
18    Mousse | Ulta Beauty                          PEG-40 Hydrogenated Castor Oil
                                                    Phenoxyethanol
19
      Tanologist - Medium Face + Body Self Tan      Polysorbate 80
20    Drops | Ulta Beauty                           Phenoxyethanol
      Tanologist - Medium to Dark Daily Glow -      PEG-100 Stearate
21    Brightening Gradual Tan Lotion | Ulta Beauty Polysorbate 60
22                                                  Phenoxyethanol
      Tanologist - Medium to Dark Daily Glow -      PEG-100 Stearate
23    Firming Gradual Tanning Lotion | Ulta         Polysorbate 60
      Beauty                                        Hydroxyethyl Acrylate/Sodium
24
                                                    Acryloyldimethyl Taurate Copolymer
25                                                  Phenoxyethanol
      Tarte - Medium-Tan Amazonian Clay BB          PEG/PPG-18/18 Dimethicone
26    Tinted Moisturizer Broad Spectrum SPF 20 |    Aluminum Hydroxide
27    Ulta Beauty                                   Phenoxyethanol
      Tarte - Travel Size Maracuja C-Brighter Eye   Sodium Polyacrylate
28    Treatment | Ulta Beauty                       Phenoxyethanol

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 1
                        Product                              Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3                                                   Sodium Acrylate/Sodium Acryloyldimethyl
                                                     Taurate Copolymer
 4
                                                     Polysorbate 80
 5    TATCHA - The Essence Skincare Boosting         Phenoxyethanol
      Treatment | Ulta Beauty
 6    Thayers - 2% AHA Exfoliating, Smoothing        Propylene Glycol
 7    and Pore Refining Toner | Ulta Beauty          Phenoxyethanol
      Thayers - Blemish Clearing Cleanser with       Propylene Glycol
 8    1.5% Salicylic Acid | Ulta Beauty              Phenoxyethanol
      Thayers - Blemish Clearing Toner with 2%       Phenoxyethanol
 9
      Salicylic Acid | Ulta Beauty
10    Thayers - Let's Be Clear Water Cream for       Propylene Glycol
      Combination to Oily Skin | Ulta Beauty         Hydroxyethyl Acrylate/Sodium
11                                                   Acryloyldimethyl Taurate Copolymer
12                                                   Polysorbate 60
                                                     Phenoxyethanol
13    Thayers - Rapid Acne Spot Treatment with       CETEARETH-20
      Niacinamide and 10% Sulfur | Ulta Beauty       PEG-100 STEARATE
14
                                                     LAURETH-7
15    Thayers - Rose Petal Alcohol-Free Witch        Phenoxyethanol
      Hazel Facial Toner | Ulta Beauty
16    Thayers - Soak It Up 80HR Liquid               PEG/PPG/Polybutylene Glycol-8/5/3
17    Moisturizer for Normal to Dry Skin | Ulta      Glycerin
      Beauty                                         Phenoxyethanol
18    TONYMOLY - Peach I Am Sheet Mask |             PEG-60 Hydrogenated Castor Oil
      Ulta Beauty
19
      TONYMOLY - Tako Pore Blackhead Scrub           PEG-20 Glyceryl Triisostearate
20    Stick | Ulta Beauty                            PEG-8
                                                     Phenoxyethanol
21
      Truly - Acai Your Boobies Boob Butter | Ulta   Phenoxyethanol
22    Beauty
      Truly - Acai Your Boobies Boob Polish | Ulta   Phenoxyethanol
23    Beauty
24    Truly - Acai Your Boobies Boob Serum | Ulta    Phenoxyethanol
      Beauty                                         Propylene Glycol
25    Truly - Anti Cellulite Resurfacing Body        Phenoxyethanol
      Serum | Ulta Beauty
26
      Truly - Anti-Cellulite Body Polish | Ulta      Propylene Glycol
27    Beauty                                         Phenoxyethanol
      Truly - Black Jelly Blemish Treatment Body     Phenoxyethanol
28    Serum | Ulta Beauty

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 1
                        Product                               Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3    Truly - Buns Of Glowry Tighten & Glow           Phenoxyethanol
      Butt Serum | Ulta Beauty                        Propylene Glycol
 4
      Truly - Buns Of Glowry Tighten & Glow           Phenoxyethanol
 5    Smoothing Butt Polish | Ulta Beauty             Propylene Glycol
      Truly - Cake Maker Tightening Butt & Leg        Phenoxyethanol
 6    Serum | Ulta Beauty
 7    Truly - Cherry Jelly Anti-Bacne Body            Polysorbate 20
      Cleanser | Ulta Beauty                          Phenoxyethanol
 8    Truly - Dulce De Leches Firming Boob &          Phenoxyethanol
      Belly Serum | Ulta Beauty
 9
      Truly - Glass Skin Cleansing Balm | Ulta        Phenoxyethanol.
10    Beauty
      Truly - Glass Skin Facial Serum | Ulta Beauty   Phenoxyethanol
11                                                    Hydroxyethyl Acrylate/Sodium
12                                                    Acryloyldimethyl Taurate Copolymer
                                                      Polysorbate 60
13    Truly - Glazed Donut Facial Glow Cream |        Phenoxyethanol
      Ulta Beauty
14
      Truly - Jelly Booster Pigment Treatment         Phenoxyethanol
15    Body Potion | Ulta Beauty
      Truly - Sun Drops Bronze Body Glow | Ulta       Ethylene/propylene/styrene Copolymer
16
      Beauty                                          Butylene/ethylene/styrene Copolymer
17                                                    Phenoxyethanol.
      Truly - Unicorn Fruit Lip Plumping Balm |       Phenoxyethanol
18    Ulta Beauty
19    TULA - #NoMakeup Replenishing Cleansing         PEG-20 Glyceryl Triisostearate
      Oil | Ulta Beauty                               Phenoxyethanol.
20    TULA - 24-7 Moisture Fragrance Free             PEG-100 Stearate
      Hydrating Day & Night Cream | Ulta Beauty       Phenoxyethanol
21
      TULA - 24-7 Power Swipe Hydrating Day &         Polyethylene
22    Night Treatment Eye Balm | Ulta Beauty          Polymethyl Methacrylate
                                                      Phenoxyethanol,
23    TULA - 3.0 oz Secret Solution Pro-Glycolic      Polysorbate 20
24    10% Resurfacing Toner | Ulta Beauty             Phenoxyethanol
      TULA - 3.4 oz 24-7 Moisture Hydrating Day       PEG-100 Stearate
25    & Night Cream | Ulta Beauty                     Phenoxyethanol
      TULA - 6.7 oz The Cult Classic Purifying        Disodium Laureth Sulfosuccinate
26
      Face Cleanser | Ulta Beauty                     Disteareth-75 IPDI
27                                                    Polysorbate 20
                                                      Hydroxyethyl Acrylate/Sodium
28                                                    Acryloyldimethyl Taurate Copolymer

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 1
                        Product                              Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3                                                  PEG-120 Methyl Glucose Dioleate
                                                    Styrene/Acrylates Copolymer
 4
                                                    Phenoxyethanol
 5    TULA - Antioxidant Water Purifying Toner      Phenoxyethanol
      Face Mist | Ulta Beauty
 6    TULA - Beauty Sleep Overnight Repair          PEG-100 Stearate
 7    Treatment | Ulta Beauty                       Sodium Acrylate/Sodium Acryloyldimethyl
                                                    Taurate Copolymer, Polystyrene
 8                                                  PEG-40 Hydrogenated Castor Oil
                                                    Ammonium Acryloyldimethyltaurate/VP
 9
                                                    Copolymer
10                                                  Polysorbate 80
                                                    Phenoxyethanol
11    TULA - Bedtime Bright Vita-Charge             Sodium Polyacrylate Starch
12    Overnight Brightening Treatment | Ulta        Acrylates/C10-30 Alkyl Acrylate
      Beauty                                        Crosspolymer
13                                                  Ammonium Acryloyldimethyltaurate/VP
                                                    Copolymer Phenoxyethanol
14
      TULA - Breakout Breakthrough Acne             Polysorbate 20
15    Maximum Strength Biodegradable Toner
      Pads | Ulta Beauty
16    TULA - Breakout Star Acne Moisturizer |       Polysorbate 20
17    Ulta Beauty                                   Hydroxyethyl Acrylate/Sodium
                                                    Acryloyldimethyl Taurate Copolymer
18
                                                    Phenoxyethanol
19
      TULA - Bright Start Vitamin C Antioxidant     Phenoxyethanol
20    Brightening Moisturizer | Ulta Beauty
      TULA - Claycation Detoxing & Toning Face      Phenoxyethanol
21    Mask Stick | Ulta Beauty
22    TULA - Clear Skin Starters Travel-Size Acne   Disodium Laureth Sulfosuccinate
      & Blemish Fighting Kit Keep It Clear Acne     Phenoxyethanol
23    Foam Cleanser | Ulta Beauty
      TULA - Detox in a Jar Exfoliating Treatment   Phenoxyethanol
24
      Mask | Ulta Beauty
25    TULA - Glow Starts Here Bestselling Skin      The Cult Classic Purifying Face Cleanser:
      Essentials Kit | Ulta Beauty                  Disodium Laureth Sulfosuccinate
26                                                  Glycereth-7 Caprylate/Caprate
27                                                  Disteareth-75 IPDI
                                                    Phenoxyethanol
28

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 1
                       Product                               Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3                                                   So Polished Sugar:
                                                     Propylene Glycol
 4
                                                     PEG-7 Glyceryl Cocoate
 5                                                   Phenoxyethanol

 6                                                   Resurfacing Toner:
 7                                                   Polysorbate 20
                                                     Phenoxyethanol
 8
                                                     It Eye Balm:
 9                                                   Phenoxyethanol
10
                                                     24-7 Moisture Day & Night Cream:
11                                                   Phenoxyethanol
      TULA - Gold Glow + Get It Cooling &            Phenoxyethanol
12
      Brightening Eye Balm | Ulta Beauty
13    TULA - H2Oasis Instant Skin Reviving Mask      Polysorbate 80
      | Ulta Beauty                                  Phenoxyethanol
14
      TULA - Instant De-Puff Eye Renewal Serum       Ammonium Acryloyldimethyltaurate/VP
15    | Ulta Beauty                                  Copolymer
                                                     Acrylates/C10-30 Alkyl Acrylate
16                                                   Crosspolymer
17                                                   Phenoxyethanol
      TULA - Keep It Clear Acne Foam Cleanser |      Disodium Laureth Sulfosuccinate
18    Ulta Beauty                                    Phenoxyethanol
      TULA - Mini 24-7 Moisture Hydrating Day        PEG-100 Stearate
19
      & Night Cream | Ulta Beauty                    Phenoxyethanol
20    TULA - Mini Secret Solution Pro-Glycolic       Polysorbate 20
      10% Resurfacing Treatment Toner | Ulta         Phenoxyethanol
21    Beauty
22    TULA - On-The-Go Best Sellers Travel Kit |     Disodium Laureth Sulfosuccinate
      Ulta Beauty                                    Glycereth-7 Caprylate/Caprate
23                                                   Disteareth-75 IPDI
                                                     Phenoxyethanol
24
      TULA - Revive & Rewind Revitalizing Eye        PEG-8
25    Cream | Ulta Beauty                            PEG-100 Stearate
                                                     PEG-10 Phytosterol
26                                                   Phenoxyethanol
27    TULA - So Polished Exfoliating Sugar Face      Propylene Glycol
      Scrub | Ulta Beauty                            PEG-7 Glyceryl Cocoate
28                                                   Phenoxyethanol

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 1
                       Product                              Ingredients Prohibited by
 2                                                        Ulta’s “Made Without List™”
 3    TULA - So Poreless Deep Exfoliating Scrub |   Phenoxyethanol
      Ulta Beauty
 4
      TULA - Travel Size The Cult Classic           Disodium Laureth Sulfosuccinate
 5    Purifying Face Cleanser | Ulta Beauty         Disteareth-75 IPDI
                                                    Polysorbate 20
 6                                                  Hydroxyethyl Acrylate/Sodium
 7                                                  Acryloyldimethyl Taurate Copolymer
                                                    PEG-120 Methyl Glucose Dioleate
 8                                                  Styrene/Acrylates Copolymer
                                                    Phenoxyethanol
 9
      TULA - Wrinkle Treatment Drops Retinol        Phenoxyethanol
10    Alternative Serum | Ulta Beauty
      ULTA Beauty Collection - All Clear! Face      Sodium Polyacrylate
11    Serum | Ulta Beauty                           Hydroxyethyl Acrylate/Sodium
12                                                  Acryloyldimethyl Taurate Copolymer
                                                    Phenoxyethanol
13    ULTA Beauty Collection - Apple Cider          Polysorbate 20
      Vinegar & Kaolin Clay Mask | Ulta Beauty      PEG-100 Stearate
14
                                                    Phenoxyethanol
15    ULTA Beauty Collection - Brighten Up Face     Phenoxyethanol
      Serum | Ulta Beauty                           Hydroxyethyl Acrylate/Sodium
16                                                  Acryloyldimethyl Taurate Copolymer
17    ULTA Beauty Collection - Cherry Crush Lip     Cherry Crush Set Cherry Crush Lip
      Treatment Kit | Ulta Beauty                   Treatment GT28C1003-2P Phenoxyethanol,
18
                                                    Cherry Lip Mask- GT29C1003-2P
19
                                                    Hydrogenated Styrene/Isoprene Copolymer,
20                                                  Phenoxyethanol, Caprylyl Glycol,
                                                    Fragrance/Parfum, Vanillyl Butyl Ether,
21                                                  Ethylhexylglycerin, Piroctone Olamine,
22                                                  Pentaerythrityl Tetra-di-t-Butyl
                                                    Hydroxyhydrocinnamate, Citral, Benzyl
23                                                  Alcohol, Geraniol, Citronellol, Anise
                                                    Alcohol, Linalool, Limonene, Mica, Titanium
24
                                                    Dioxide (CI 77891), Red 27 Lake (CI 45410).
25
                                                    Cherry Crush Lip Scrub UC3C1002-2P
26                                                  Phenoxyethanol
27    ULTA Beauty Collection - Chill Out Under      Methyl Methacrylate Crosspolymer
      Eye Balm | Ulta Beauty                        Phenoxyethanol
28                                                  Sodium Benzotriazolyl Butylphenol Sulfonate

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 1
                        Product                                Ingredients Prohibited by
 2                                                           Ulta’s “Made Without List™”
 3    ULTA Beauty Collection - Cloud Facial            PEG-120 Methyl Glucose Dioleate
      Cleanser | Ulta Beauty                           Polysorbate 20
 4
                                                       Phenoxyethanol
 5    ULTA Beauty Collection - Dark Tinted             Phenoxyethanol
      Moisturizer SPF 24 | Ulta Beauty
 6    ULTA Beauty Collection - Gold Magic Eye          PEG-60 Hydrogenated Castor Oil
 7    Gels | Ulta Beauty                               Phenoxyethanol
      ULTA Beauty Collection - Hydra Burst Face        Phenoxyethanol
 8    Serum | Ulta Beauty                              Polysorbate 20
                                                       Polysorbate 80
 9
      ULTA Beauty Collection - Island Pineapple        Polysorbate 20
10    Clear Self Tan Gel | Ulta Beauty                 Phenoxyethanol
      ULTA Beauty Collection - Island Pineapple        Propylene Glycol
11    Glow Time Mousse & Mitt Duo | Ulta Beauty        PEG-6 Caprylic/Capric Glycerides
12                                                     PEG-7 Glyceryl Cocoate
                                                       Phenoxyethanol
13    ULTA Beauty Collection - Island Pineapple        Polysorbate 20
      Gradual Self Tan Face Drops | Ulta Beauty        Phenoxyethanol
14
                                                       PEG-8 Dimethicone
15                                                     Propylene Glycol
      ULTA Beauty Collection - Milky Toner with        Phenoxyethanol
16    Hyaluronic Acid | Ulta Beauty                    PEG-40 Hydrogenated Castor Oil
17                                                     Acrylates/C10-30 Alkyl Acrylate
                                                       Crosspolymer
18    ULTA Beauty Collection - Night Shift             Ethylene/propylene/styrene Copolymer
      Overnight Lip Mask | Ulta Beauty                 Butylene/ethylene/styrene Copolymer
19
                                                       Phenoxyethanol
20    ULTA Beauty Collection - Passionfruit Jelly      Phenoxyethanol
      Bomb Lip Balm | Ulta Beauty
21    ULTA Beauty Collection - Play It Cool            Polysorbate 60
22    Freezable Sheet Mask | Ulta Beauty               Sodium Polyacrylate Starch
                                                       Phenoxyethanol
23    ULTA Beauty Collection - Sweetheart              Phenoxyethanol
      Plumped Up Pout Lip Balm | Ulta Beauty
24
      ULTA Beauty Collection - Tinted Self Tan         Propylene Glycol
25    Mousse | Ulta Beauty                             PEG-6 Caprylic/Capric Glycerides
                                                       Dihydroxypropyl PEG-5 Linoleammonium
26                                                     Chloride
27                                                     PEG-7 Glyceryl Cocoate
                                                       Phenoxyethanol
28

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 1
                        Product                               Ingredients Prohibited by
 2                                                          Ulta’s “Made Without List™”
 3    ULTA Beauty Collection - Wake-Up Call           Sodium Polyacrylate
      Under Eye Patches | Ulta Beauty
 4
      ULTA Beauty Collection - Waterproof Eye &       Phenoxyethanol
 5    Lip Makeup Remover | Ulta Beauty
      Urban Decay Cosmetics - 30 Hydromaniac          Cetyl Peg/Ppg-10/1 Dimethicone
 6    Hydrating Dewy Foundation | Ulta Beauty         PEG-8
 7                                                    Phenoxyethanol
                                                      Aluminum Hydroxide
 8    Urban Skin Rx - Vitaleyez Dark Circle           Phenoxyethanol
      Treatment | Ulta Beauty                         Laureth-7
 9
                                                      Polysorbate 20
10                                                    Laureth-23
      Urban Skin Rx - Witch Hazel Brightening &       Phenoxyethanol
11    pH Balancing Toner | Ulta Beauty
12    Urban Veda - Anti-Aging Rose Reviving           Sodium Polyacrylate
      Night Cream | Ulta Beauty                       Phenoxyethanol
13    Urban Veda - Brightening Turmeric &             Phenoxyethanol
      Papaya Radiance Day Cream | Ulta Beauty         Sodium Polyacrylate
14
      Urban Veda - Calm & Restore Sandalwood +        Sodium Polyacrylate
15    Aloe Vera Soothing Day Cream | Ulta Beauty      Phenoxyethanol
      Urban Veda - Calm & Restore Sandalwood +        Sodium Polyacrylate
16    Aloe Vera Soothing Night Cream | Ulta           Phenoxyethanol
17    Beauty
      Urban Veda - Neem & Tea Tree Skin               Phenoxyethanol
18    Purifying Overnight Hydrator | Ulta Beauty      Sodium Polyacrylate
19    Urban Veda - Oil-Control Neem & Tea Tree        Sodium Polyacrylate
      Purifying Day Cream | Ulta Beauty               Phenoxyethanol
20    Urban Veda - Peptide-30 Radiance Recovery       Sodium Polyacrylate
      Night Cream | Ulta Beauty                       Phenoxyethanol
21
      Urban Veda - Skin Firming Rose Reviving         Phenoxyethanol
22    Day Cream | Ulta Beauty                         Sodium Polyacrylate
      Vacation - Classic Lotion SPF 30 Sunscreen |    Phenoxyethanol
23    Ulta Beauty                                     Sodium Polyacrylate
24    Vacation - Sun Belt 5 Piece Sampler | Ulta      CLASSIC LOTION SPF 30:
      Beauty                                          Phenoxyethanol
25                                                    Sodium Polyacrylate
      VANICREAM - Cleansing Bar for Sensitive         Ceteareth-20
26
      Skin | Ulta Beauty                              PEG-30 Stearate
27                                                    PEG-20
      Vichy - 1.0 oz Mineral 89 Hyaluronic Acid       PEG/PPG/Polybutylene Glycol-8/5/3
28    Face Serum for Stronger Skin | Ulta Beauty      Glycerin

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 1
                        Product                              Ingredients Prohibited by
 2                                                         Ulta’s “Made Without List™”
 3                                                   Phenoxyethanol
      Vichy - 6.7 oz Normaderm Phytoaction Daily     PEG-120 Methyl Glucose Dioleate
 4
      Deep Cleansing with Salicylic Acid | Ulta      Phenoxyethanol
 5    Beauty
      Vichy - LiftActiv Pure Retinol Serum for       Propylene Glycol, PEG-6 Caprylic/Capric
 6    Deep Wrinkles | Ulta Beauty                    Glycerides
 7                                                   Polysorbate 20
      Vichy - LiftActiv Supreme H.A. Wrinkle         PEG-60 Hydrogenated Castor Oil
 8    Corrector | Ulta Beauty                        Phenoxyethanol
      Vichy - LiftActiv Vitamin B3 Face Serum for    Propylene Glycol
 9
      Dark Spots & Wrinkles | Ulta Beauty            Phenoxyethanol
10    Vichy - Minéral 89 Eyes Hyaluronic Acid        Phenoxyethanol
      Eye Gel Cream | Ulta Beauty
11    Vichy - Minéral 89 Fragrance Free Cream |      Polysorbate 80
12    Ulta Beauty
      Vichy - Normaderm PhytoAction Acne             Sodium Polyacrylate
13    Control Daily Face Moisturizer | Ulta Beauty   Phenoxyethanol
14    Vitamins and Sea beauty - Blue Sea Kale &      Polysorbate 20
      Niacinamide Smoothing Facial Serum | Ulta      Phenoxyethanol
15    Beauty
      Vitamins and Sea beauty - Blue Sea Kale        Polysorbate 60
16
      Grapefruit Deep Pore Exfoliating Face Mask |   PEG-100 Stearate
17    Ulta Beauty                                    Phenoxyethanol
      Vitamins and Sea beauty - Marine Algae and     Polysorbate 20
18    Blue Tansy Multipurpose Treatment | Ulta       Phenoxyethanol
19    Beauty
      Vitamins and Sea beauty - Monoi Oil & Sea      Steareth-2
20    Kelp Exfoliating Face Scrub | Ulta Beauty      Steareth-21
                                                     Phenoxyethanol
21
      Vitamins and Sea beauty - Sea Kale &           Polysorbate 20
22    Hyaluronic Acid Complex Rejuvenating Skin      Phenoxyethanol
      Serum | Ulta Beauty
23    Vitamins and Sea beauty - Sea Kelp and         Phenoxyethanol
24    Phytoceramides Rehydration Gel Moisturizer
      | Ulta Beauty
25    Vitamins and Sea beauty - Sea Lavender &       PEG-12 Dimethicone
      Bakuchiol Renewing Face Serum | Ulta           Phenoxyethanol
26
      Beauty
27    Vitamins and Sea beauty - Sea Salt &           Steareth-2
      Coconut Gentle & Brightening Face Scrub |      Steareth-21
28    Ulta Beauty                                    Phenoxyethanol,

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 1
                          Product                                 Ingredients Prohibited by
 2                                                              Ulta’s “Made Without List™”
 3    Vitamins and Sea beauty - Seaweed +               PEG-12 Dimethicone
      Glycolic Acid Facial Toner | Ulta Beauty          Polysorbate 20
 4
                                                        Phenoxyethanol
 5    Vitamins and Sea beauty - Skincare Minis +        Polysorbate 20
      Travel Pouch | Ulta Beauty                        Phenoxyethanol
 6    VOLITION - Chocolate Macadamia                    Phenoxyethanol
 7    Hydrating Mask with Hyaluronic Acid +
      Vegan Collagen | Ulta Beauty
 8    VOLITION - Sémillon Overnight Retinol             Hydroxyethyl Acrylate/Sodium
      Serum with Niacinamide + Hyaluronic Acid |        Acryloyldimethyl Taurate Copolymer
 9
      Ulta Beauty                                       Phenoxyethanol
10    VOLITION - Snow Mushroom Water Serum              Phenoxyethanol
      with Peptides + Vitamin C | Ulta Beauty
11    VOLITION - Turmeric Brightening Polish            Phenoxyethanol
12    with Oatmeal + Vitamin E | Ulta Beauty
      Womaness - Let's Neck - Neck and Décolleté        Phenoxyethanol
13    Serum | Ulta Beauty
      WYN BEAUTY - ADVANCE MVP: Most                    Methyl Methacrylate Crosspolymer
14
      Versatile Pigment Multifunction Lip & Cheek       Phenoxyethanol
15    Color | Ulta Beauty

16

17 Plaintiff and Reasonable Consumers Were Misled by the Products

18          71.     Given the significant presence of these ingredients prohibited by the Ulta Beauty’s

19 “Made Without List™,” Ulta’s representations that the Products are part of the “Conscious Beauty®

20 at Ulta Beauty®” program and are made with “Clean Ingredients” that excludes ingredients on Ulta

21
     Beauty’s “Made Without List™” are deceptive and misleading.
22
            72.     By misleadingly and deceptively labeling and marketing the Products, as described
23
     herein, Ulta sought to take advantage of consumers’ desire for true safe, clean, and environmentally
24

25 friendly beauty products. Ulta has done so at the expense of unwitting consumers—many of whom

26 seek to protect themselves and their household members—and Ulta’s lawfully acting competitors,
27 over whom Ulta maintains an unfair competitive advantage.

28

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 1          73.     The safe, clean, or environmentally friendly representations were and are material to

 2 reasonable consumers, including Plaintiffs, in making purchasing decisions.

 3
            74.     Plaintiff relied on Ulta’s misrepresentations, described herein, in making the decision
 4
     to purchase the Products.
 5
            75.     At the time Plaintiff purchased the Products, Plaintiff did not know, and had no
 6

 7 reason to know, that the Products’ marketing and advertising were false, misleading, deceptive, and

 8 unlawful as set forth herein.

 9          76.     Consumers lack the meaningful ability to test or independently ascertain or verify
10 whether ingredients in a product are safe, clean, or environmentally friendly, especially at the point

11
     of sale. Consumers would not know the true nature of the ingredients merely by reading the
12
     ingredients label.
13
            77.     Consumers also lack the meaningful ability to test or independently ascertain
14

15 whether the ingredients in the Products are excluded ingredients on the “Made Without List™”

16 which prohibit the use of the following ingredients: Acrylates; Alkylphenols (Octylphenols,

17 nonylphenols) and Alkylphenol Ethoxylates; Aluminum compounds; Aluminum powder;

18 Aluminum salts and complexes; Ethoxylated ingredients including PEGs and polyethylene glycol

19
   or polysorbate; Phthalates; Sodium Laureth Sulfate (SLES); Sodium Lauryl Sulfate (SLS); Styrene
20
   & styrene oxide.
21
          78.     Discovering that the Products are made “Clean Ingredients” that comply with the
22

23 “Made Without List™” and do not contain any of the prohibited ingredients and actually can cause

24 harm to humans, animals and/or the environment requires a scientific investigation and knowledge

25 of chemistry beyond that of the average consumer. That is why, even though all of the ingredients

26
     listed above are identified on the back of the Products’ packaging in the ingredients listed, the
27
     reasonable consumer would not understand – nor are they expected to understand - that these
28

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 1 ingredients are prohibited by the “Made Without List™,” harmful, dangerous, and environmentally

 2 damaging.

 3
            79.     Moreover, the reasonable consumer is not expected or required to scour the
 4
     ingredients list on the back of the Products in order to confirm or debunk Ulta’s prominent claims
 5
     and representations that the Products are made “Clean Ingredients” that that excludes ingredients on
 6

 7 the “Made Without List™.”

 8          80.     Ulta materially misled and failed to adequately inform reasonable consumers,

 9 including Plaintiff, that the Products contain ingredients that are prohibited by the “Made Without

10 List™” that can cause harm to humans, animals, and/or the environment. A reasonable consumer

11
     understands Ulta’s claims that the Products are made with “Clean Ingredients” that excludes
12
     ingredients on Ulta Beauty’s “Made Without List™” to mean that the Products do not contain any
13
     of the ingredients prohibited by the “Made Without List™” and are made without ingredients
14

15 commonly associated with adverse health and/or environmental impacts.”

16          81.     Ulta’s representations that the Products are part of the “Conscious Beauty® at Ulta

17 Beauty®” program and are made with “Clean Ingredients” that excludes ingredients on Ulta

18 Beauty’s “Made Without List™” induced consumers, including Plaintiff and Class Members, to pay

19
   a premium to purchase the Products. Plaintiff and Class Members relied on Ulta’s false and
20
   misleading misrepresentations in purchasing the Products at some premium price above comparable
21
   alternatives that are not represented to be safe, clean, or environmentally friendly. If not for Ulta’s
22

23 misrepresentations, Plaintiff and Class Members would not have been willing to purchase the

24 Products at a premium price. Accordingly, they have suffered an injury as a result of Ulta’s

25 misrepresentations.

26
            82.     Ulta knew that consumers will pay more for a product represented as made with
27
     “Clean Ingredients” that do not contain any of the ingredients prohibited by the “Made Without
28

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 1 List™” that are commonly associated with adverse health and/or environmental impacts and

 2 intended to deceive Plaintiff and putative class members by representing that the Products are

 3
     purportedly safe, clean, and environmentally friendly products.
 4
            83.     Ulta has profited enormously from its false and misleading representations that the
 5
     Products are part of the “Conscious Beauty® at Ulta Beauty®” program and are made with “Clean
 6

 7 Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™.” The purpose of

 8 this action is to require Ulta to undertake a corrective advertising campaign and to provide

 9 consumers with monetary relief for Ulta’s deceptive and misleading product claims.

10          84.     Plaintiff would not have purchased the Products if they had known the truth.
11
     Accordingly, based on Ulta’s material misrepresentations and omissions, reasonable consumers,
12
     including Plaintiff, purchased the Products to their detriment.
13
            85.     It is possible, however, that Plaintiff would purchase the Products in the future if they
14

15 were properly represented, and/or the Products complied with the marketing, advertising, and

16 website statements. Specifically, Plaintiffs would like to purchase the Products again if the Products

17 no longer posed a risk of harm to humans, animals, and/or the environment.

18                                        CLASS ALLEGATIONS
19
            86.     Plaintiff brings this suit individually and as a class action pursuant to Federal Rule
20
     of Civil Procedure Rule 23, on behalf of herself and the following Class of similarly situated
21
     individuals:
22

23          Nationwide Class: All residents of the United States who, within the applicable statute of
            limitations periods, purchased the Products for personal, family, or household purposes
24          (“Nationwide Class”).

25          California Subclass: All residents of California who, within four years prior to the filing
            of this action, purchased the Products for personal, family, or household purposes
26          (“California Sublcass”).
27

28

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 1           87.      Excluded from the Class are Defendants, their affiliates, employees, officers and

 2 directors, persons or entities that purchases the Products for resale, and the Judge(s) assigned to this

 3
     case.
 4
             88.      Plaintiff reserves the right to amend or otherwise alter the Class definitions presented
 5
     to the Court at the appropriate time in response to facts learned through discovery, legal arguments
 6

 7 advanced by Defendant or otherwise.

 8           89.      This action has been brought and may properly be maintained as a class action

 9 against Defendant because there is a well-defined community of interest in the litigation and the

10 proposed Class is easily ascertainable.

11
             90.      Numerosity: Plaintiff does not know the exact size of the Class, but she estimates
12
     that it is composed of more than 5,000 persons. The persons in the Class are so numerous that the
13
     joinder of all such persons is impracticable and the disposition of their claims in a class action rather
14

15 than in individual actions will benefit the parties and the courts.

16           91.      Common Questions Predominate: This action involves common questions of law

17 and fact to the potential classes because each Class Member’s claim derives from the same

18 deceptive, unlawful and/or unfair statements and omissions. The common questions of law and fact

19
   predominate over individual questions, as proof of a common or single set of facts will establish the
20
   right of each member of the Class to recover. The questions of law and fact common to the Class
21
   include, but are not limited to, the following:
22

23                 a. Whether Defendants engaged in unlawful, unfair or deceptive business practices by

24                    advertising and selling the Products;

25                 b. Whether Defendants’ conduct of advertising and selling the Products while
26
                      representing them as part of the “Conscious Beauty® at Ulta Beauty®” program and
27
                      made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made
28

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 1                Without List™,” and omitting that they contain ingredients prohibited by the “Made

 2                Without List™” that are commonly associated with adverse health and/or
 3
                  environmental impacts” constitutes an unfair method of competition, or unfair or
 4
                  deceptive act or practice, in violation of Civil Code section 1750, et seq.;
 5
             c. Whether Defendants used deceptive representations or omission in connection with
 6
                  the sale of the Products in violation of Civil Code section 1750, et seq.;
 7

 8           d. Whether Defendants represented that the Products have characteristics or qualities

 9                that they do not have in violation of Civil Code section 1750, et seq.;
10           e. Whether Defendants advertised the Products with intent not to sell them as advertised
11
                  in violation of Civil Code section 1750, et seq.;
12
             f. Whether Defendants’ marketing and advertising of the Products are misleading in
13
                  violation of Business and Professions Code section 17500, et seq.;
14

15           g.   Whether Defendants knew or by the exercise of reasonable care should have known

16                their marketing and advertising was and is misleading in violation of Business and

17                Professions Code section 17500, et seq.;
18           h. Whether Defendants’ conduct is an unfair business practice within the meaning of
19
                  Business and Professions Code section 17200, et seq.;
20
             i. Whether Defendants’ conduct is a fraudulent business practice within the meaning
21
                  of Business and Professions Code section 17200, et seq.;
22

23           j. Whether Defendants’ conduct is an unlawful business practice within the meaning

24                of Business and Professions Code section 17200, et seq.;

25           k. Whether Plaintiff and the Class paid more money for the Products than they actually
26
                  received;
27

28

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 1                l. How much more money Plaintiff and the Class paid for the Products than they

 2                   actually received;
 3
                  m. Whether Plaintiff and the Class are entitled to injunctive relief; and
 4
                  n. Whether Defendants were unjustly enriched by its unlawful conduct.
 5
            92.      Typicality: Plaintiff’s claims are typical of the claims of other members of the Class
 6

 7 because, among other things, all such claims arise out of the same wrongful course of conduct in

 8 which the Defendant engaged in violation of law as described herein. Plaintiff and Class Members

 9 purchased one or more of the Products. In addition, Defendants’ conduct that gave rise to the claims

10 of Plaintiff and Class Members (i.e., marketing, sales and advertising of the Products as part of the

11
     “Conscious Beauty® at Ulta Beauty®” program and made with “Clean Ingredients” that excludes
12
     ingredients on Ulta Beauty’s “Made Without List™” which prohibits the use of specific ingredients
13
     that Ulta has determined are commonly associated with adverse health and/or environmental
14

15 impacts) is the same for Plaintiff and all members of the Class. Plaintiff’s claims, like the claims of

16 the Class, arise out of the same common course of conduct by Defendants and are based on the same

17 legal and remedial theories.

18          93.      Adequacy of Representation: Plaintiff will fairly and adequately protect the interests
19
     of all Class Members because it is in her best interests to prosecute the claims alleged herein to
20
     obtain full compensation due to her for the unfair and illegal conduct of which she complains.
21
     Plaintiff also has no interests that are in conflict with, or antagonistic to, the interests of Class
22

23 Members. Plaintiff has retained highly competent and experienced class action attorneys to

24 represent her interests and those of the class. By prevailing on her own claims, Plaintiff will

25 establish Defendant’s liability to all Class Members. Plaintiff and her counsel have the necessary

26
     financial resources to adequately and vigorously litigate this class action, and Plaintiff and counsel
27

28

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 1 are aware of their fiduciary responsibilities to the Class Members and are determined to diligently

 2 discharge those duties by vigorously seeking the maximum possible recovery for Class Members.

 3
            94.     Superiority: There is no plain, speedy, or adequate remedy other than by maintenance
 4
     of this class action. The prosecution of individual remedies by members of the classes will tend to
 5
     establish inconsistent standards of conduct for Defendants and result in the impairment of Class
 6

 7 Members’ rights and the disposition of their interests through actions to which they were not parties.

 8 Class action treatment will permit a large number of similarly situated persons to prosecute their

 9 common claims in a single forum simultaneously, efficiently, and without the unnecessary

10 duplication of effort and expense that numerous individual actions would engender. Furthermore,

11
     as the damages suffered by each individual member of the class may be relatively small, the
12
     expenses and burden of individual litigation would make it difficult or impossible for individual
13
     members of the class to redress the wrongs done to them, while an important public interest will be
14

15 served by addressing the matter as a class action.

16          95.     Plaintiff is unaware of any difficulties that are likely to be encountered in the

17 management of this action that would preclude its maintenance as a class action.

18                             PLAINTIFF’S FIRST CAUSE OF ACTION
19
         (Violation of the Consumer Legal Remedies Act, California Civil Code § 1750, et seq.)
20
                             On Behalf of Herself and the California Subclass
21
            96.     Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged above.
22

23          97.     This cause of action is brought pursuant to California’s Consumers Legal Remedies

24 Act, Cal. Civ. Code § 1750, et seq. (the “CLRA”).

25          98.     Defendant’s actions, representations and conduct have violated, and continue to
26 violate the CLRA, because they extend to transactions that are intended to result, or which have
27
     resulted, in the sale or lease of goods or services to consumers.
28

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 1          99.     Plaintiff and the other class members are “consumers,” as that term is defined by

 2 California Civil Code § 1761(d), because they bought the Ulta Products for personal, family, or

 3
     household purposes.
 4
            100.    The Products that Plaintiff (and others similarly situated class members) purchased
 5
     from Defendant were and are “goods” within the meaning of California Civil Code § 1761(a).
 6
            101.    Defendant is a “person,” as defined by the CLRA in California Civil Code, section
 7

 8 1761(c).

 9          102.    Purchase of the Products by Plaintiff and members of the class are “transactions,” as
10 defined by the CLRA in California Civil Code, § 1761(e).

11
            103.    By engaging in the actions, representations and conduct set forth in this Complaint,
12
     Defendant has violated, and continues to violate, § 1770(a)(5), § 1770(a)(7), and § 1770(a)(9) of the
13
     CLRA. In violation of California Civil Code § 1770(a)(5), Defendant’s acts and practices constitute
14

15 improper representations that the goods it sells have sponsorship, approval, characteristics,

16 ingredients, uses, benefits, or quantities, which they do not have. In violation of California Civil

17 Code § 1770(a)(7), Defendant’s acts and practices constitute improper representations that the goods

18 it sells are of a particular standard, quality, or grade, when they are of another. In violation of

19
   California Civil Code § 1770(a)(9), Defendant has advertised goods or services with intent not to
20
   sell them as advertised. Specifically, in violation of §§ 1770(a)(5), (a)(7), and (a)(9), Defendant’s
21
   acts and practices led customers to falsely believe that the Products are made with “Clean
22

23 Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™”, when they are not.

24          104.    Defendant’s uniform and material misrepresentations and omissions regarding the

25 Products were likely to deceive the public. Defendant knew or should have known that its

26
     misrepresentations and omissions were untrue and misleading.
27

28

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 1          105.    Plaintiff and members of the class could not have reasonably avoided such injury.

 2 Plaintiff and members of the class were unaware of the existence of the facts that Defendant

 3
     suppressed and failed to disclose; and Plaintiff and members of the class would not have purchased
 4
     the Products and/or would have purchased them on different terms had they known the truth.
 5
            106.    Plaintiff and members of the class have been directly and proximately injured by
 6

 7 Defendant’s conduct. Such injury includes, but is not limited to, the purchase price of the Products

 8 and/or the premium paid for the Products.

 9          107.    Given that Defendant’s conduct violated § 1770(a), Plaintiff requests that this Court
10 enjoin Defendant from continuing to employ the unlawful methods, acts and practices alleged herein

11
     pursuant to California Civil Code § 1780(a)(2). If Defendant is not restrained from engaging in
12
     these types of practices in the future, Plaintiff and the other members of the class will continue to
13
     suffer harm.
14

15          108.    CLRA § 1782 NOTICE. On April 1, 2025, Plaintiff provided Defendant with notice

16 and demand that within thirty (30) days from that date, Defendant correct, repair, replace or

17 otherwise rectify the unlawful, unfair, false and/or deceptive practices complained of herein.

18 Defendant failed to take any of the requested actions within thirty days. Plaintiff seeks, pursuant to

19
   California Civil Code § 1780(a), on behalf of herself and those similarly situated members of the
20
   Class, actual damages, punitive damages and restitution of any ill-gotten gains due to Defendant’s
21
   acts and practices. With regard to the amount of damages and restitution, Plaintiff seeks to recover
22

23 for herself and the Class a full refund of the price paid for the Products, or in the alternative, the

24 price premium paid for the Products, i.e., difference between the price consumers paid for the

25 Products and the price that they would have paid but for Defendant’s misrepresentation. This

26
     premium can be determined by using econometric or statistical techniques such as hedonic
27
     regression or conjoint analysis.
28

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 1          109.     Plaintiff also requests that this Court award them costs and reasonable attorneys’ fees

 2 pursuant to California Civil Code § 1780(d).

 3
                              PLAINTIFF’S SECOND CAUSE OF ACTION
 4
              (False Advertising, Business and Professions Code § 17500, et seq. (“FAL”)
 5
                              On Behalf of Herself and the California Subclass
 6
            110.     Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged above.
 7
            111.     Beginning at an exact date unknown to Plaintiff, but within three (3) years preceding
 8

 9 the filing of the Complaint, Defendant made untrue, false, deceptive and/or misleading statements

10 in connection with the advertising and marketing of the Products.

11          112.     Defendant made representations and statements (by omission and commission) that
12
     led reasonable consumers to believe the Products are made with “Clean Ingredients” that excludes
13
     ingredients on Ulta Beauty’s “Made Without List™” which prohibits the use of specific ingredients
14
     that Ulta has determined are commonly associated with adverse health and/or environmental
15

16 impacts when they do not. Defendant deceptively failed to inform Plaintiff, and those similarly

17 situated, that the Products are made with ingredients prohibited by the “Made Without List™.”

18          113.     Plaintiff and those similarly situated relied to their detriment on Defendant’s false,
19 misleading and deceptive advertising and marketing practices, including each of the

20
   misrepresentations and omissions set forth above. Had Plaintiff and those similarly situated been
21
   adequately informed and not intentionally deceived by Defendant, they would have acted differently
22
   by, without limitation, refraining from purchasing the Products or paying less for them.
23

24          114.     Defendant’s acts and omissions are likely to deceive reasonable consumers and the

25 general public.

26          115.     Defendant engaged in these false, misleading and deceptive advertising and
27
     marketing practices to increase their profits. Accordingly, Defendant has engaged in false
28

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 1 advertising, as defined and prohibited by section 17500, et seq. of the California Business and

 2 Professions Code.

 3
            116.    The aforementioned practices, which Defendant has used, and continue to use, to its
 4
     significant financial gain, also constitute unlawful competition and provide an unlawful advantage
 5
     over Defendant’s competitors as well as injury to the general public.
 6
            117.    As a direct and proximate result of such actions, Plaintiff and the other members of
 7

 8 the Class have suffered, and continue to suffer, injury in fact and have lost money and/or property

 9 as a result of such false, deceptive and misleading advertising in an amount which will be proven at

10 trial, but which is in excess of the jurisdictional minimum of this Court. In particular, Plaintiff, and

11
     those similarly situated, paid a price premium for the Products, i.e., the difference between the price
12
     consumers paid for the Products and the price that they would have paid but for Defendant’s
13
     misrepresentation. This premium can be determined by using econometric or statistical techniques
14

15 such as hedonic regression or conjoint analysis. Alternatively, Plaintiff and those similarly situated

16 will seek a full refund of the price paid upon proof that the sale of the Products was unlawful.

17          118.    Plaintiff seeks equitable relief, including restitution, with respect to her FAL claims.
18 Pursuant to Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes the following allegations in this

19
   paragraph only hypothetically and as an alternative to any contrary allegations in her causes of action
20
   1, 3 and 4, in the event that such causes of action will not succeed. Plaintiff and the Class may be
21
   unable to obtain monetary, declaratory and/or injunctive relief directly under causes of action 1, 3
22

23 and 4 and will lack an adequate remedy at law, if the Court requires her to show classwide reliance

24 and materiality beyond the objective reasonable consumer standard applied under the FAL, because

25 Plaintiff may not be able to establish each Class member’s individualized understanding of

26
     Defendant’s misleading representations as described in paragraphs in this Complaint, but the FAL
27
     does not require individualize proof of deception or injury by absent class members. See, e.g., Ries
28

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 1 v. Ariz. Bevs. USA LLC, 287 F.R.D. 523, 537 (N.D. Cal. 2012) (“restitutionary relief under the UCL

 2 and FAL ‘is available without individualized proof of deception, reliance, and injury.’”). In

 3
     addition, Plaintiff and the Class may be unable to obtain such relief under causes of action 3 and 4
 4
     and will lack an adequate remedy at law, if Plaintiff is unable to demonstrate the requisite mens rea
 5
     (intent, reckless, and/or negligence), because the FAL imposes no such mens rea requirement and
 6

 7 liability exists even if Defendant acted in good faith.

 8          119.    Plaintiff seeks, on behalf of those similarly situated, a declaration that the above-

 9 described practices constitute false, misleading and deceptive advertising.

10          120.    Plaintiff seeks, on behalf of those similarly situated, an injunction to prohibit the sale
11
     of the Products within a reasonable time after entry of judgment, unless marketing is modified to
12
     disclose the omitted facts about the ingredients in the Products. Such misconduct by Defendant,
13
     unless and until enjoined and restrained by order of this Court, will continue to cause injury in fact
14

15 to the general public and the loss of money and property in that the Defendant will continue to

16 violate the laws of California, unless specifically ordered to comply with the same. This expectation

17 of future violations will require current and future consumers to repeatedly and continuously seek

18 legal redress in order to recover monies paid to Defendant to which Defendant are not entitled.

19
   Plaintiff, those similarly situated and/or other consumers nationwide have no other adequate remedy
20
   at law to ensure future compliance with the California Business and Professions Code alleged to
21
   have been violated herein.
22

23                             PLAINTIFF’S THIRD CAUSE OF ACTION

24                               (Fraud, Deceit and/or Misrepresentation)

25   On Behalf of Herself and the Nationwide Class and, in the alternative, the California Subclass

26          121.    Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged above.
27

28

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 1 Defendant fraudulently and deceptively led Plaintiff to believe that the Products are made with

 2 “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™” which

 3
     prohibits the use of specific ingredients that Ulta has determined are commonly associated with
 4
     adverse health and/or environmental impacts when they are not. Defendant deceptively failed to
 5
     inform Plaintiff, and those similarly situated, that the Products are made with ingredients prohibited
 6

 7 by the “Made Without List™.”

 8           122.    These misrepresentations and omissions were material at the time they were made.

 9 They concerned material facts that were essential to the analysis undertaken by Plaintiff as to

10 whether to purchase the Products.

11
             123.    Defendant made identical misrepresentations and omissions to members of the Class
12
     regarding the Products.
13
             124.    Plaintiff and those similarly situated relied to their detriment on Defendant’s
14

15 fraudulent misrepresentations and omissions. Had Plaintiff and those similarly situated been

16 adequately informed and not intentionally deceived by Defendants, they would have acted

17 differently by, without limitation, not purchasing (or paying less for) the Products.

18           125.    Defendant had a duty to inform class members at the time of their purchases that the
19
     Products were not made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made
20
     Without List™” and are made with ingredients prohibited by the “Made Without List™” that are
21
     harmful to humans and the environment. Defendant omitted to provide this information to class
22

23 members. Class members relied to their detriment on Defendant’s omissions. These omissions were

24 material to the decisions of the class members to purchase the Products. In making these omissions,

25 Defendant breached its duty to class members. Defendant also gained financially from, and as a

26
     result of, its breach.
27

28

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 1          126.     By and through such fraud, deceit, misrepresentations and/or omissions, Defendant

 2 intended to induce Plaintiff, and those similarly situated, to alter their position to their detriment.

 3
     Specifically, Defendant fraudulently and deceptively induced Plaintiff, and those similarly situated,
 4
     to, without limitation, pay a premium to purchase the Products.
 5
            127.     As a direct and proximate result of Defendant’s misrepresentations and omissions,
 6

 7 Plaintiff, and those similarly situated, have suffered damages. In particular, Plaintiff seeks to

 8 recover on behalf of herself and those similarly situated the price premium paid for the Products,

 9 i.e., the difference between the price consumers paid for the Products and the price that they would

10 have paid but for Defendant’s misrepresentation. This premium can be determined by using

11
     econometric or statistical techniques such as hedonic regression or conjoint analysis.
12
            128.     Defendant’s conduct as described herein was willful and malicious and was designed
13
     to maximize Defendant’s profits even though Defendants knew that it would cause loss and harm
14

15 to Plaintiff and those similarly situated.

16                            PLAINTIFF’S FOURTH CAUSE OF ACTION

17                                      (Negligent Misrepresentation)
18   On Behalf of Herself and the Nationwide Class and, in the alternative, the California Subclass
19          129.     Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged above.
20
            130.     Defendant provided false and misleading information regarding the Products,
21
     representing that the Products are made with “Clean Ingredients” that excludes ingredients on Ulta
22
     Beauty’s “Made Without List™” which prohibits the use of specific ingredients that Ulta has
23

24 determined are commonly associated with adverse health and/or environmental impacts.

25          131.     These representations were material at the time they were made. They concerned

26 material facts that were essential to the analysis undertaken by Plaintiff as to whether to purchase
27
     the Products.
28

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 1          132.    Defendant made identical misrepresentations and omissions to members of the Class

 2 regarding the Products.

 3
            133.    Defendant’s representations regarding the Products are material to a reasonable
 4
     consumer because they relate to the composition of the Products purchased by consumers. A
 5
     reasonable consumer would attach importance to such representations and would be induced to act
 6

 7 thereon in making purchase decisions.

 8          134.    At all relevant times, Defendant should have known its representations to be false

 9 and had no reasonable grounds for believing them to be true when they were made. Defendant had

10 no reasonable grounds for believing its representations were not false and misleading.

11
            135.    By and through such negligent misrepresentations, Defendant intended to induce
12
     Plaintiff and those similarly situated to alter their position to their detriment.     Specifically,
13
     Defendant negligently induced Plaintiff, and those similarly situated to, without limitation, to
14

15 purchase the Products.

16          136.    Plaintiff and those similarly situated relied to their detriment on Defendant’s

17 negligent misrepresentations. Had Plaintiff and those similarly situated been adequately informed

18 and not intentionally deceived by Defendant, they would have acted differently by, without

19
   limitation, not purchasing (or paying less for) the Products.
20
           137. Therefore, as a direct and proximate result of Defendant’s negligent
21
   misrepresentations, Plaintiff and those similarly situated have suffered damages. In particular,
22

23 Plaintiff seeks to recover on behalf of herself and those similarly situated the price premium paid

24 for the Products, i.e., the difference between the price consumers paid for the Products and the price

25 that they would have paid but for Defendant’s misrepresentation. This premium can be determined

26
     by using econometric or statistical techniques such as hedonic regression or conjoint analysis.
27

28

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 1                            PLAINTIFF’S FIFTH CAUSE OF ACTION

 2                  (Unlawful Acts, Business and Professions Code § 17200, et seq.)
 3                          On Behalf of Herself and the California Subclass
 4
            138.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged above.
 5
            139.   The violation of any law constitutes an unlawful business practice under Cal. Bus. &
 6
     Prof. Code § 17200.
 7
            140.   Defendant’s conduct violates California Cal. Bus. & Prof. Code § 17500, which
 8

 9 prohibits knowingly making, by means of any advertising device or otherwise, any untrue or

10 misleading statement with the intent to sell a product or to induce the public to purchase a product.

11 By misrepresenting that the Products are made with “Clean Ingredients” that excludes ingredients

12
     on Ulta Beauty’s “Made Without List™” which prohibits the use of ingredients that are commonly
13
     associated with adverse health and/or environmental impacts, Defendant is violating Cal. Bus. &
14
     Prof. Code § 17500.
15

16          141.   Defendant’s conduct also violates EMCA, Cal. Bus. & Prof. Code § 17580.5, which

17 makes it unlawful for any person to make any untruthful, deceptive, or misleading environmental

18 marketing claim. Pursuant to § 17580.5, the term “environmental marketing claim” includes any

19 claim contained in the Green Guides. 16 C.F.R. § 260.1, et seq. Under the Green Guides, “[i]t is

20
   deceptive to misrepresent, directly or by implication, that a product, package, or service offers a
21
   general environmental benefit.” 16 C.F.R. § 260.4(a). By misrepresenting that the Products are
22
   made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™”
23

24 which prohibits the use of ingredients that are commonly associated with adverse health and/or

25 environmental impacts. as described above, Defendant is violating Cal. Bus. & Prof. Code §

26 17580.5.
27

28

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 1          142.    Defendant’s conduct further violates EMCA, Cal. Bus. & Prof. Code § 17580(a),

 2 which makes it unlawful for any person to make any unsubstantiated environmental marketing

 3
     claim. Pursuant to Cal. Bus. & Prof. Code § 17580(a), “Any person who represents in advertising
 4
     or on the label or container of a consumer good that the consumer good that it manufactures or
 5
     distributes is not harmful to, or is beneficial to, the natural environment, through use of such terms
 6

 7 as ‘environmental choice,’ ‘ecologically friendly,’ ‘earth friendly,’ ‘environmentally friendly,’

 8 ‘ecologically sound,’ ‘environmentally sound,’ ‘environmentally safe,’ ‘ecologically safe,’

 9 ‘environmentally lite,’ ‘green product,’ or any other like term, or through the use of a chasing arrows

10 symbol or by otherwise directing a consumer to recycle the consumer good, shall maintain in written

11
     form in its records…information and documentation supporting the validity of the representation.”
12
     Cal. Bus. & Prof. Code § 17580(a). EMCA specifically requires companies to maintain the
13
     following records in written form supporting the validity of their recyclable representations: (1) the
14

15 reasons why a company believes the representation to be true; (2) any significant adverse

16 environmental impacts directly associated with the production, distribution, use, and disposal of the

17 consumer good; (3) any measures that are taken by the company to reduce the environmental

18 impacts directly associated with the production, distribution, and disposal of the consumer good;

19
   and (4) violations of any federal, state, or local permits directly associated with the production or
20
   distribution of the consumer good. Id., § 17580(a)(1)-(4). The California Legislature declared its
21
   intent that the information and documentation supporting the validity of any environmental
22

23 marketing claims shall be fully disclosed to the public, and information and documentation

24 maintained pursuant to Cal. Bus. & Prof. Code § 17580 must be furnished to any member of the

25 public upon request. Id., § 17580(b), (d).

26
            143.    The Green Guides also require marketers to ensure that their claims are supported by
27
     a reasonable basis prior to making the claim. 16 C.F.R. § 260.2. A reasonable basis is defined as
28

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 1 competent and reliable scientific evidence, such as “tests, analyses, research, or studies that have

 2 been conducted and evaluated in an objective manner by qualified persons and are generally

 3
     accepted in the profession to yield accurate and reliable results.” Id. “Such evidence should be
 4
     sufficient in quality and quantity based on standards generally accepted in the relevant scientific
 5
     fields, when considered in light of the entire body of relevant and reliable scientific evidence, to
 6

 7 substantiate that each of the marketing claims is true.” Id.

 8          144.    Defendant’s conduct also violates Section 5 of the Federal Trade Commission Act

 9 (“FTC Act”), 15 U.S.C. § 45, which prohibits unfair methods of competition and unfair or deceptive

10 acts or practices in or effecting commerce. By misrepresenting that the Products are made with

11
     “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™” which
12
     prohibits the use of specific ingredients that Ulta has determined are commonly associated with
13
     adverse health and/or environmental impacts, Defendant is violating Section 5 of the FTC Act.
14

15          145.    As detailed more fully elsewhere herein, Defendant’s acts and practices were

16 intended to and did result in the sale of the Products in violation of the CLRA, California Civil Code

17 §1750, et seq., and specifically California Civil Code §§ 1770(a)(5), § 1770(a)(7), and § 1770(a)(9).

18          146.    By violating the laws enumerated above, Defendant has engaged in unlawful
19
     business acts and practices which constitute unfair competition within the meaning of Cal. Bus. &
20
     Prof. Code § 17200.
21
            147.    Plaintiff has no adequate remedy at law for the injuries currently being suffered as
22

23 an award of monetary damages would not prohibit Defendant’s unlawful marketing, advertising,

24 sale, and distribution of the Products in California. If an injunction is not granted, Plaintiff will

25 suffer irreparable injury because she continues to desire to purchase Products from Defendant in the

26
     future that are made with “Clean Ingredients” free from ingredients that are commonly associated
27
     with adverse health and/or environmental impacts but is unable to determine with confidence
28

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 1 whether the Products are made with “Clean Ingredients” free from ingredients that are commonly

 2 associated with adverse health and/or environmental impacts. In addition, adverse environmental

 3
     impacts caused by Defendant’s marketing, advertising, and sale of the Products in California will
 4
     continue to negatively harm California waters, coasts, communities, and marine life. Thus, Plaintiff
 5
     and the Class seek an order enjoining Defendant’s acts of unlawful, unfair, and deceptive acts and
 6

 7 practices in California, which serves the public interest by protecting the environment by preventing

 8 Defendant from gaining an unfair advantage over companies that lawfully sell their products as free

 9 from ingredients that are commonly associated with adverse health and/or environmental impacts.

10 In addition, Plaintiff and the Class seek restitution to the individual victims of Defendant’s unlawful,

11
     unfair, and deceptive practices.
12
            148.    Plaintiff purchased the Products because she believed the Products as marketed,
13
     advertised, and sold by Defendant complied with the law. If Plaintiff had known that the Products
14

15 were not made with “Clean Ingredients” free from ingredients that are commonly associated with

16 adverse health and/or environmental impacts in California, she would not have purchased the

17 Products and would have instead sought out other comparable products that are made with

18 ingredients that are not harmful to humans and/or the environment or would not have paid as much

19
   as she did for the Products. Plaintiff purchased the Products based on a belief that Defendant’s
20
   marketing, advertising, and sale of the Products complied with its legal obligations under California
21
   law and in reliance on Defendant’s representations that the Products are made with “Clean
22

23 Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™” which prohibits the

24 use of ingredients that are commonly associated with adverse health and/or environmental impacts.

25 Defendant’s claims that the Products are made with “Clean Ingredients” that excludes ingredients

26
     on Ulta Beauty’s “Made Without List™” which prohibits the use of ingredients that are commonly
27
     associated with adverse health and/or environmental impacts. are material, untrue, and misleading.
28

                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 132
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 1 These “Clean Ingredients” claims are uniform and prominent in the marketing, advertising, and sale

 2 of the Products.

 3
            149.     An action for injunctive relief and restitution is specifically authorized under Cal.
 4
     Bus. & Prof. Code § 17203.
 5
            150.     Plaintiff also seeks equitable relief, including restitution, with respect to her UCL
 6

 7 unlawfulness claims. Pursuant to Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes the

 8 following allegations in this paragraph only hypothetically and as an alternative to any contrary

 9 allegations in her causes of action 1, 3 and 4, in the event that such causes of action will not succeed.

10 Plaintiff and the Class may be unable to obtain monetary, declaratory and/or injunctive relief directly

11
     under causes of action 1, 3 and 4 and will lack an adequate remedy of law, if the Court requires her
12
     to show classwide reliance and materiality beyond the objective reasonable consumer standard
13
     applied under the UCL, because Plaintiff may not be able to establish each Class member’s
14

15 individualized understanding of Defendants’ misleading representations as described in this

16 Complaint, but the UCL does not require individualized proof of deception or injury by absent class

17 members.        See, e.g., Stearns v Ticketmaster,655 F.3d 1013, 1020, 1023-25 (9th Cir. 2011)
18 (distinguishing, for purposes of CLRA claim, among class members for whom website

19
   representations may have been materially deficient, but requiring certification of UCL claim for
20
   entire class). In addition, Plaintiff and the Class may be unable to obtain such relief under causes
21
   of action 3 and 4 and will lack an adequate remedy at law, if Plaintiff is unable to demonstrate the
22

23 requisite mens rea (intent, reckless, and/or negligence), because the UCL imposes no such mens rea

24 requirement and liability exists even if Defendants acted in good faith.

25

26
27

28

                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 133
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 1                             PLAINTIFF’S SIXTH CAUSE OF ACTION

 2         (Fraudulent Acts and Practices, Business and Professions Code § 17200, et seq.)
 3                           On Behalf of Herself and the California Subclass
 4
            151.    Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged above.
 5
            152.    Under Cal. Bus. & Prof. Code § 17200, any business act or practice that is likely to
 6
     deceive members of the public constitutes a fraudulent business act or practice.
 7
            153.    Defendant has engaged and continues to engage in conduct that is likely to deceive
 8

 9 members of the public. This conduct includes, but is not limited to, representing that the Products

10 are that the Products are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s

11 “Made Without List™”, when they are not.

12
            154.    Plaintiff has no adequate remedy at law for the injuries currently being suffered as
13
     an award of monetary damages would not prohibit Defendant’s unlawful marketing, advertising,
14
     sale, and distribution of the Products in California. If an injunction is not granted, Plaintiff will
15

16 suffer irreparable injury because she continues to desire to purchase Products from Defendant in the

17 future that are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made

18 Without List™” which prohibits the use of ingredients that are commonly associated with adverse

19 health and/or environmental impacts but is unable to determine with confidence whether the

20
   Products are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made
21
   Without List™”. In addition, adverse environmental impact caused by Defendant’s marketing,
22
   advertising, and sale of the Products in California will continue to negatively harm California
23

24 waters, coasts, communities, and marine life. Thus, Plaintiff and the Class seek an order enjoining

25 Defendant’s acts of unlawful, unfair, and deceptive acts and practices in California, which serves

26 the public interest by protecting the environment and by preventing Defendant from gaining an
27
     unfair advantage over companies that lawfully sell their products as made with clean ingredients
28

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 1 that do not have adverse health and/or environmental impacts. In addition, Plaintiff and the Class

 2 seek restitution to the individual victims of Defendant’s unlawful, unfair, and deceptive practices.

 3
            155.    Plaintiff purchased the Products because she believed the Products as marketed,
 4
     advertised, and sold by Defendant complied with the law. If Plaintiff had known that the Products
 5
     were not made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without
 6

 7 List™” which prohibits the use of ingredients that are commonly associated with adverse health

 8 and/or environmental impacts, she would not have purchased the Products and would have instead

 9 sought out other comparable products that are otherwise made with clean ingredients that are not

10 commonly associated with adverse health and/or environmental impacts or would not have paid as

11
     much as she did for the Products. Plaintiff purchased the Products based on a belief that Defendant’s
12
     marketing, advertising, and sale of the Products complied with its legal obligations under California
13
     law and in reliance on Defendant’s representations that the Products are made with “Clean
14

15 Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™” which prohibits the

16 use of ingredients that are commonly associated with adverse health and/or environmental impacts.

17 Defendant’s claims that the Products are made with “Clean Ingredients” that excludes ingredients

18 on Ulta Beauty’s “Made Without List™” are material, untrue, and misleading. These “Clean

19
   Ingredients” claims are uniform and prominent in the marketing, advertising, and sale of the
20
   Products.
21
          156. By committing the acts alleged above, Defendant has engaged in fraudulent business
22

23 acts and practices, which constitute unfair competition within the meaning of Cal. Bus. & Prof. Code

24 § 17200.

25          157.    An action for injunctive relief and restitution is specifically authorized under Cal.
26
     Bus. & Prof. Code § 17203.
27

28

                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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 1          158.     Plaintiff also seeks equitable relief, including restitution, with respect to her UCL

 2 fraudulent acts and practices claims. Pursuant to Federal Rule of Civil Procedure 8(e)(2), Plaintiff

 3
     makes the following allegations in this paragraph only hypothetically and as an alternative to any
 4
     contrary allegations in her causes of action 1, 3 and 4, in the event that such causes of action will
 5
     not succeed. Plaintiff and the Class may be unable to obtain monetary, declaratory and/or injunctive
 6

 7 relief directly under causes of action 1, 3 and 4 and will lack an adequate remedy of law, if the Court

 8 requires her to show classwide reliance and materiality beyond the objective reasonable consumer

 9 standard applied under the UCL, because Plaintiff may not be able to establish each Class member’s

10 individualized understanding of Defendants’ misleading representations as described in this

11
     Complaint, but the UCL does not require individualized proof of deception or injury by absent class
12
     members.      See, e.g., Stearns v Ticketmaster,655 F.3d 1013, 1020, 1023-25 (9th Cir. 2011)
13
     (distinguishing, for purposes of CLRA claim, among class members for whom website
14

15 representations may have been materially deficient, but requiring certification of UCL claim for

16 entire class). In addition, Plaintiff and the Class may be unable to obtain such relief under causes

17 of action 3 and 4 and will lack an adequate remedy at law, if Plaintiff is unable to demonstrate the

18 requisite mens rea (intent, reckless, and/or negligence), because the UCL imposes no such mens rea

19
   requirement and liability exists even if Defendants acted in good faith.
20
                           PLAINTIFF’S SEVENTH CAUSE OF ACTION
21
             (Unfair Acts and Practices, Business and Professions Code § 17200, et seq.)
22
                            On Behalf of Herself and the California Subclass
23

24          159.     Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged above.

25          160.     Under California Cal. Bus. & Prof. Code § 17200, any business act or practice that

26 is unethical, oppressive, unscrupulous, or substantially injurious to consumers, or that violates a
27
     legislatively declared policy, constitutes an unfair business act or practice.
28

                                  COMPLAINT AND DEMAND FOR JURY TRIAL
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 1          161.    Defendant has engaged and continues to engage in conduct which is immoral,

 2 unethical, oppressive, unscrupulous, and substantially injurious to consumers.         This conduct
 3
     includes, but is not limited to, unlawfully marketing, advertising, and selling the Products,
 4
     representing that the Products are made with “Clean Ingredients” that excludes ingredients on Ulta
 5
     Beauty’s “Made Without List™” which prohibits the use of ingredients that are commonly
 6

 7 associated with adverse health and/or environmental impacts when they are not, and failing to

 8 substantiate the environmental benefits of the Products. By illegally marketing, advertising, and

 9 selling the Products, and by taking advantage of consumers concerned about the adverse health and

10 environmental impacts of cosmetic ingredients, Defendant’s conduct far outweighs the utility, if

11
     any, of such conduct.
12
            162.    Defendant’s conduct violates the policy of EMCA and the Green Guides. The Green
13
     Guides mandate that “[i]t is deceptive to misrepresent, directly or by implication, that a product,
14

15 package, or service offers a general environmental benefit.” 16 C.F.R. § 260.4(a). EMCA states

16 that “it is unlawful for any person to make any untruthful, deceptive, or misleading environmental

17 marketing claim, whether explicit or implied. For the purpose of this section, environmental

18 marketing claims shall include any claims contained in the Guides for the use of Environmental

19
   Marketing Claims published by the Federal Trade Commission.” Cal. Bus. & Prof. Code § 17580.5.
20
   As explained above, the Products are not made with “Clean Ingredients” because they contain a
21
   litany of ingredients prohibited by Ulta Beauty’s “Made Without List™” that are commonly
22

23 associated with adverse health and/or environmental impacts, and it is therefore unfair for Defendant

24 to make this clean ingredient claim. Taking advantage of consumer perception of clean ingredients

25 that do not have environmental impacts violates the policy of the Green Guides and EMCA.

26
            163.    Defendant’s conduct also violates the policy of substantiation policy of EMCA.
27
     Under EMCA, “Any person who represents in advertising or on the label or container of a consumer
28

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 1 good that the consumer good that it manufactures or distributes is not harmful to, or is beneficial to,

 2 the natural environment, through use of such terms as ‘environmental choice,’ ‘ecologically

 3
     friendly,’ ‘earth friendly,’ ‘environmentally friendly,’ ‘ecologically sound,’ ‘environmentally
 4
     sound,’ ‘environmentally safe,’ ‘ecologically safe,’ ‘environmentally lite,’ ‘green product,’ or any
 5
     other like term, or through the use of a chasing arrows symbol or by otherwise directing a consumer
 6

 7 to recycle the consumer good, shall maintain in written form in its records…information and

 8 documentation supporting the validity of the representation.” Cal. Bus. & Prof. Code § 17580(a).

 9 The California Legislature declared its intent that the information and documentation supporting the

10 validity of any environmental marketing claims shall be fully disclosed to the public, and

11
     information and documentation maintained pursuant to Cal. Bus. & Prof. Code § 17580 must be
12
     furnished to any member of the public upon request. Id., § 17580(b), (d).
13
            164.    Defendant’s conduct also violates the substantiation policy of the Green Guides. The
14

15 Green Guides require marketers to ensure that their claims are supported by a reasonable basis prior

16 to making the claim. 16 C.F.R. § 260.2. A reasonable basis is defined as competent and reliable

17 scientific evidence, such as “tests, analyses, research, or studies that have been conducted and

18 evaluated in an objective manner by qualified persons and are generally accepted in the profession

19
   to yield accurate and reliable results.” Id. “Such evidence should be sufficient in quality and
20
   quantity based on standards generally accepted in the relevant scientific fields, when considered in
21
   light of the entire body of relevant and reliable scientific evidence, to substantiate that each of the
22

23 marketing claims is true.” Id. It is unfair for Defendant to represent that the Products are made with

24 “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without List™” which

25 prohibits the use of ingredients that are commonly associated with adverse health and/or

26
     environmental impacts without a reasonable basis.
27

28

                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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 1          165.     By committing the acts alleged above, Defendant has engaged in unfair business acts

 2 and practices which constitute unfair competition within the meaning of California Cal. Bus. & Prof.

 3
     Code § 17200.
 4
            166.     Plaintiff has no adequate remedy at law for the injuries currently being suffered as
 5
     an award of monetary damages would not prohibit Defendant’s unlawful marketing, advertising,
 6

 7 sale, and distribution of the Products in California. If an injunction is not granted, Plaintiff will

 8 suffer irreparable injury because she continues to desire to purchase Products from Defendant in the

 9 future that are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made

10 Without List™” which prohibits the use of ingredients that are commonly associated with adverse

11
     health and/or environmental impacts but is unable to determine with confidence whether the
12
     Products are made with clean ingredients. In addition, the environmental impact caused by
13
     Defendant’s marketing, advertising, and sale of the Products in California will continue to
14

15 negatively harm California waters, coasts, communities, and marine life. Thus, Plaintiff and the

16 Class seek an order enjoining Defendant’s acts of unlawful, unfair, and deceptive acts and practices

17 in California, which serves the public interest by protecting the environment and by preventing

18 Defendant from gaining an unfair advantage over companies that lawfully sell their products as

19
   made with clean ingredients that do not negatively impact the environment. In addition, Plaintiff
20
   and the Class seek restitution to the individual victims of Defendant’s unlawful, unfair, and
21
   deceptive practices.
22

23          167.     Plaintiff purchased the Products because she believed the Products as marketed,

24 advertised, and sold by Defendant complied with the law. If Plaintiff had known that the Products

25 were not made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made Without

26
     List™” which prohibits the use of ingredients that are commonly associated with adverse health
27
     and/or environmental impacts, she would not have purchased the Products and would have instead
28

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 1 sought out other comparable products that are otherwise made with clean ingredients that do not

 2 have adverse health and/or environmental impacts, or would not have paid as much as she did for

 3
     the Products. Plaintiff purchased the Products based on a belief that Defendant’s marketing,
 4
     advertising, and sale of the Products complied with its legal obligations under California law and in
 5
     reliance on Defendant’s representations that the Products are made with “Clean Ingredients” that
 6

 7 excludes ingredients on Ulta Beauty’s “Made Without List™.” Defendant’s claims that the

 8 Products are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made

 9 Without List™” which prohibits the use of ingredients that are commonly associated with adverse

10 health and/or environmental impacts are material, untrue, and misleading.                These “Clean
11
     Ingredients” claims are uniform and prominent in the marketing, advertising, and sale of the
12
     Products.
13
            168.    By committing the acts alleged above, Defendant has engaged in fraudulent business
14

15 acts and practices, which constitute unfair competition within the meaning of Cal. Bus. & Prof. Code

16 § 17200.

17          169.    An action for injunctive relief and restitution is specifically authorized under Cal.
18 Bus. & Prof. Code § 17203.

19
           170. Plaintiff also seeks equitable relief, including restitution, with respect to her UCL
20
   unfair acts and practices claims. Pursuant to Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes
21
   the following allegations in this paragraph only hypothetically and as an alternative to any contrary
22

23 allegations in her causes of action 1, 3 and 4, in the event that such causes of action will not succeed.

24 Plaintiff and the Class may be unable to obtain monetary, declaratory and/or injunctive relief directly

25 under causes of action 1, 3 and 4 and will lack an adequate remedy of law, if the Court requires her

26
     to show classwide reliance and materiality beyond the objective reasonable consumer standard
27
     applied under the UCL, because Plaintiff may not be able to establish each Class member’s
28

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 1 individualized understanding of Defendants’ misleading representations as described in this

 2 Complaint, but the UCL does not require individualized proof of deception or injury by absent class

 3
     members.      See, e.g., Stearns v Ticketmaster,655 F.3d 1013, 1020, 1023-25 (9th Cir. 2011)
 4
     (distinguishing, for purposes of CLRA claim, among class members for whom website
 5
     representations may have been materially deficient, but requiring certification of UCL claim for
 6

 7 entire class). In addition, Plaintiff and the Class may be unable to obtain such relief under causes

 8 of action 3 and 4 and will lack an adequate remedy at law, if Plaintiff is unable to demonstrate the

 9 requisite mens rea (intent, reckless, and/or negligence), because the UCL imposes no such mens rea

10 requirement and liability exists even if Defendants acted in good faith.

11
                              PLAINTIFF’S EIGHTH CAUSE OF ACTION
12
                                             (Unjust Enrichment)
13
     On Behalf of Herself and the Nationwide Class and, in the alternative, the California Subclass
14
            171.     Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged above.
15

16          172.     At all times relevant hereto, Defendant deceptively marketed, advertised, and sold

17 merchandise to Plaintiffs and the Classes.

18          173.     Plaintiff and the Class members conferred benefits on Defendant by purchasing the
19 Products.

20
          174. Plaintiffs and members of the Classes conferred upon Defendant non-gratuitous
21
   payments for the Products that they would not have if not for Defendant’s deceptive advertising and
22
   marketing. Defendant accepted or retained the non-gratuitous benefits conferred by Plaintiffs and
23

24 members of the Classes, with full knowledge and awareness that, as a result of Defendant’s

25 deception, Plaintiffs and members of the Class were not receiving a product of the quality, nature,

26 fitness, or value that had been represented by Defendant and reasonable consumers would have
27
     expected.
28

                                  COMPLAINT AND DEMAND FOR JURY TRIAL
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 1          175.    Defendant voluntarily accepted and retained the benefits conferred.

 2          176.    Defendant has been unjustly enriched in retaining the revenues derived from
 3
     Plaintiff’s and the Class members’ purchases of the Products.
 4
            177.    Retention of that money under these circumstances is unjust and inequitable because
 5
     Defendant falsely and misleadingly represented through its advertising and marketing materials that
 6

 7 the Products are made with “Clean Ingredients” that excludes ingredients on Ulta Beauty’s “Made

 8 Without List™” which prohibits the use of ingredients that are commonly associated with adverse

 9 health and/or environmental impacts, when the Products are not in fact made with “Clean

10 Ingredients” excluded by Ulta Beauty’s “Made Without List™.”

11
            178.    These misrepresentations and omissions caused injuries to Plaintiff and the Class
12
     members because they would not have purchased the Products, or would not have paid as much for
13
     the Products, had they known that the Products are not made with “Clean Ingredients” that excludes
14

15 ingredients on Ulta Beauty’s “Made Without List™”.

16          179.    Because Defendant’s retention of the non-gratuitous benefits conferred to it by

17 Plaintiff and the Class members is unjust and inequitable, Defendant ought to pay restitution to

18 Plaintiff and the Class members for its unjust enrichment.

19
           180. As a direct and proximate result of Defendant’s unjust enrichment, Plaintiff and the
20
   Class members are entitled to restitution or disgorgement in an amount to be proved at trial.
21
                                        PRAYER FOR RELIEF
22

23          WHEREFORE, Plaintiff, on behalf of herself and those similarly situated, respectfully

24 request that the Court enter judgment against Defendant as follows:

25          a.      Certification of the proposed Class, including appointment of Plaintiff’s counsel as
26                  class counsel;
27

28

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 1             b. An order declaring the Defendant’s conduct violates the statutes and laws referenced

 2                herein;
 3
               c. An order finding in favor of Plaintiff and the Class on all counts asserted herein;
 4
          d.      An order temporarily and permanently enjoining Defendant from continuing the
 5
                  unlawful, deceptive, fraudulent, and unfair business practices alleged in this
 6
                  Complaint;
 7

 8        e.      An order requiring Defendant to immediately cease and desist from selling its

 9                misbranded Products in violation of law; enjoining Defendant from continuing to
10                label, market, advertise, distribute, and sell the Products in the unlawful manner
11
                  described herein; and order Defendant to engage in corrective action;
12
          f.      An award of compensatory damages in an amount to be determined at trial;
13
          g.      An award of statutory damages in an amount to be determined at trial;
14

15        h.      An award of punitive damages in an amount to be determined at trial;

16        i.      An award of treble damages;

17        j.      An award of restitution in an amount to be determined at trial;
18        k.      An order requiring Defendant to undertake a corrective advertising campaign;
19
          l.      An order requiring Defendant to pay both pre- and post-judgment interest on any
20
                  amounts awarded;
21
          m.      For injunctive relief as pleaded or as the Court may deem proper;
22

23        n.      For reasonable attorney’s fees and the costs of suit incurred; and

24        o.      For such further relief as this Court may deem just and proper.

25

26
27

28

                               COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                                          JURY DEMAND

 2        Plaintiff hereby demands a trial by jury of all claims in this action.
 3

 4 Dated: July 15, 2025                   Respectfully submitted,
 5
                                           MORRIS LAW
 6
 7
                                           James A. Morris, Esq.
 8                                         Shane A. Greenberg, Esq.
 9                                         Attorneys for Plaintiff
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          “EXHIBIT A”
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                                      Products

•   af94 - Acid Patch Salicylic Acid Pimple Patches | Ulta Beauty
•   af94 - Talkback Pout Pleaser Lip Mask | Ulta Beauty
•   Aveeno - 1.7 oz Calm + Restore Oat Gel Moisturizer | Ulta Beauty
•   Aveeno - Calm + Restore Age Renewal Eye Gel for Sensitive Skin, Fragrance Free | Ulta
    Beauty
•   Aveeno - Calm + Restore Age Renewal Serum for Sensitive Skin, Fragrance Free | Ulta
    Beauty
•   Aveeno - Calm + Restore Daily Moisturizer Mineral Sunscreen with Broad Spectrum
    SPF 30 | Ulta Beauty
•   Aveeno - Calm + Restore Makeup Remover Wipes | Ulta Beauty
•   Aveeno - Calm + Restore Nourishing Oat Facial Cleanser | Ulta Beauty
•   Aveeno - Calm + Restore Redness Relief Cream, Face Moisturizer | Ulta Beauty
•   Aveeno - Calm + Restore Triple Oat Serum | Ulta Beauty
•   Avène - 6.7 oz (tube) Cleanance Cleansing Gel | Ulta Beauty
•   Avène - Cicalfate HANDS Restorative Hand Cream | Ulta Beauty
•   Avène - Cicalfate LIPS Restorative Lip Cream | Ulta Beauty
•   Avène - CleananceHYDRA Soothing Cream | Ulta Beauty
•   Avène - Honey Mineral Tinted Compact SPF 50 | Ulta Beauty
•   Avène - Hydrance LIGHT Emulsion | Ulta Beauty
•   Avène - Hydrance RICH Hydrating Cream | Ulta Beauty
•   Avène - Retrinal Eye Cream | Ulta Beauty
•   Avène - RICH Revitalizing Nourishing Cream | Ulta Beauty
•   Avène - Soothing Eye Contour Cream | Ulta Beauty
•   Bali Body - Dark Instant Tan Cream | Ulta Beauty
•   Bali Body - Everyday Gradual Tan Body Moisturizer | Ulta Beauty
•   Bali Body - Hydrating Face Self Tan Mist Ultra Dark | Ulta Beauty
•   Bali Body - Illuminating Bronzing Serum | Ulta Beauty
•   Bali Body - Light Medium Instant Airbrush Tan Wash Off | Ulta Beauty
•   Bali Body - Natural Tinted Bronzing Super Serum SPF 30 | Ulta Beauty
•   Bali Body - No Transfer Self Tan Light to Dark Body Mist | Ulta Beauty
•   Bali Body - Self Tanning Body Milk | Ulta Beauty
•   Bali Body - Tinted Hydrating Self Tan Body Serum Dark | Ulta Beauty
•   Bali Body - Ultra Dark Express Aerated Self Tan Foam | Ulta Beauty
•   Banila Co - Clean it Zero Enriching Butter Cleansing Balm | Ulta Beauty
•   Banila Co - Clean It Zero Firming Cleansing Balm | Ulta Beauty
•   bareMinerals - 1.7 oz SKINLONGEVITY Long Life Herb Serum | Ulta Beauty
•   bareMinerals - Ageless 10% Phyto ProCollagen Firming Anti-Age Cream | Ulta Beauty
•   bareMinerals - Ageless 10% Phyto ProCollagen Firming Sleeping Mask | Ulta Beauty
•   bareMinerals - AGELESS Phyto-AHA Radiance Facial | Ulta Beauty
•   bareMinerals - Ageless Phyto-Retinol Eye Cream | Ulta Beauty
•   bareMinerals - Ageless Phyto-Retinol Face Cream | Ulta Beauty
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•   bareMinerals - Buttercream 03 COMPLEXION RESCUE Tinted Moisturizer Mineral
    SPF 30 | Ulta Beauty
•   bareMinerals - Cinnamon COMPLEXION RESCUE Natural Matte Tinted Moisturizer
    Mineral SPF 30 | Ulta Beauty
•   bareMinerals - Mini SKINLONGEVITY Long Life Herb Serum | Ulta Beauty
•   bareMinerals - Opal 01 Mini COMPLEXION RESCUE Tinted Moisturizer Mineral SPF
    30 | Ulta Beauty
•   bareMinerals - Poreless Clay Cleanser | Ulta Beauty
•   bareMinerals - Poreless Oil-Free Moisturizer | Ulta Beauty
•   bareMinerals - Pure Plush Gentle Deep Cleansing Foam | Ulta Beauty
•   bareMinerals - Pureness Gel Cleanser | Ulta Beauty
•   bareMinerals - SKIN RESCUE Pure Glow Serum with 10% Vitamin C Complex and
    Rainbow Seaweed | Ulta Beauty
•   bareMinerals - SKIN RESCUE Pure Moisture Serum with 1% PGA and Plant Algae |
    Ulta Beauty
•   bareMinerals - SKINLONGEVITY Long Life Herb Eye Treatment | Ulta Beauty
•   bareMinerals - SKINLONGEVITY Long Life Herb Night Treatment | Ulta Beauty
•   bareMinerals - Skinlongevity Phyto-Vitamin C Brightening Moisturizer Mineral SPF 30 |
    Ulta Beauty
•   bareMinerals - SMOOTHNESS Bare Haven Soft Moisturizer | Ulta Beauty
•   bareMinerals - SMOOTHNESS Hydrating Cleansing Oil | Ulta Beauty
•   BeautyBio - Bright Eyes Depuffing and Brightening Eye Gels | Ulta Beauty
•   BeautyBio - Bronzing Blendrops SPF 46 Priming Drops | Ulta Beauty
•   BeautyBio - Clarifying Booster - Salicylic Acid Treatment Serum | Ulta Beauty
•   BeautyBio - Eye Want It All Face + Eye Rejuvenation Set | Ulta Beauty
•   BeautyBio - Get That Glow GloPRO Facial Microneedling Discovery Set | Ulta Beauty
•   BeautyBio - GloPRO Skin Prep Pads Clarifying Skin Cleansing Wipes with Peptides |
    Ulta Beauty
•   BeautyBio - Plumping Booster Hyaluronic Acid Supercharged Complex | Ulta Beauty
•   BeautyBio - R45 The Reversal 3-Phase Retinol Booster System | Ulta Beauty
•   BeautyBio - The Balance pH Balancing Gel Cleanser | Ulta Beauty
•   BeautyBio - The Daily Acid-Free Vitamin C Brightening Serum | Ulta Beauty
•   BeautyBio - The Nightly Retinol Repair Serum | Ulta Beauty
•   BeautyBio - The Pout Sparkling Rosé Volumizing Lip Serum | Ulta Beauty
•   BeautyBio - The Quench Eye Pro-Strength Brightening Balm | Ulta Beauty
•   BeautyBio - The Quench Rapid Recovery Face Cream | Ulta Beauty
•   BeautyBio - The Sculptor Firming Body Cream | Ulta Beauty
•   BeautyBio - The ZenBubble Oil-Free Calming Gel Cream | Ulta Beauty
•   BeautyBio - ZenBubble Bi-Phase Toner Serum | Ulta Beauty
•   Beautycounter - No 8 Dew Skin Tinted Moisturizer | Ulta Beauty
•   BeautyStat Cosmetics - 1.0 oz Probiotic 24HR Moisture Boost Cream Moisturizer | Ulta
    Beauty
•   Beekman 1802 - Potato Peel Rapid Resurfacing Milk Facial | Ulta Beauty
•   Beekman 1802 - Pure Goat Milk Bodycare Gift Set | Ulta Beauty

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•   Beekman 1802 - Pure Goat Milk Facial Cleansing Wipes | Ulta Beauty
•   Beekman 1802 - Travel Size Potato Peel Rapid Resurfacing Milk Facial | Ulta Beauty
•   belif - Moisturizing Eye Bomb Eye Cream | Ulta Beauty
•   belif - The True Cream - Aqua Bomb Hydrating Moisturizer | Ulta Beauty
•   belif - Travel Size The True Cream Aqua Bomb Hydrating Moisturizer | Ulta Beauty
•   Benefit Cosmetics - The POREfessional Speedy Smooth Pore Mask | Ulta Beauty
•   Black Girl Sunscreen - Fragrance Free Moisturizing Sunscreen Lotion SPF 30 | Ulta
    Beauty
•   Black Girl Sunscreen - Kids Moisturizing Broad Spectrum SPF 50 | Ulta Beauty
•   Bliss - Disappearing Act Niacinamide PC + Pore Vanish Micro Purifying Toner | Ulta
    Beauty
•   Bliss - Rest Assured Dark Circle Reducing & Depuffing Eye Cream | Ulta Beauty
•   Bliss - Skin Euphoria All-In-One Perfecting Daily Serum | Ulta Beauty
•   BLUME - Milky Fade Spot and Scar Serum | Ulta Beauty
•   Bubble - 1.7 oz Slam Dunk Hydrating Moisturizer | Ulta Beauty
•   Bubble - 4.2 oz Fresh Start Gel Cleanser | Ulta Beauty
•   Bubble - Cloud Surf Water Cream Moisturizer | Ulta Beauty
•   Bubble - Inside Out 2: Day Dream Tone and Texture Serum | Ulta Beauty
•   Bubble - Magic Melt Micellar Milk | Ulta Beauty
•   Bubble - Rise and Shine Brightening Kit | Ulta Beauty
•   Bubble - Super Cuties Trial Kit | Ulta Beauty
•   Bubble - Water Slide Hydration Boosting Serum Hyaluronic Acid + Peptides | Ulta
    Beauty
•   Bushbalm - Curve Firming Cream | Ulta Beauty
•   Buttah Skin - AHA/BHA Rosewater Toner | Ulta Beauty
•   Buttah Skin - Body Trio Kit Black Gold | Ulta Beauty
•   Buttah Skin - Body Trio Kit Oatmeal | Ulta Beauty
•   Buttah Skin - Charcoal Detox Mask | Ulta Beauty
•   Buttah Skin - Cleanser | Ulta Beauty
•   Buttah Skin - CocoShea Revitalizing Cream | Ulta Beauty
•   Buttah Skin - Oil Free Gel-Cream Moisturizer | Ulta Beauty
•   Buttah Skin - Skin Transforming Cocoshea 3 Piece Kit | Ulta Beauty
•   Buttah Skin - Skin Transforming Kit with Facial Shea Butter | Ulta Beauty
•   Buttah Skin - Vibe and Cleanse 2 Piece Kit | Ulta Beauty
•   Buttah Skin - Vitamin C Serum | Ulta Beauty
•   BYOMA - Moisturizing Gel Cream SPF30 | Ulta Beauty
•   CeraVe - Acne Foaming Cream Cleanser with 4% BPO for Acne Prone Skin | Ulta Beauty
•   CeraVe - Alcohol-Free No Rinse Hydrating Facial Toner for Sensitive & Dry Skin | Ulta
    Beauty
•   CeraVe - Hydrating Foaming Oil Cleanser, Water-Based Face Wash for Dry Skin | Ulta
    Beauty
•   CeraVe - Makeup Removing Cleansing Balm with Jojoba Oil for All Skin Types | Ulta
    Beauty
•   Clarins - Super Restorative Day Moisturizer | Ulta Beauty

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•   cocokind - Beginner Retinol Gel | Ulta Beauty
•   cocokind - Chlorophyll Discoloration Serum | Ulta Beauty
•   COSRX - 3.52 oz Advanced Snail 92 All In One Cream | Ulta Beauty
•   COSRX - Advanced Snail 96 Mucin Power Essence | Ulta Beauty
•   COSRX - Advanced Snail Hydrogel Eye Patch | Ulta Beauty
•   COSRX - Low pH Good Morning Gel Cleanser | Ulta Beauty
•   COSRX - The AHA BHA PHA LHA 35 Peel with Vitamins B5 & B12 | Ulta Beauty
•   COSRX - The Snail Booster Kit | Ulta Beauty
•   COSRX - Travel Size Advanced Snail 96 Mucin Power Essence | Ulta Beauty
•   CoverGirl - Bliss You Berry Clean Fresh Tinted Lip Balm | Ulta Beauty
•   CoverGirl - Clean Fresh Skincare Priming Glow Mist | Ulta Beauty
•   DERMA E - Acne Blemish Control Treatment Serum | Ulta Beauty
•   DERMA E - Acne Deep Pore Salicylic Acid Cleansing Wash | Ulta Beauty
•   DERMA E - Advanced Peptides and Flora-Collagen Moisturizer | Ulta Beauty
•   DERMA E - Advanced Peptides and Flora-Collagen Night Moisturizer | Ulta Beauty
•   DERMA E - Anti-Acne Oil-Control Matte Moisturizer with Salicylic Acid | Ulta Beauty
•   DERMA E - Anti-Aging Regenerative Retinol Serum | Ulta Beauty
•   DERMA E - Anti-Wrinkle Cleanser with Retinol | Ulta Beauty
•   DERMA E - Anti-Wrinkle Retinol Concentrated Serum | Ulta Beauty
•   DERMA E - Anti-Wrinkle Retinol Eye Treatment | Ulta Beauty
•   DERMA E - Anti-Wrinkle Retinol Renewal Cream | Ulta Beauty
•   DERMA E - Anti-Wrinkle Retinol Scrub with Glycolic Acid | Ulta Beauty
•   DERMA E - Dead Sea Salt Microdermabrasion Scrub | Ulta Beauty
•   DERMA E - Discovery Kit On-The Glow Minis | Ulta Beauty
•   DERMA E - Essentials Radiance Toner with Glycolic Acid | Ulta Beauty
•   DERMA E - Hydrating Gentle Cleanser with Hyaluronic Acid | Ulta Beauty
•   DERMA E - No-Dark-Circles Perfecting Eye Cream | Ulta Beauty
•   DERMA E - Pure Biome Balancing Eye Cream | Ulta Beauty
•   DERMA E - Scar Gel with Pathenol and Allantoin | Ulta Beauty
•   DERMA E - Tea Tree Oil Scalp Relief Treatment | Ulta Beauty
•   DERMA E - Ultra Hydrating Antioxidant Day Cream with Hyaluronic Acid | Ulta Beauty
•   DERMA E - Ultra Hydrating Hyaluronic Acid Dewy Skin Serum | Ulta Beauty
•   DERMA E - Vitamin C 10% Multi-Acid Radiance Liquid Peel | Ulta Beauty
•   DERMA E - Vitamin C Broad Spectrum SPF 45 Weightless Moisturizer | Ulta Beauty
•   DERMA E - Vitamin C Concentrated Antioxidant Serum Mini | Ulta Beauty
•   DERMA E - Vitamin C Gentle Daily Cleansing Paste | Ulta Beauty
•   DERMA E - Vitamin C Intense Night Cream | Ulta Beauty
•   DERMA E - Vitamin C Radiance-Boosting Renewing Moisturizer | Ulta Beauty
•   Dermalogica - 1.7 oz Dynamic Skin Recovery SPF 50 Moisturizer | Ulta Beauty
•   Dermalogica - 1.7 oz Skin Smoothing Cream Moisturizer | Ulta Beauty
•   Dermalogica - 3.4 oz Intensive Moisture Balance Moisturizer | Ulta Beauty
•   Dermalogica - Age Smart Reversal Eye Complex | Ulta Beauty
•   Dermalogica - Awaken Peptide Depuffing Eye Gel | Ulta Beauty
•   Dermalogica - BioLumin-C Vitamin C Eye Serum | Ulta Beauty

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•   Dermalogica - Circular Hydration Serum with Hyaluronic Acid | Ulta Beauty
•   Dermalogica - Circular Hydration Serum with Hyaluronic Acid | Ulta Beauty
•   Dermalogica - Clear Start Blackhead Clearing Fizz Mask | Ulta Beauty
•   Dermalogica - Clear Start Breakout Clearing Foaming Wash
•   Dermalogica - Clear Start Breakout Clearing Booster
•   Dermalogica - Clear Start Clarifying Bacne Spray | Ulta Beauty
•   Dermalogica - Conditioning Body Wash Eucalyptus + Lavender | Ulta Beauty
•   Dermalogica - Dark Spot Solutions Skincare Kit | Ulta Beauty
•   Dermalogica - Micellar Prebiotic PreCleanse | Ulta Beauty
•   Dermalogica - MultiVitamin Power Recovery Cream | Ulta Beauty
•   Dermalogica - MultiVitamin Power Recovery Mask | Ulta Beauty
•   Dermalogica - MultiVitamin Power Recovery Masque | Ulta Beauty
•   Dermalogica - MultiVitamin Thermafoliant Exfoliator Scrub | Ulta Beauty
•   Dermalogica - Oil to Foam Total Cleanser | Ulta Beauty
•   Dermalogica - Phyto Nature Oxygen Cream | Ulta Beauty
•   Dermalogica - Porescreen SPF 40 Mineral Sunscreen with Niacinamide | Ulta Beauty
•   Dermalogica - PowerBright Dark Spot Peel | Ulta Beauty
•   Dermalogica - PowerBright Dark Spot Serum | Ulta Beauty
•   Dermalogica - PowerBright Dark Spot System | Ulta Beauty
•   Dermalogica - Powerbright Moisturizer SPF 50 | Ulta Beauty
•   Dermalogica - Prisma Protect SPF 30 Moisturizer | Ulta Beauty
•   Dermalogica - Pro-Collagen Banking Serum | Ulta Beauty
•   Dermalogica - Sensitive Skin Rescue Trio Kit | Ulta Beauty
•   Dermalogica - Sound Sleep Cocoon Night Gel-Cream | Ulta Beauty
•   Dermalogica - Stress Positive Eye Lift Cream | Ulta Beauty
•   Dermalogica - Stressed Skin Recovery System | Ulta Beauty
•   Dermalogica - Super Rich Repair Moisturizer Cream | Ulta Beauty
•   Dermalogica - Travel Size Dynamic Skin Recovery SPF 50 Moisturizer | Ulta Beauty
•   Dermalogica - Travel Size Dynamic Skin Retinol Serum | Ulta Beauty
•   Dermalogica - Travel Size Intensive Moisture Balance Moisturizer | Ulta Beauty
•   Dermalogica - Travel Size Multi-Active Toner Spray | Ulta Beauty
•   Dermalogica - Travel Size Skin Smoothing Cream | Ulta Beauty
•   Dermalogica - Travel Size Super Rich Repair Moisturizer Cream | Ulta Beauty
•   Dermalogica - UltraCalming Serum Concentrate | Ulta Beauty
•   DIME - Hyaluronic Acid Serum: Hydrating + Plumping | Ulta Beauty
•   DIME - Luminosity Eye Serum: Cucumber + Peptide | Ulta Beauty
•   DIME - Shade 01 Tinted Glow Wonderscreen SPF 30 | Ulta Beauty
•   DIME - TBT Serum: Mandelic Acid + Peptides | Ulta Beauty
•   DIME - Wonderscreen Broad Spectrum SPF 30 | Ulta Beauty
•   Dr. Brandt - Bright This Way 24/7 Retinol Eye Cream | Ulta Beauty
•   Dr. Brandt - Bright This Way Triple Active Retinol Cream | Ulta Beauty
•   Drunk Elephant - 1.6 oz Protini Polypeptide Firming Moisturizer | Ulta Beauty
•   Drunk Elephant - 1.69 oz T.L.C Framboos Glycolic Resurfacing Night Serum | Ulta
    Beauty

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•   Drunk Elephant - A-Passioni Retinol Cream | Ulta Beauty
•   Drunk Elephant - A-Shaba Complex Eye Serum | Ulta Beauty
•   Drunk Elephant - B-Hydra Intensive Hydration Serum | Ulta Beauty
•   Drunk Elephant - Beste No. 9 Jelly Cleanser Mini | Ulta Beauty
•   Drunk Elephant - Bouncy Brightfacial Brightening Mask | Ulta Beauty
•   Drunk Elephant - Ceramighty AF Eye Balm | Ulta Beauty
•   Drunk Elephant - D-Bronzi Anti-Pollution Bronzing Drops with Peptides | Ulta Beauty
•   Drunk Elephant - E-Rase Milki Micellar Water | Ulta Beauty
•   Drunk Elephant - F-Balm Electrolyte Waterfacial | Ulta Beauty
•   Drunk Elephant - Hydra and the Bright | Ulta Beauty
•   Drunk Elephant - Lala Retro Whipped Cream Mini | Ulta Beauty
•   Drunk Elephant - Lala Retro Whipped Cream Moisturizer with Ceramides | Ulta Beauty
•   Drunk Elephant - Lippe Balm | Ulta Beauty
•   Drunk Elephant - Protini Polypeptide Cream Mini | Ulta Beauty
•   Drunk Elephant - Protini Powerpeptide Resurfacing Serum | Ulta Beauty
•   Drunk Elephant - T.L.C. Sukari Babyfacial | Ulta Beauty
•   Drunk Elephant - T.L.C. Sukari Babyfacial Mini | Ulta Beauty
•   DUNE SUNCARE - The Lifeguard - Cooling Aloe Gel | Ulta Beauty
•   e.l.f. Cosmetics - 3.5 oz Holy Hydration! Makeup Melting Cleansing Balm | Ulta Beauty
•   ELEMIS - 1-2-3 Glow! Bestsellers Kit | Ulta Beauty
•   ELEMIS - 6.76 oz Superfood Facial Wash | Ulta Beauty
•   ELEMIS - Mini Dynamic Resurfacing Facial Pads | Ulta Beauty
•   ELEMIS - Mini Pro-Collagen Energising Marine Cleanser | Ulta Beauty
•   ELEMIS - Mini Superfood Glow Priming Moisturiser | Ulta Beauty
•   ELEMIS - Original Pro-Collagen Cleansing Balm | Ulta Beauty
•   ELEMIS - Pro-Collagen Eye Revive Mask | Ulta Beauty
•   ELEMIS - Pro-Collagen Morning Matrix | Ulta Beauty
•   ELEMIS - Pro-Collagen Renewal Serum | Ulta Beauty
•   ELEMIS - Pro-Collagen Rose Marine Cream | Ulta Beauty
•   ELEMIS - Superfood Cica Calm Hydration Juice | Ulta Beauty
•   Estée Lauder - Nutritious Booster Drops Serum | Ulta Beauty
•   Exuviance - 3 in 1 Pore Clarifying Cleanser | Ulta Beauty
•   Exuviance - AGE REVERSE + Rebuild-5 Firming & Moisturizing Face Cream | Ulta
    Beauty
•   Exuviance - AGE REVERSE Hydrafirm Hyaluronic Acid Antiaging Face Moisturizer |
    Ulta Beauty
•   First Aid Beauty - 5.0 oz Pure Skin Face Cleanser | Ulta Beauty
•   First Aid Beauty - 8.0 oz Ultra Repair Cream | Ulta Beauty
•   First Aid Beauty - Deep Cleanser with Red Clay | Ulta Beauty
•   First Aid Beauty - FAB Pharma BHA Acne Spot Treatment | Ulta Beauty
•   First Aid Beauty - Head-To-Toe-FAB Kit | Ulta Beauty
•   First Aid Beauty - Hello FAB Coconut Skin Smoothie Priming Moisturizer | Ulta Beauty
•   First Aid Beauty - Hydrating Eye Cream with Hyaluronic Acid | Ulta Beauty
•   First Aid Beauty - Hydrating Serum with Hyaluronic Acid | Ulta Beauty

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•   First Aid Beauty - Travel Size Pure Skin Face Cleanser | Ulta Beauty
•   First Aid Beauty - Ultra Repair Face Moisturizer | Ulta Beauty
•   First Aid Beauty - Ultra Repair Face Moisturizer with SPF 30 | Ulta Beauty
•   First Aid Beauty - Ultra Repair Oat & Hemp Seed Dry Oil | Ulta Beauty
•   First Aid Beauty - Ultra Repair Wild Oat Hydrating Toner | Ulta Beauty
•   Flora & Noor - Berry Oxygen Mask with Glycolic Acid | Ulta Beauty
•   Flora & Noor - Bright Side Vitamin C and Hyaluronic Acid Serum | Ulta Beauty
•   Flora & Noor - Rose Renewal Tri-Peptide and Ceramide Cleanser | Ulta Beauty
•   Flora & Noor - Rose Renewal Tri-Peptide and Ceramide Moisturizer | Ulta Beauty
•   Flora & Noor - Super Glow Vitamin C and Niacinamide Gel Moisturizer | Ulta Beauty
•   Flora & Noor - Vitamin C Resurfacing Toner | Ulta Beauty
•   florence by mills - Ava's Mini & Mighty Essentials Kit | Ulta Beauty
•   florence by mills - Clean Magic Oil-Balancing Face Wash | Ulta Beauty
•   florence by mills - Clear The Way Clarifying Face Wash | Ulta Beauty
•   florence by mills - Dreamy Dew Oil-Free Moisturizer | Ulta Beauty
•   florence by mills - Dreamy Drops Clarifying Serum | Ulta Beauty
•   florence by mills - Dreamy Drops Hydrating Serum | Ulta Beauty
•   florence by mills - Episode 2 - Clear the Way Clarifying Toner | Ulta Beauty
•   florence by mills - Feed Your Soul Berry in Love Pore Mask | Ulta Beauty
•   florence by mills - Feed Your Soul Love U A Latte Coffee Glow Mask | Ulta Beauty
•   florence by mills - Floating Under The Eyes Depuffing Gel Pads | Ulta Beauty
•   florence by mills - Happy Days Skincare Set Face Wash | Ulta Beauty
•   florence by mills - Hit Snooze Jelly Hydration Lip Mask | Ulta Beauty
•   florence by mills - Look Alive Brightening Eye Cream | Ulta Beauty
•   florence by mills - Look Alive Eye Balm | Ulta Beauty
•   florence by mills - Magic Micellar Cleansing Gel | Ulta Beauty
•   florence by mills - Plump To It! Hydrating Facial Moisturizer | Ulta Beauty
•   florence by mills - Pore Power To You Deep Cleansing Pore Strips | Ulta Beauty
•   florence by mills - See Ya Later! Bi-Phase Eye Makeup Remover | Ulta Beauty
•   florence by mills - Surfing Under The Eyes Hydrating Treatment Gel Pads | Ulta Beauty
•   florence by mills - Travel Size Clean Magic Oil-Balancing Face Wash | Ulta Beauty
•   fresh - 0.5 oz Rose Deep Hydration Face Cream | Ulta Beauty
•   fresh - 3.3 oz Black Tea Firming Overnight Mask | Ulta Beauty
•   fresh - Black Tea Firming Corset Cream | Ulta Beauty
•   fresh - Black Tea Firming Corset Serum | Ulta Beauty
•   fresh - Dewy Daisy Limited Edition Sugar Tinted Lip Balm | Ulta Beauty
•   fresh - Smooth, Glowing Skin Favorites On-the-Go Set | Ulta Beauty
•   fresh - Sugar Recovery Lip Mask Advanced Therapy | Ulta Beauty
•   fresh - Travel Size Vitamin Nectar Glow Juice Antioxidant Face Serum | Ulta Beauty
•   Fur - 0.3 oz Ingrown Eliminator Serum Rollerball | Ulta Beauty
•   Fur - Ingrown Eliminator Serum | Ulta Beauty
•   Garnier - Micellar Skinactive Gentle Peeling Water with 1% PHA & Glycolic Acid | Ulta
    Beauty
•   good light - Moon Glow Milky Moisturizing Toning Lotion | Ulta Beauty

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•   Hanskin - Hyaluron Moisture Cream | Ulta Beauty
•   Hanskin - Hyaluron Skin Essence | Ulta Beauty
•   Hanskin - Pore Cleansing Balm - AHA | Ulta Beauty
•   Hanskin - Pore Cleansing Balm - BHA | Ulta Beauty
•   Hanskin - Pore Cleansing Balm - PHA | Ulta Beauty
•   Hempz - Glow Getter Drops of Sunshine Instant Bronzing Drops | Ulta Beauty
•   Hempz - Limited Edition Crushed Peppermint Sugar Herbal Lip Balm | Ulta Beauty
•   Hempz - Sweet Pineapple & Honey Melon Herbal Body Sunscreen SPF 30 | Ulta Beauty
•   Hempz - Sweet Pineapple & Honey Melon Herbal Body Sunscreen SPF 50 | Ulta Beauty
•   Hempz - Sweet Pineapple & Honey Melon Herbal Lip Balm SPF 15 | Ulta Beauty
•   Hempz - Triple Moisture Herbal Lip Balm SPF 15 | Ulta Beauty
•   Hero Cosmetics - Mighty Patch for Fine Lines Patches | Ulta Beauty
•   Hero Cosmetics - Pimple Correct Acne Clearing Gel Pen | Ulta Beauty
•   Hero Cosmetics - Rescue Balm +Dark Spot Retouch Post-Blemish Recovery Cream |
    Ulta Beauty
•   Hero Cosmetics - Rescue Balm +Red Correct Post-Blemish Recovery Cream | Ulta
    Beauty
•   Hero Cosmetics - Rescue Balm Post-Blemish Recovery Cream | Ulta Beauty
•   Hero Cosmetics - Rescue Retinol Nighttime Renewing Cream | Ulta Beauty
•   Hey Honey - 24Seven Day & Night Revitalizing Cream | Ulta Beauty
•   Hey Honey - Boost It Up Honey and Hyaluronic Acid Rich Moisturizer | Ulta Beauty
•   Hey Honey - Come Clean Propolis & Minerals Facial Scrub | Ulta Beauty
•   Hey Honey - Good Morning Honey Silk Facial Serum | Ulta Beauty
•   Hey Honey - Good Night Royal Honey Gel-Facial Replenisher with Coenzyme Q10 |
    Ulta Beauty
•   Hey Honey - Look Into My Eyes Retinol and Propolis Eye Mask | Ulta Beauty
•   Hey Honey - Make A Splash - Intense Hydrating Aqua Serum | Ulta Beauty
•   Hey Honey - Open Your Eyes Eye Contour Lifting Fluid | Ulta Beauty
•   I Dew Care - Chill Mo-Mint Soothing & Cooling Wash-Off Mask | Ulta Beauty
•   I Dew Care - Cookie O' Glow | Ulta Beauty
•   I Dew Care - Here's To Clearing Clay Exfoliating Sheet Mask | Ulta Beauty
•   I Dew Care - Hydra Vibes 10-Hyaluronic Acid Serum | Ulta Beauty
•   ICONIC LONDON - Original Prep-Set-Glow Hydrating Setting Spray | Ulta Beauty
•   ICONIC LONDON - Original Prep-Set-Tan Tanning Mousse | Ulta Beauty
•   ILIA - Travel Size The Base Face Milk | Ulta Beauty
•   Indeed Labs - 10balm Soothing Cream for Dry & Sensitive Skin | Ulta Beauty
•   Indeed Labs - Exfoliator II - Facial Powder Exfoliator | Ulta Beauty
•   Indeed Labs - Eysilix II Multi-Action Eye Treatment | Ulta Beauty
•   Indeed Labs - Hydraluron Cream Cleanser for All Skin Types | Ulta Beauty
•   Indeed Labs - Hydraluron Moisture Jelly with Hyaluronic Acid & PatcH2O | Ulta Beauty
•   Indeed Labs - Hydraluron Moisture Serum for Dehydrated Skin | Ulta Beauty
•   Indeed Labs - Hydraluron+ Volumising Lip Treatment | Ulta Beauty
•   Indeed Labs - In-Ceramide Daily Moisture Cream | Ulta Beauty
•   Indeed Labs - In-Circadian Night Mask with Polyglutamic Acid | Ulta Beauty

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•   Indeed Labs - Nanoblur Instant Skin Perfector Cream | Ulta Beauty
•   Indeed Labs - Original Nanobronze Bronzing Drops with Cacao Seed Extract | Ulta
    Beauty
•   Indeed Labs - Pink Hydraluron + Tinted Lip Treatment | Ulta Beauty
•   Indeed Labs - Retinol Reface Eye Cream with Retinol Ester and Ribose | Ulta Beauty
•   Indeed Labs - Retinol Reface Skin Resurfacer Cream | Ulta Beauty
•   Indeed Labs - Snoxin II Facial Line Fighter Serum | Ulta Beauty
•   Indeed Labs - Vitamin C Brightening Drops | Ulta Beauty
•   Indeed Labs - Vitamin C24 22% + 2% Vitamin C Cream | Ulta Beauty
•   Indeed Labs - Watermelon Melting Balm Facial Cleanser | Ulta Beauty
•   IT Cosmetics - 0.5 oz Confidence in an Eye Cream Anti-Aging Peptide Eye Cream | Ulta
    Beauty
•   IT Cosmetics - 2.0 oz Confidence in a Cream Anti-Aging Hydrating Moisturizer | Ulta
    Beauty
•   IT Cosmetics - Best Beauty Sleep Ever Skincare Gift Set + Luxe Makeup Bag | Ulta
    Beauty
•   IT Cosmetics - Bye Bye Dark Spots Niacinamide Serum | Ulta Beauty
•   IT Cosmetics - Bye Bye Lines Hyaluronic Acid Serum | Ulta Beauty
•   IT Cosmetics - Bye Bye Redness Serum | Ulta Beauty
•   IT Cosmetics - IT's Your Customized Face Serum Skincare Kit | Ulta Beauty
•   IT Cosmetics - Travel Size Confidence in a Cream Anti-Aging Hydrating Moisturizer |
    Ulta Beauty
•   IT Cosmetics - Your 3-Piece Eye-Loving Essentials Gift Set | Ulta Beauty
•   IT Cosmetics - Your Radiance Boosting Best Sellers Skincare Gift Set | Ulta Beauty
•   Jack Black - 10.0 oz All-Over Wash for Face, Hair & Body | Ulta Beauty
•   Jack Black - 6.0 oz Face Buff Energizing Scrub with Vitamin C & Mint | Ulta Beauty
•   Jack Black - 6.0 oz Pure Clean Daily Facial Cleanser | Ulta Beauty
•   Jack Black - Age Control Protein Booster Eye Rescue | Ulta Beauty
•   Jack Black - Age Control Protein Booster Skin Serum | Ulta Beauty
•   Jack Black - Beard Grooming Kit 4-Piece Set | Ulta Beauty
•   Jack Black - Deep Dive Glycolic Facial Cleanser | Ulta Beauty
•   jane iredale - Fair 1 HydroPure Tinted Serum | Ulta Beauty
•   Kinship - 1.75 oz Self Reflect Probiotic Moisturizing Sunscreen SPF 32 | Ulta Beauty
•   Kinship - 1.75 oz Supermello Hyaluronic Gel Cream | Ulta Beauty
•   Kinship - Brightwave 10% Vitamin C + Peptide Brightening Serum | Ulta Beauty
•   Kinship - Brightwave Vitamin C Energizing + Brightening Eye Cream | Ulta Beauty
•   Kinship - Brightwave Vitamin C Face Serum | Ulta Beauty
•   Kinship - Dreamwave 2% Bio-Retinoid Complex Overnight Renewal Serum | Ulta
    Beauty
•   Kinship - Insta Swipe Lemon Honey AHA Exfoliating Pads | Ulta Beauty
•   Kinship - Mint Mud Deep Pore Detox Clay Mask | Ulta Beauty
•   Kinship - Naked Papaya Gentle Enzyme Milky Cleanser | Ulta Beauty
•   Kinship - Self Reflect Sport Sunscreen SPF 60 | Ulta Beauty
•   Kinship - Self Smooth 10% Glycolic Resurfacing Serum | Ulta Beauty

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•   Klairs - Freshly Juiced Vitamin C Drop | Ulta Beauty
•   Klairs - Gentle Black Deep Cleansing Oil | Ulta Beauty
•   Kopari Beauty - Antioxidant Face Shield Mineral SPF 30 | Ulta Beauty
•   Kopari Beauty - Lychee Clean Vitamin C Face Mask | Ulta Beauty
•   Kopari Beauty - Lychee Clean Vitamin C Foaming Face Cleanser | Ulta Beauty
•   Kopari Beauty - Niacinamide & Caffeine Eye Bright Cream | Ulta Beauty
•   Kopari Beauty - Star Bright Vitamin C Discoloration Correcting Serum | Ulta Beauty
•   Kopari Beauty - Star Bright Vitamin C Moisturizer | Ulta Beauty
•   Kopari Beauty - Ultra Renewal Retinol Body Cream | Ulta Beauty
•   Kopari Beauty - Ultra Restore Firming Body Serum | Ulta Beauty
•   KYLIE COSMETICS - Eye Cream | Ulta Beauty
•   KYLIE COSMETICS - Face Moisturizer | Ulta Beauty
•   KYLIE COSMETICS - Foaming Face Wash | Ulta Beauty
•   KYLIE COSMETICS - Sugar Lip Scrub | Ulta Beauty
•   KYLIE COSMETICS - Vitamin C Serum | Ulta Beauty
•   L'Oréal - 1.0 oz Age Perfect Cell Renewal Midnight Hydrating Serum | Ulta Beauty
•   L'Oréal - Age Perfect Cell Renewal Anti-Aging Eye Cream Treatment | Ulta Beauty
•   L'Oréal - Age Perfect Cell Renewal Midnight Eye Cream | Ulta Beauty
•   L'Oréal - Revitalift Triple Power Anti-Aging Face Moisturizer | Ulta Beauty
•   L'Oréal - Revitalift Vitamin C Vitamin E Salicylic Acid Serum | Ulta Beauty
•   La Roche-Posay - 13.5 oz Toleriane Hydrating Gentle Face Cleanser for Dry Skin | Ulta
    Beauty
•   La Roche-Posay - 4.0 oz Anthelios Body and Face Soft Finish Mineral Sunscreen Lotion
    SPF 50 | Ulta Beauty
•   La Roche-Posay - Anthelios Kids Gentle Sunscreen Face and Body Lotion SPF 50 | Ulta
    Beauty
•   La Roche-Posay - Anthelios Mineral SPF 30 Face Moisturizer with Hyaluronic Acid |
    Ulta Beauty
•   La Roche-Posay - Anthelios UV Correct SPF 70 Daily Face Sunscreen with Niacinamide
    | Ulta Beauty
•   La Roche-Posay - Cicaplast Hand Repair Cream for Dry Hands | Ulta Beauty
•   La Roche-Posay - Effaclar Micellar Water For Oily Skin | Ulta Beauty
•   La Roche-Posay - Nutritic Lip Balm for Very Dry Lips | Ulta Beauty
•   La Roche-Posay - Toleriane Rosaliac Anti-Redness Face Moisturizer for Sensitive Skin |
    Ulta Beauty
•   La Roche-Posay - Travel Size Toleriane Hydrating Gentle Face Cleanser for Dry Skin |
    Ulta Beauty
•   Lanolips - Everywhere Multi-Cream - Dry Skin Treatment | Ulta Beauty
•   Live Tinted - Superhue Brightening Eye Cream | Ulta Beauty
•   LOOPS - Clean Slate Detoxifying Face Mask 5 Piece Set | Ulta Beauty
•   LOOPS - Double Take Glow Face Mask 5 Piece Set | Ulta Beauty
•   LOOPS - Sunrise Service Brightening Face Mask 5 Piece Set | Ulta Beauty
•   LOOPS - Variety Hydrogel Face Mask 5 Piece Set | Ulta Beauty
•   LOOPS - Weekly Reset Rejuvenating Eye Mask | Ulta Beauty

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•   LOOPS - Weekly Reset Rejuvenating Eye Mask 5 Piece Set | Ulta Beauty
•   Love Wellness - Bye Bye Bloat Firming Clay Body Mask | Ulta Beauty
•   Love Wellness - Bye Bye Bloat Lymphatic Massage Roller | Ulta Beauty
•   megababe - Cucumber Mint Shower Sheets | Ulta Beauty
•   megababe - Le Tush Clarifying Butt Mask | Ulta Beauty
•   megababe - Night Rescue Overnight Brightening Stick | Ulta Beauty
•   Milani - Glow Drops Radiance Boosting Serum | Ulta Beauty
•   Milani - Light to Medium Glow Hydrating Skin Tint | Ulta Beauty
•   Milani - Peach Thrill Supercharged Cheek + Lip Multistick | Ulta Beauty
•   Milani - Supercharged Brightening Prep Mask | Ulta Beauty
•   Milani - Supercharged Lip Balm | Ulta Beauty
•   Milani - Supercharged Revitalizing Facial Mist | Ulta Beauty
•   Milk + Honey - Charcoal Clay Masque | Ulta Beauty
•   Milk + Honey - Pink Clay Masque | Ulta Beauty
•   Naked Sundays - Watermelon Go + Glow Lip Oil SPF50 | Ulta Beauty
•   NARS - Light Reflecting Eye & Lash Gel | Ulta Beauty
•   NARS - Light Reflecting Firming Serum | Ulta Beauty
•   NARS - Light Reflecting Moisturizer | Ulta Beauty
•   NARS - Light Reflecting Multi-Action Treatment Lotion | Ulta Beauty
•   Naturium - Azelaic Topical Acid 10% | Ulta Beauty
•   Naturium - Barrier Bounce Advanced Skin Hydrator | Ulta Beauty
•   Naturium - BHA Liquid Exfoliant 2% | Ulta Beauty
•   Naturium - Fermented Camellia Creamy Cleansing Oil | Ulta Beauty
•   Naturium - Glycolic Acid Resurfacing Gel 10% | Ulta Beauty
•   Naturium - Light/Medium Vitamin Bright Illuminating Eye Cream | Ulta Beauty
•   Naturium - Multi-Peptide Advanced Serum | Ulta Beauty
•   Naturium - Multi-Peptide Eye Cream | Ulta Beauty
•   Naturium - Multi-Peptide Moisturizer | Ulta Beauty
•   Naturium - Niacinamide Cleansing Gelee 3% | Ulta Beauty
•   Naturium - Niacinamide Gel Cream 5% | Ulta Beauty
•   Naturium - Niacinamide Serum 12% Plus Zinc 2% | Ulta Beauty
•   Naturium - Plant Ceramide Rich Moisture Cream | Ulta Beauty
•   Naturium - Purple Ginseng Cleansing Balm | Ulta Beauty
•   Naturium - Quadruple Hyaluronic Acid Serum 5% | Ulta Beauty
•   Naturium - Retinaldehyde Cream Serum 0.05% | Ulta Beauty
•   Naturium - Retinaldehyde Cream Serum 0.10% | Ulta Beauty
•   Naturium - Retinol Complex Serum | Ulta Beauty
•   Naturium - The Icons Serum Starter Kit | Ulta Beauty
•   Naturium - Tranexamic Topical Acid 5% | Ulta Beauty
•   Naturium - Travel Size Niacinamide Cleansing Gelee 3% | Ulta Beauty
•   Naturium - Travel Size Vitamin C Complex Serum | Ulta Beauty
•   Naturium - UV Reflect Antioxidant SPF 50 | Ulta Beauty
•   Naturium - Vitamin C Complex Cleanser | Ulta Beauty
•   Naturium - Vitamin C Super Serum Plus | Ulta Beauty

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•   Neutrogena - 7.8 oz Hydro Boost Fragrance-Free Gel Facial Cleanser | Ulta Beauty
•   Neutrogena - Alcohol-Free Daily Facial Toner | Ulta Beauty
•   Neutrogena - Clear Face Serum Sunscreen with Green Tea, SPF 60+ | Ulta Beauty
•   Neutrogena - Daily Facial Moisturizer - Fragrance Free | Ulta Beauty
•   Neutrogena - Fragrance-Free Makeup Remover Cleansing Towelettes Twin Pack | Ulta
    Beauty
•   Neutrogena - Hydro Boost Body Gel Cream | Ulta Beauty
•   Neutrogena - Hydro Boost Cleansing Towelettes Twin Pack | Ulta Beauty
•   Neutrogena - Hydro Boost Eye Gel-Cream | Ulta Beauty
•   Neutrogena - Hydro Boost Facial Cleansing Wipes | Ulta Beauty
•   Neutrogena - Hydro Boost Gentle Exfoliating Facial Cleanser | Ulta Beauty
•   Neutrogena - Hydro Boost Hyaluronic Acid Serum | Ulta Beauty
•   Neutrogena - Hydro Boost Hyaluronic Acid Water Gel Moisturizer | Ulta Beauty
•   Neutrogena - Hydro Boost Hydrating 100% Hydrogel Mask | Ulta Beauty
•   Neutrogena - Hydro Boost Hydrating Facial Cleansing Gel | Ulta Beauty
•   Neutrogena - Hydro Boost Hydrating Serum | Ulta Beauty
•   Neutrogena - Hydro Boost Ultra Hydrating Hyaluronic Acid Serum | Ulta Beauty
•   Neutrogena - Invisible Daily Defense Lotion SPF 60+ | Ulta Beauty
•   Neutrogena - Makeup Remover Cleansing Towelette Singles | Ulta Beauty
•   Neutrogena - Makeup Remover Cleansing Towelettes Fragrance Free | Ulta Beauty
•   Neutrogena - Makeup Remover Cleansing Towelettes, Fragrance Free Singles | Ulta
    Beauty
•   Neutrogena - Night Calming Makeup Remover Cleansing Towelettes | Ulta Beauty
•   Neutrogena - Sun Rescue After Sun Rehydrating Spray, Hyaluronic Acid | Ulta Beauty
•   Neutrogena - Travel Size Makeup Remover Cleansing Towelettes | Ulta Beauty
•   NUDESTIX - Citrus Renew Set For Sensitive Skin | Ulta Beauty
•   NUDESTIX - Dewy Barrier Hydrating Stick | Ulta Beauty
•   NUDESTIX - NUDESKIN 3-Step Citrus Renew Set | Ulta Beauty
•   NUDESTIX - Nudeskin Blemish Clarifying Gel Moisturizer | Ulta Beauty
•   NUDESTIX - NUDESKIN Citrus-C Mask & Daily Moisturizer | Ulta Beauty
•   NUDESTIX - NUDESKIN Lemon-Aid Detox & Glow Micro-Peel | Ulta Beauty
•   NUDESTIX - NUDESKIN Vegan Bamboo Cleansing Cloths | Ulta Beauty
•   NYX Professional Makeup - Face Freezie Cooling Hydration Moisturizer + Primer | Ulta
    Beauty
•   Oak Essentials - Balancing Mist | Ulta Beauty
•   Oak Essentials - Cleansing Balm | Ulta Beauty
•   Oak Essentials - Daily Vitamin C Serum | Ulta Beauty
•   Oak Essentials - Mini Routine | Ulta Beauty
•   Oak Essentials - Moisture Rich Balm | Ulta Beauty
•   Oak Essentials - Nightly Retinol Serum | Ulta Beauty
•   Oak Essentials - Restorative Mask | Ulta Beauty
•   Oak Essentials - Ritual Oil | Ulta Beauty
•   Oak Essentials - The Hydration Heroes | Ulta Beauty
•   Oak Essentials - The Routine | Ulta Beauty

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•   Oak Essentials - The Serums | Ulta Beauty
•   Oh K! - Caffeine Eye Mask | Ulta Beauty
•   Oh K! - Collagen Hydrogel Mask | Ulta Beauty
•   Oh K! - Ginseng and Eucalyptus Under Eye Masks | Ulta Beauty
•   Oh K! - Hyaluronic Hydrogel Sheet Mask | Ulta Beauty
•   Oh K! - Hydrogel Eye Mask with Multi Hyaluronic Acid | Ulta Beauty
•   Oh K! - Nourishing Sleep Mask | Ulta Beauty
•   Oh K! - Pomegranate Hydrogel Mask | Ulta Beauty
•   OLEHENRIKSEN - Balancing Force Oil Control Toner | Ulta Beauty
•   OLEHENRIKSEN - Banana Banana Bright Vitamin CC Sticks for Dark Circles | Ulta
    Beauty
•   OLEHENRIKSEN - Banana Bright 15% Vitamin C Dark Spot Serum | Ulta Beauty
•   OLEHENRIKSEN - Banana Bright Mineral Face Sunscreen SPF 30 | Ulta Beauty
•   OLEHENRIKSEN - Banana Bright+ Instant Glow Moisturizer with Vitamin C and
    Niacinamide | Ulta Beauty
•   OLEHENRIKSEN - Barrier Booster Vitamin C Milky Toner Essence with Niacinamide |
    Ulta Beauty
•   OLEHENRIKSEN - C-Rush Brightening Vitamin C Gel Crème | Ulta Beauty
•   OLEHENRIKSEN - Cold Plunge Pore Remedy Moisturizer with BHA/LHA | Ulta
    Beauty
•   OLEHENRIKSEN - Dewtopia 25% AHA + PHA Flash Facial Exfoliating Face Mask |
    Ulta Beauty
•   OLEHENRIKSEN - Dewtopia 5% AHA Firming Night Crème | Ulta Beauty
•   OLEHENRIKSEN - Double Rewind Pro-Grade 0.3% Retinol for Fine Lines & Wrinkles |
    Ulta Beauty
•   OLEHENRIKSEN - Find Your Balance Oil Control Cleanser | Ulta Beauty
•   OLEHENRIKSEN - Glow Strong Mini Moisturizer + Eye Cream Duo | Ulta Beauty
•   OLEHENRIKSEN - Glow2OH 7% AHA Exfoliating Dark Spot Toner | Ulta Beauty
•   OLEHENRIKSEN - Let's Get Luminous+ Brightening Essentials Set | Ulta Beauty
•   OLEHENRIKSEN - Mini 10% AHA Lemonade Smoothing Scrub | Ulta Beauty
•   OLEHENRIKSEN - Mini Glow2OH 7% AHA Exfoliating Dark Spot Toner | Ulta Beauty
•   OLEHENRIKSEN - Mini Strength Trainer Peptide Boost Moisturizer with Niacinamide |
    Ulta Beauty
•   OLEHENRIKSEN - Mini Truth Juice Daily Cleanser with PHA | Ulta Beauty
•   OLEHENRIKSEN - Strength Trainer Skin Barrier Moisturizer with Peptides | Ulta
    Beauty
•   OLEHENRIKSEN - The Glow Cycle Skincare Set | Ulta Beauty
•   OLEHENRIKSEN - Truth Juice Gentle Glow Daily Cleanser | Ulta Beauty
•   OLEHENRIKSEN - Truth Serum Hydrating Vitamin C Serum | Ulta Beauty
•   OSEA - Dream Night Cream | Ulta Beauty
•   OSEA - Hyaluronic Acid Body Serum | Ulta Beauty
•   Pacifica - 02 Kind Tint Tinted Serum | Ulta Beauty
•   Pacifica - Comfort Space Skinflammation Mask | Ulta Beauty
•   Pacifica - Dreamlit Glow Undereye Brightener | Ulta Beauty

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•   Pacifica - Dreamlit Illuminating Lotion | Ulta Beauty
•   Pacifica - Eye Bright Undereye Vitamin C Spot Serum Mask | Ulta Beauty
•   Pacifica - Flower Fix Oil Serum | Ulta Beauty
•   Pacifica - Future Youth Foaming Cleansing Gel | Ulta Beauty
•   Pacifica - Future Youth Gravity Rebound Serum | Ulta Beauty
•   Pacifica - Future Youth Moisturizing Super Cream | Ulta Beauty
•   Pacifica - Future Youth Time Shift Eye Serum | Ulta Beauty
•   Pacifica - Future Youth Time Shift Hydrogel Facial Mask | Ulta Beauty
•   Pacifica - Glow Baby Brightening Face Wash | Ulta Beauty
•   Pacifica - Glow Baby Enzyme Face Scrub with Vitamin C & Glycolic Acid | Ulta Beauty
•   Pacifica - Glow Baby VitaGlow Face Lotion with Vitamin C | Ulta Beauty
•   Pacifica - Glow Baby Vitamin C Booster Serum | Ulta Beauty
•   Pacifica - Hydrodew Slime Barrier Care Gel | Ulta Beauty
•   Pacifica - Kale Detox Pore Strips for Nose Blackheads | Ulta Beauty
•   Pacifica - Stress Rehab Coconut & Caffeine Facial Mask | Ulta Beauty
•   Pacifica - Sunny Glow Bronzing Drops | Ulta Beauty
•   Pacifica - Vegan Ceramide Hydration Under Eye & Smile Line Jelly Patches | Ulta
    Beauty
•   Pacifica - Vegan Collagen Complex Face Serum with Hyaluronic Acid | Ulta Beauty
•   Pacifica - Vegan Collagen Hydrate & Plump Face Mask | Ulta Beauty
•   Pacifica - Vegan Collagen Hydrating Milk Tonic | Ulta Beauty
•   Pacifica - Vegan Collagen Hydro-Treatment Eye & Smile Line Patches | Ulta Beauty
•   Pacifica - Vegan Collagen Overnight Recovery Cream | Ulta Beauty
•   Pacifica - Vegan Collagen Recovery Eye Cream | Ulta Beauty
•   Pacifica - Wake Up Beautiful Overnight Retinoid Cream | Ulta Beauty
•   Patchology - 5 pair FlashPatch Rejuvenating Eye Gels | Ulta Beauty
•   Patchology - 5 pair Serve Chilled Bubbly Brightening Eye Gels | Ulta Beauty
•   Patchology - All Eyes On You Eye Perfecting Trio | Ulta Beauty
•   Patchology - Breakout Box 3-in-1 Acne Treatment Kit | Ulta Beauty
•   Patchology - Lip Service Gloss-To Balm Treatment | Ulta Beauty
•   Patchology - On The Fly Travel Facial Kit | Ulta Beauty
•   Patchology - Travel Size FlashPatch Rejuvenating Eye Gels | Ulta Beauty
•   Patchology - Travel Size FlashPatch Restoring Night Eye Gels | Ulta Beauty
•   Patchology - Travel Size Serve Chilled Bubbly Brightening Eye Gels | Ulta Beauty
•   Patchology - Travel Size Serve Chilled Rosé Hydrating Eye Gels | Ulta Beauty
•   Peace Out - 2% Salicylic Acid Acne Gel Cleanser | Ulta Beauty
•   Peace Out - Daily Blemish Repairing Moisturizer | Ulta Beauty
•   Peace Out - Pore Perfecting AHA & Blackhead Exfoliator Stick | Ulta Beauty
•   Peace Out - Puffy Eyes Biocellulose Under-Eye Patches | Ulta Beauty
•   Peace Out - Retinol Eye Stick with Encapsulated Retinol & Peptides | Ulta Beauty
•   PEACH & LILY - Super Reboot Resurfacing Mask | Ulta Beauty
•   Peach Slices - 3-Step Acne Starter Kit | Ulta Beauty
•   Peach Slices - Dark Spot Microdarts | Ulta Beauty
•   Peach Slices - Redness Relief Color Correcting Moisturizer | Ulta Beauty

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•   Peach Slices - Snail Rescue All-In-One Oil Free Moisturizer | Ulta Beauty
•   Petite n Pretty - $ell Out Glo$ Balm Glossy Lip Balm for Tweens | Ulta Beauty
•   Petite n Pretty - 9021-Glow! Fresh Start Moisturizer | Ulta Beauty
•   Philosophy - 2.0 oz Hope In A Jar Smooth-Glow Multi-Tasking Moisturizer | Ulta Beauty
•   Philosophy - 8.0 oz Purity Made Simple One-Step Facial Cleanser | Ulta Beauty
•   Philosophy - Anti-Wrinkle Miracle Worker+ Line Correcting Eye Cream | Ulta Beauty
•   Philosophy - Anti-Wrinkle Miracle Worker+ Line Correcting Overnight Cream | Ulta
    Beauty
•   Philosophy - Anti-Wrinkle+ Miracle Worker Line Correcting Mini Moisturizer | Ulta
    Beauty
•   Philosophy - Clear Days Ahead Oil-Free Salicylic Acid Acne Treatment & Moisturizer |
    Ulta Beauty
•   Philosophy - Dose of Wisdom Bouncy Skin Reactivating Serum | Ulta Beauty
•   Philosophy - Hope In A Jar Instant Glow Peeling Mousse | Ulta Beauty
•   Philosophy - Hope In A Jar Skin-Resurrection Overnight Power Hydrator | Ulta Beauty
•   Philosophy - Hope In A Jar Smooth-Glow Multi-Tasking Moisturizer SPF 30 | Ulta
    Beauty
•   Philosophy - Microdelivery Resurfacing Solution with 4% AHA's, Cica and Vitamin C |
    Ulta Beauty
•   Philosophy - Mini Hope In A Jar Smooth-Glow Multi-Tasking Moisturizer | Ulta Beauty
•   Philosophy - Mini Hope In A Jar Water Cream Hyaluronic Glow Moisturizer | Ulta
    Beauty
•   Philosophy - Mini Purity Made Simple One-Step Facial Cleanser | Ulta Beauty
•   Philosophy - Mini The Microdelivery Exfoliating Facial Wash | Ulta Beauty
•   Philosophy - Purity Made Simple Pore Extractor Exfoliating Clay Mask | Ulta Beauty
•   Philosophy - Purity Made Simple Pore Extractor Exfoliating Mini Clay Mask | Ulta
    Beauty
•   Philosophy - Purity Made Simple Pore Minimizing Serum | Ulta Beauty
•   Philosophy - Purity Made Simple Pore Purifying Foam Cleanser | Ulta Beauty
•   Polite Society - Pink Grapefruit Polite Pout Glossy Lip Balm | Ulta Beauty
•   Proactiv - ProactivClean 2-Step Beginner Breakouts Bundle | Ulta Beauty
•   Proactiv - ProactivClean 3-Step Mild Acne-Fighting Treatment Routine | Ulta Beauty
•   Proactiv - ProactivClean Acne Clearing Hydrator | Ulta Beauty
•   Proactiv - ProactivClean Mineral Acne Cleanser | Ulta Beauty
•   PROVENCE Beauty - Masked Out French Green Clay Mask | Ulta Beauty
•   PÜR - Ceretin Boost Age Defying Retinol Serum | Ulta Beauty
•   PÜR - Cloud Cream Gel-to-Water Hydrating Essence Moisturizer | Ulta Beauty
•   PÜR - Joystick Exfoliating Deep Pore Clay Cleansing Stick | Ulta Beauty
•   PÜR - Mellow Eyes Hemp Hydrogel Rejuvenating Eye Patches | Ulta Beauty
•   PÜR - Tone Up Niacinamide Firming Eye Serum | Ulta Beauty
•   PÜR - Tropical C Brightening Vitamin C & Peptide Moisturizer | Ulta Beauty
•   r.e.m. beauty - Mist Thing Calming Face Mist | Ulta Beauty
•   Rael - Collagen Facial Sheet Mask | Ulta Beauty
•   Rael - Cycle Synched Facial Mask Kit | Ulta Beauty

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•   Rael - Hydration Facial Sheet Mask | Ulta Beauty
•   Rael - Miracle Clear Barrier Cream | Ulta Beauty
•   Rael - Miracle Clear Retinol Chin Mask Set | Ulta Beauty
•   Rael - Tea Tree Facial Sheet Mask | Ulta Beauty
•   Rael - Vitamin C Facial Sheet Mask | Ulta Beauty
•   Sacheu - We Occlusive Intense Overnight Moisturizer | Ulta Beauty
•   St. Tropez - 1.69 oz Self Tan Berry Sorbet Bronzing Mousse | Ulta Beauty
•   St. Tropez - 4.0 oz Self Tan Classic Bronzing Mousse | Ulta Beauty
•   St. Tropez - Ashley Graham Golden Getaway Self Tan Kit | Ulta Beauty
•   St. Tropez - Award Winning 3 Piece Self Tan Kit | Ulta Beauty
•   St. Tropez - Gradual Tan Classic Daily Youth Boosting Cream | Ulta Beauty
•   St. Tropez - Gradual Tan Tinted Daily Firming Body Lotion | Ulta Beauty
•   St. Tropez - Gradual Tan Watermelon Firming Lotion | Ulta Beauty
•   St. Tropez - Luxe Body Self Tan Serum | Ulta Beauty
•   St. Tropez - Luxe Self Tan Tonic Glow Drops | Ulta Beauty
•   St. Tropez - Luxe Whipped Self Tan Crème Mousse | Ulta Beauty
•   St. Tropez - Medium / Dark Gradual Tan Classic Daily Firming Lotion | Ulta Beauty
•   St. Tropez - Medium / Dark Instant Glow Face & Body Bronzer Makeup | Ulta Beauty
•   St. Tropez - Self Tan Classic Bronzing Lotion | Ulta Beauty
•   St. Tropez - Self Tan Classic Mini Kit | Ulta Beauty
•   St. Tropez - Self Tan Dark Bronzing Mousse | Ulta Beauty
•   St. Tropez - Self Tan Express Bronzing Mist | Ulta Beauty
•   St. Tropez - Self Tan Express Mini Kit | Ulta Beauty
•   St. Tropez - Self Tan Purity Bronzing Water Face Mist | Ulta Beauty
•   St. Tropez - Self Tan Purity Bronzing Water Mousse | Ulta Beauty
•   St. Tropez - Self Tan Purity Mini Kit | Ulta Beauty
•   St. Tropez - Self Tan Suprême Violet Bronzing Mousse | Ulta Beauty
•   St. Tropez - Tan Optimiser Body Moisturiser | Ulta Beauty
•   St. Tropez - Tan Remover Prep and Maintain Mousse | Ulta Beauty
•   StriVectin - 1.0 oz Intensive Eye Concentrate For Wrinkles PLUS | Ulta Beauty
•   StriVectin - 1.7 oz Advanced Retinol Nightly Renewal Moisturizer | Ulta Beauty
•   StriVectin - 4.0 oz SD Advanced PLUS Intensive Moisturizer | Ulta Beauty
•   StriVectin - Advanced Retinol Multi-Correct Eye Cream | Ulta Beauty
•   StriVectin - Anti-Wrinkle Peptide Plump Line Filling Bounce Serum | Ulta Beauty
•   StriVectin - Crepe Control Tightening Body Cream | Ulta Beauty
•   StriVectin - Daily Reveal Exfoliating Pads | Ulta Beauty
•   StriVectin - Hyperlift Eye Instant Eye Fix For Bags, Lines & Crepiness | Ulta Beauty
•   StriVectin - Mini Intensive Eye Concentrate For Wrinkles PLUS | Ulta Beauty
•   StriVectin - Multi-Action Hydration Multiplier Hyaluronic Acid Serum | Ulta Beauty
•   StriVectin - Peptight 360 Tightening Eye Serum | Ulta Beauty
•   StriVectin - Re-Quench Water Cream Hyaluronic + Electrolyte Moisturizer | Ulta Beauty
•   StriVectin - Super-C Eye Vitamin C Cream | Ulta Beauty
•   StriVectin - Super-C Night Vitamin C Cream | Ulta Beauty
•   StriVectin - Super-C SPF 30 Vitamin C Moisturizer | Ulta Beauty

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•   StriVectin - Travel Size Crepe Control Tightening Body Cream | Ulta Beauty
•   StriVectin - Wrinkle Recode Line Transforming Melting Serum | Ulta Beauty
•   StriVectin - Wrinkle Recode Moisture Rich Barrier Cream | Ulta Beauty
•   SUNDAY RILEY - 0.5 oz 5 Stars Retinoid & Niacinamide Eye Serum | Ulta Beauty
•   SUNDAY RILEY - 1.0 oz C.E.O. 15% Vitamin C Brightening Serum | Ulta Beauty
•   SUNDAY RILEY - 1.0 oz Good Genes All-In-One Lactic Acid Treatment Serum | Ulta
    Beauty
•   SUNDAY RILEY - 1.7 oz A+ High-Dose Retinoid Serum | Ulta Beauty
•   SUNDAY RILEY - 1.7 oz C.E.O. Vitamin C Rich Hydration Moisturizing Cream | Ulta
    Beauty
•   SUNDAY RILEY - Auto Correct Brightening and Depuffing Eye Cream | Ulta Beauty
•   SUNDAY RILEY - B3 Nice 10% Niacinamide Serum | Ulta Beauty
•   SUNDAY RILEY - Ceramic Slip Cleansing Gel | Ulta Beauty
•   SUNDAY RILEY - Double Your Glow AHA + Vitamin C Serum Duo | Ulta Beauty
•   SUNDAY RILEY - Flash Fix Good Genes and Ceramic Slip 2 Piece Kit | Ulta Beauty
•   SUNDAY RILEY - Jewel Box 3 Piece Kit | Ulta Beauty
•   SUNDAY RILEY - Mini A+ High-Dose Retinoid Serum | Ulta Beauty
•   SUNDAY RILEY - Mini C.E.O. Afterglow Brightening Vitamin C Cream | Ulta Beauty
•   SUNDAY RILEY - Mini Good Genes All-In-One Lactic Acid Treatment | Ulta Beauty
•   SUNDAY RILEY - Pink Drink Firming Resurfacing Essence | Ulta Beauty
•   SUNDAY RILEY - Power Couple 2 Piece Mini Kit | Ulta Beauty
•   SUNDAY RILEY - Saturn Sulfur Spot Treatment Mask | Ulta Beauty
•   Supergoop! - Acai PLAY Lip Balm SPF 30 | Ulta Beauty
•   SweetSpot Labs - Bikini & Body Bump Eraser Targeted Spot Treatment | Ulta Beauty
•   SweetSpot Labs - Replenishing Serum Daily Intimate Moisturizer | Ulta Beauty
•   SweetSpot Labs - Vanilla Blossom Gentle Soothing Wipes | Ulta Beauty
•   TAN-LUXE - Express Water - Hydrating Self-Tan Water | Ulta Beauty
•   TAN-LUXE - Hydrating Express Self Tan Mousse | Ulta Beauty
•   TAN-LUXE - Light/Medium THE BODY Mini- Illuminating Self-Tan Drops | Ulta
    Beauty
•   TAN-LUXE - Light/Medium THE FACE - Illuminating Self-Tan Drops | Ulta Beauty
•   TAN-LUXE - Light/Medium THE FACE Mini - Illuminating Self-Tan Drops | Ulta
    Beauty
•   TAN-LUXE - Medium/Dark THE BODY - Illuminating Self-Tan Drops | Ulta Beauty
•   TAN-LUXE - Super Gloss Instant Bronzing Face Drops with SPF 30 | Ulta Beauty
•   TAN-LUXE - THE BUTTER - Illuminating Gradual Tanning Cream | Ulta Beauty
•   TAN-LUXE - THE CRÈME - Advanced Hydration Gradual Self-Tan Facial Cream | Ulta
    Beauty
•   Tanologist - 6.7 oz Express Self Tan Water Medium | Ulta Beauty
•   Tanologist - Express Self Tan Water | Ulta Beauty
•   Tanologist - Express Tan 1 Hour Self Tan Extra Dark Mousse | Ulta Beauty
•   Tanologist - Extra Dark Self Tan Drops | Ulta Beauty
•   Tanologist - Insta Glow Illuminating Body Bronzer | Ulta Beauty
•   Tanologist - Insta Glow Illuminating Face Bronzer | Ulta Beauty

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•   Tanologist - Medium Express Self Tan Mousse | Ulta Beauty
•   Tanologist - Medium Face + Body Self Tan Drops | Ulta Beauty
•   Tanologist - Medium to Dark Daily Glow - Brightening Gradual Tan Lotion | Ulta Beauty
•   Tanologist - Medium to Dark Daily Glow - Firming Gradual Tanning Lotion | Ulta
    Beauty
•   Tarte - Medium-Tan Amazonian Clay BB Tinted Moisturizer Broad Spectrum SPF 20 |
    Ulta Beauty
•   Tarte - Travel Size Maracuja C-Brighter Eye Treatment | Ulta Beauty
•   TATCHA - The Essence Skincare Boosting Treatment | Ulta Beauty
•   Thayers - 2% AHA Exfoliating, Smoothing and Pore Refining Toner | Ulta Beauty
•   Thayers - Blemish Clearing Cleanser with 1.5% Salicylic Acid | Ulta Beauty
•   Thayers - Blemish Clearing Toner with 2% Salicylic Acid | Ulta Beauty
•   Thayers - Let's Be Clear Water Cream for Combination to Oily Skin | Ulta Beauty
•   Thayers - Rapid Acne Spot Treatment with Niacinamide and 10% Sulfur | Ulta Beauty
•   Thayers - Rose Petal Alcohol-Free Witch Hazel Facial Toner | Ulta Beauty
•   Thayers - Soak It Up 80HR Liquid Moisturizer for Normal to Dry Skin | Ulta Beauty
•   TONYMOLY - Peach I Am Sheet Mask | Ulta Beauty
•   TONYMOLY - Tako Pore Blackhead Scrub Stick | Ulta Beauty
•   Truly - Acai Your Boobies Boob Butter | Ulta Beauty
•   Truly - Acai Your Boobies Boob Polish | Ulta Beauty
•   Truly - Acai Your Boobies Boob Serum | Ulta Beauty
•   Truly - Anti Cellulite Resurfacing Body Serum | Ulta Beauty
•   Truly - Anti-Cellulite Body Polish | Ulta Beauty
•   Truly - Black Jelly Blemish Treatment Body Serum | Ulta Beauty
•   Truly - Buns Of Glowry Tighten & Glow Butt Serum | Ulta Beauty
•   Truly - Buns Of Glowry Tighten & Glow Smoothing Butt Polish | Ulta Beauty
•   Truly - Cake Maker Tightening Butt & Leg Serum | Ulta Beauty
•   Truly - Cherry Jelly Anti-Bacne Body Cleanser | Ulta Beauty
•   Truly - Dulce De Leches Firming Boob & Belly Serum | Ulta Beauty
•   Truly - Glass Skin Cleansing Balm | Ulta Beauty
•   Truly - Glass Skin Facial Serum | Ulta Beauty
•   Truly - Glazed Donut Facial Glow Cream | Ulta Beauty
•   Truly - Jelly Booster Pigment Treatment Body Potion | Ulta Beauty
•   Truly - Sun Drops Bronze Body Glow | Ulta Beauty
•   Truly - Unicorn Fruit Lip Plumping Balm | Ulta Beauty
•   TULA - #NoMakeup Replenishing Cleansing Oil | Ulta Beauty
•   TULA - 24-7 Moisture Fragrance Free Hydrating Day & Night Cream | Ulta Beauty
•   TULA - 24-7 Power Swipe Hydrating Day & Night Treatment Eye Balm | Ulta Beauty
•   TULA - 3.0 oz Secret Solution Pro-Glycolic 10% Resurfacing Toner | Ulta Beauty
•   TULA - 3.4 oz 24-7 Moisture Hydrating Day & Night Cream | Ulta Beauty
•   TULA - 6.7 oz The Cult Classic Purifying Face Cleanser | Ulta Beauty
•   TULA - Antioxidant Water Purifying Toner Face Mist | Ulta Beauty
•   TULA - Beauty Sleep Overnight Repair Treatment | Ulta Beauty
•   TULA - Bedtime Bright Vita-Charge Overnight Brightening Treatment | Ulta Beauty

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•   TULA - Breakout Breakthrough Acne Maximum Strength Biodegradable Toner Pads |
    Ulta Beauty
•   TULA - Breakout Star Acne Moisturizer | Ulta Beauty
•   TULA - Bright Start Vitamin C Antioxidant Brightening Moisturizer | Ulta Beauty
•   TULA - Claycation Detoxing & Toning Face Mask Stick | Ulta Beauty
•   TULA - Clear Skin Starters Travel-Size Acne & Blemish Fighting Kit Keep It Clear
    Acne Foam Cleanser | Ulta Beauty
•   TULA - Detox in a Jar Exfoliating Treatment Mask | Ulta Beauty
•   TULA - Glow Starts Here Bestselling Skin Essentials Kit | Ulta Beauty
•   TULA - Gold Glow + Get It Cooling & Brightening Eye Balm | Ulta Beauty
•   TULA - H2Oasis Instant Skin Reviving Mask | Ulta Beauty
•   TULA - Instant De-Puff Eye Renewal Serum | Ulta Beauty
•   TULA - Keep It Clear Acne Foam Cleanser | Ulta Beauty
•   TULA - Mini 24-7 Moisture Hydrating Day & Night Cream | Ulta Beauty
•   TULA - Mini Secret Solution Pro-Glycolic 10% Resurfacing Treatment Toner | Ulta
    Beauty
•   TULA - On-The-Go Best Sellers Travel Kit | Ulta Beauty
•   TULA - Revive & Rewind Revitalizing Eye Cream | Ulta Beauty
•   TULA - So Polished Exfoliating Sugar Face Scrub | Ulta Beauty
•   TULA - So Poreless Deep Exfoliating Scrub | Ulta Beauty
•   TULA - Travel Size The Cult Classic Purifying Face Cleanser | Ulta Beauty
•   TULA - Wrinkle Treatment Drops Retinol Alternative Serum | Ulta Beauty
•   ULTA Beauty Collection - All Clear! Face Serum | Ulta Beauty
•   ULTA Beauty Collection - Apple Cider Vinegar & Kaolin Clay Mask | Ulta Beauty
•   ULTA Beauty Collection - Brighten Up Face Serum | Ulta Beauty
•   ULTA Beauty Collection - Cherry Crush Lip Treatment Kit | Ulta Beauty
•   ULTA Beauty Collection - Chill Out Under Eye Balm | Ulta Beauty
•   ULTA Beauty Collection - Cloud Facial Cleanser | Ulta Beauty
•   ULTA Beauty Collection - Dark Tinted Moisturizer SPF 24 | Ulta Beauty
•   ULTA Beauty Collection - Gold Magic Eye Gels | Ulta Beauty
•   ULTA Beauty Collection - Hydra Burst Face Serum | Ulta Beauty
•   ULTA Beauty Collection - Island Pineapple Clear Self Tan Gel | Ulta Beauty
•   ULTA Beauty Collection - Island Pineapple Glow Time Mousse & Mitt Duo | Ulta
    Beauty
•   ULTA Beauty Collection - Island Pineapple Gradual Self Tan Face Drops | Ulta Beauty
•   ULTA Beauty Collection - Milky Toner with Hyaluronic Acid | Ulta Beauty
•   ULTA Beauty Collection - Night Shift Overnight Lip Mask | Ulta Beauty
•   ULTA Beauty Collection - Passionfruit Jelly Bomb Lip Balm | Ulta Beauty
•   ULTA Beauty Collection - Play It Cool Freezable Sheet Mask | Ulta Beauty
•   ULTA Beauty Collection - Sweetheart Plumped Up Pout Lip Balm | Ulta Beauty
•   ULTA Beauty Collection - Tinted Self Tan Mousse | Ulta Beauty
•   ULTA Beauty Collection - Wake-Up Call Under Eye Patches | Ulta Beauty
•   ULTA Beauty Collection - Waterproof Eye & Lip Makeup Remover | Ulta Beauty
•   Urban Decay Cosmetics - 30 Hydromaniac Hydrating Dewy Foundation | Ulta Beauty

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•   Urban Skin Rx - Vitaleyez Dark Circle Treatment | Ulta Beauty
•   Urban Skin Rx - Witch Hazel Brightening & pH Balancing Toner | Ulta Beauty
•   Urban Veda - Anti-Aging Rose Reviving Night Cream | Ulta Beauty
•   Urban Veda - Brightening Turmeric & Papaya Radiance Day Cream | Ulta Beauty
•   Urban Veda - Calm & Restore Sandalwood + Aloe Vera Soothing Day Cream | Ulta
    Beauty
•   Urban Veda - Calm & Restore Sandalwood + Aloe Vera Soothing Night Cream | Ulta
    Beauty
•   Urban Veda - Neem & Tea Tree Skin Purifying Overnight Hydrator | Ulta Beauty
•   Urban Veda - Oil-Control Neem & Tea Tree Purifying Day Cream | Ulta Beauty
•   Urban Veda - Peptide-30 Radiance Recovery Night Cream | Ulta Beauty
•   Urban Veda - Skin Firming Rose Reviving Day Cream | Ulta Beauty
•   Vacation - Classic Lotion SPF 30 Sunscreen | Ulta Beauty
•   Vacation - Sun Belt 5 Piece Sampler | Ulta Beauty
•   VANICREAM - Cleansing Bar for Sensitive Skin | Ulta Beauty
•   Vichy - 1.0 oz Mineral 89 Hyaluronic Acid Face Serum for Stronger Skin | Ulta Beauty
•   Vichy - 6.7 oz Normaderm Phytoaction Daily Deep Cleansing with Salicylic Acid | Ulta
    Beauty
•   Vichy - LiftActiv Pure Retinol Serum for Deep Wrinkles | Ulta Beauty
•   Vichy - LiftActiv Supreme H.A. Wrinkle Corrector | Ulta Beauty
•   Vichy - LiftActiv Vitamin B3 Face Serum for Dark Spots & Wrinkles | Ulta Beauty
•   Vichy - Minéral 89 Eyes Hyaluronic Acid Eye Gel Cream | Ulta Beauty
•   Vichy - Minéral 89 Fragrance Free Cream | Ulta Beauty
•   Vichy - Normaderm PhytoAction Acne Control Daily Face Moisturizer | Ulta Beauty
•   Vitamins and Sea beauty - Blue Sea Kale & Niacinamide Smoothing Facial Serum | Ulta
    Beauty
•   Vitamins and Sea beauty - Blue Sea Kale Grapefruit Deep Pore Exfoliating Face Mask |
    Ulta Beauty
•   Vitamins and Sea beauty - Marine Algae and Blue Tansy Multipurpose Treatment | Ulta
    Beauty
•   Vitamins and Sea beauty - Monoi Oil & Sea Kelp Exfoliating Face Scrub | Ulta Beauty
•   Vitamins and Sea beauty - Sea Kale & Hyaluronic Acid Complex Rejuvenating Skin
    Serum | Ulta Beauty
•   Vitamins and Sea beauty - Sea Kelp and Phytoceramides Rehydration Gel Moisturizer |
    Ulta Beauty
•   Vitamins and Sea beauty - Sea Lavender & Bakuchiol Renewing Face Serum | Ulta
    Beauty
•   Vitamins and Sea beauty - Sea Salt & Coconut Gentle & Brightening Face Scrub | Ulta
    Beauty
•   Vitamins and Sea beauty - Seaweed + Glycolic Acid Facial Toner | Ulta Beauty
•   Vitamins and Sea beauty - Skincare Minis + Travel Pouch | Ulta Beauty
•   VOLITION - Chocolate Macadamia Hydrating Mask with Hyaluronic Acid + Vegan
    Collagen | Ulta Beauty



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•   VOLITION - Sémillon Overnight Retinol Serum with Niacinamide + Hyaluronic Acid |
    Ulta Beauty
•   VOLITION - Snow Mushroom Water Serum with Peptides + Vitamin C | Ulta Beauty
•   VOLITION - Turmeric Brightening Polish with Oatmeal + Vitamin E | Ulta Beauty
•   Womaness - Let's Neck - Neck and Décolleté Serum | Ulta Beauty
•   WYN BEAUTY - ADVANCE MVP: Most Versatile Pigment Multifunction Lip & Cheek
    Color | Ulta Beauty




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 1           CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)

 2          I, James A. Morris, declare as follows:
 3          1.      I am counsel for Plaintiff, and I am the owner of Morris Law Firm. I make this
 4
     declaration to the best of my knowledge, information, and belief of the facts stated herein.
 5
            2.      The complaint filed in this action is filed in the proper place for trial because the
 6
     Defendant has done and is doing business in the County of Marin. Such business includes the
 7
 8 marketing, distributing, and sale of cosmetics, fragrance, skin care products, hair care products,

 9 including Ulta's own private label, and salon services in Ulta's retail locations.

10          3.      Plaintiff purchased her Products from an Ulta retail store in Marin County.
11
            I declare under the penalty of perjury under the laws of the State of California that the
12
     foregoing is true and c01Tect, executed on July 15, 2025, at Burbank, California.
13

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                                                       James A. Morris, Jr.
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                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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